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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

JULI WINTJEN, on behalf of herself and all
others similarly situated,
                                                Case No. 2:19-cv-00069-CCW
       Plaintiff,

v.

DENNY’S, INC., et al,

       Defendant.



                        DECLARATION OF JAMES M. PIETZ, ESQ.


       Pursuant to 28 U.S.C. § 1746, I, James M. Pietz, hereby declare as follows:

       1.      My name is James Pietz. I have been a member in good standing of the bars of the

State of Illinois since 1988 and the Commonwealth of Pennsylvania since 1989. I am admitted

to practice before the United States Supreme Court as well as the Second, Third, Fifth, Sixth,

Seventh, Eighth, Tenth and the District of Columbia Federal Circuit Courts of Appeal. I am also

admitted to practice by the United States District Court for the Northern District of Illinois and

the Western District of Pennsylvania.

       2.      I have been given the highest possible rating (AV) by the Martindale-Hubbell

Law Directory.

       3.      I am a graduate of Marquette University (1982) and the Chicago-Kent College of

Law (1987).




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         4.     I am a member of the National Association of Consumer Advocates.

(www.naca.net).

         5.     I have practiced complex class action law in the Pittsburgh area for the last 35

years.

         6.     I am currently a partner with the law firm of Feinstein, Doyle, Payne & Kravec,

LLC. (“FDPK”) (www.fdpklaw.com). I joined this firm as a partner on January 1, 2016, where

my work focuses on representing consumers in complex class action litigation.

         7.     I am submitting this Declaration in support of the fee application of Lynch

Carpenter LLP. I have been engaged in handling complex plaintiff class litigation not only in

the Pittsburgh marketplace, but also in many other jurisdictions around the United States. Based

upon my experience with many complex class action counsel fee petitions, I am familiar with the

market rates charged by contingent fee counsel for class action litigation. In addition, I have

become familiar with the awards made by Federal and State trial judges for attorney fees in class

action and individual consumer litigation, and have a good understanding of the hourly rates they

consider appropriate for consumer litigation in general both in individual and class consumer

protection and employment cases. I also have periodically reviewed various attorney fee billing

surveys to determine the rates that attorneys or law firms are customarily billing.

         8.     As stated by the court in Kaymark v. Udren Law Offices, P.C., Civil Action No.

13-41; 2019 U.S.Dist.LEXIS 224703, at *27 (W.D.Pa. Feb. 5, 2019):

         The undersigned has also reviewed the Declaration of James Pietz. (ECF No. 216-4).
         Mr. Pietz is an attorney with a substantial consumer credit litigation practice in the
         Pittsburgh area, and is intimately familiar with local billing rates. Mr. Pietz declares that
         the rates requested are fair and reasonable billing rates in the Pittsburgh market for
         lawyers of comparable skill and experience to the Petitioners.



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My experience in complex class litigation in Pittsburgh and elsewhere is fully described below.

                                       2016 to the Present

       9.      Currently, I am working as plaintiffs’ class counsel in several class actions

pending in Allegheny County and the W.D. Pa. I am working as one of the plaintiffs’ class co-

counsel in Hernandez v. United States Steel, GD-19-005325, a class action alleging that U.S.

Steel engaged in negligence and nuisance as a result of a fire that occurred at its plant in the Mon

Valley. On May 12, 2023, Hon. Judge Ignelzi granted class certification for a class consisting of

the 22 class-area communities and appointed FDPK as one of the Class Counsel. I am also

currently co-counsel in 5 related putative class actions alleging that persons in Pennsylvania or

their agents were overcharged in obtaining copies of their medical records by medical record

reproduction companies. These cases include Landay v. Ciox fna Healthport GD-09-012919;

Landay v. Ciox fna IOD Case No. GD-09-012922; Landay. vs. UPMC Presbyterian Shadyside,

Case No. GD-09-012919; Wayne M. Chiurazzi Law Inc. vs. IOD Corporation; Anthony C.

Mengine Law Inc. vs. Magee-Womens Hospital of University of Pittsburgh Medical Center,

Case No. GD-09-014785. I am also co-counsel in a consumer class action asserting claims that a

bank illegally assessed Return of Deposited Item fees to bank account holders. Spencer v. PNC

Bank, N.A. 24-cv-357-RJC.

       10.     I am also currently working as co-counsel in class actions pending in California

alleging that automobile insurance companies are engaged in violations of the California anti-

discrimination in connections with the setting of automobile insurance rates.

       11.     Since joining FDPK, I have worked on other class actions brought in Allegheny

County and the W.D.Pa. Dahy v. FedEx Ground Package Sys. No. 2:17-cv-1633, 2018

U.S.Dist.LEXIS 224910 (W.D.Pa. 2018) remanded to Allegheny Common Pleas at NO. GD-17-

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015638; Danganan v. Guardian Prot. Servs. (3d Cir. 2018) 742 F.App’x 634; Rossini v. PNC

Fin. Servs. Grp., Inc. ., No. 2:18-cv-1370)2020 U.S. Dist. LEXIS 113242 (W.D. Pa); Walker v.

Highmark BCBSD Health Options, Inc. , No. 2:20-CV-01975-CCW) 2021 U.S. Dist. LEXIS

271019 (W.D. Pa. May 14, 2021)

                                           2007 to 2015

       12.     Prior to joining FDPK, I established Pietz Law Office, LLC. From 2007 to 2015,

this firm concentrated its practice in consumer protection and complex class action litigation.

       13.     In this time period, I was appointed class action counsel in a number of class

actions, including cases brought under the Fair Credit Reporting Act. (“FCRA”).              I was

appointed class counsel in one of the first reported class certifications under the FCRA. See

Campos v. ChoicePoint Services, Inc. 237 F.R.D. 478 (N.D.Ga. 2006) (noting that the action was

one of the first cases to enforce the “file disclosure” requirement of the FCRA, and that my

adequacy as class counsel was not an issue).

       14.     I successfully prosecuted other novel, precedent-setting class actions under the

FCRA. See, e.g., Gillespie v. Equifax, 484 F.3d 938 (7th Cir. 2007) (finding Equifax violated the

requirement that a file disclosure be “clear”).   I was also lead counsel in a class action seeking

to enforce the FCRA’s requirements applicable to an employer’s use of consumer reports to

assess the qualifications of prospective employees. Reardon v. Closetmaid Corp., 2011 WL

1628041, at *1 (W.D. Pa. Apr. 27, 2011) (memorandum opinion granting class certification).

Reardon involved an issue of first impression of whether an employer willfully violates the

FCRA by incorporating a release or waiver of rights provision within the required

disclosure/consent form to be signed by the prospective employer. Reardon v. Closetmaid Corp,

2013 WL 6231606, at *1 (W.D. Pa. Dec. 2, 2013).

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       15.     I was appointed class counsel in a consumer class action involving the alleged

illegal forced placement of property insurance. Wahl v. ASIC, 08-555 (N.D. Cal.). Pietz Law

Office was co-counsel in an action, certified for settlement purposes, alleging the negligent

supervision of a hospital employee Hoyman v. UPMC, GD-12-16636 (Allegheny Cty. 2012). I

have also been appointed in other cases raising similar allegations. See Haluska v. Forbes, 05-

09134 (Allegheny Cty, Pa.) and Alwine v. SHEC, GD 12-018715. Pietz Law Office was

appointed Plaintiffs’ Class Counsel for purposes of a settlement class in Vincent v. Wolpoff &

Abramson, 08-423 (W.D.Pa. 2008).

                                              1990 to 2007

       16.     Before establishing Pietz Law Office, I had been employed by the law firm of

Malakoff, Doyle & Finberg, P.C. (“MDF”) for 17 years from January 1990 until January 2007.

MDF or its predecessors had been engaged in prosecuting class actions since 1972. In my work

at MDF, I was principally responsible for the prosecution of seven actions involving the

allegedly illegal sale and financing of campground timeshare interests. With respect to this

litigation, I worked as class counsel in the following cases: See Zaazouh v. Bank One, C.A., No.

89-145 (W.D. Pa. 1989); Conley v. Bank One, 4:91-CV-0251 (N.D. Ohio 1991); Rudnik v.

Cortland, 1120 of 1990 C.D. (Fayette Cty. 1990); Gogola v. FirstSouth, No. 1121 of 1990

(Fayette County, Pa. 1990) and McDonagh v. GEICO Financial, 4:93 CV 1352 (N.D. Ohio);

Isaak v. Trumbull Savings and Loan, 4:93 CV 1121 (N.D. Ohio) and Slentz v. Cortland, C.A.

4:93 CV 1480 (N.D. Ohio 1993).

       17.     Additionally, I was principally responsible for handling the firm’s prosecution of

actions against Metropolitan Life Insurance Company alleging the fraudulent and deceptive sale

of life insurance policies. see, e.g., State ex. rel. Metropolitan Life v. Starcher, 196 W.Va. 519,

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474 S.E.2d 476 (1996); Wolbert v. Metropolitan Life, No. 95-0861 (W.D. Pa.); Cope v.

Metropolitan Life, 82 Ohio St.3d 426, 696 N.E.2d 1001 (1998).           These actions ultimately

resulted in the national class settlement at In Re: Metropolitan Life Insurance Sales Practice

Litigation, 1999 U.S. Dist. Lexis 22688, MDL No. 1091 (W.D. Pa).

       18.     I also handled numerous appeals in the state and federal courts many of which

involved significant, systemic issues in complex consumer class litigation. Martin v. Franklin

Capital, 393 F.3d 1143 (10th Cir. 2004) (what standard applies under 28 U.S.C. § 1447 for

awarding attorneys’ fees and costs for defendants’ erroneous removal); Gayman v. Principal

Life, 311 F.3d 851 (7th Cir. 2002) (whether demutualization of life insurer pursuant to state law

constitutes “state action” within the meaning of 42 U.S.C. § 1983.); LaBarre v. Credit

Acceptance, 175 F. 3d 640 (8th Cir. 1999) (whether McCarren-Ferguson Act barred claim under

RICO, 18 U.S.C. §1962(c)); Stewart v. National Education Assoc., 05-7140 (D.C. Cir. 2006)

(whether demutualization consideration attributable to a group life insurance policy must be held

exclusively for the benefit of the insureds under the policy).

                                     Lynch Carpenter LLP’s Rates

       19.     I have reviewed the hourly rates listed by Lynch Carpenter in their application for

approval of attorneys’ fees and costs, including $1,100 for Managing Partner Gary Lynch, $950

for Partner Kelly Iverson, $900 for Partner Jamisen Etzel, $900 for Partner Elizabeth Pollock-

Avery, and $900 for Of Counsel Katie Horigan. Based on my experience and knowledge and,

upon review of the certifications and credentials submitted by counsel, I believe the hourly rates

charged by in this matter are appropriate and constitute reasonable market rates. As an

experienced complex class action litigator, I am familiar with the contingency fee and hourly

rates typically charged by attorneys in class action matters. In my experience, absent contingent

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fees and the foregoing hourly rates, plaintiffs in such cases would have difficulty obtaining

competent and experienced counsel to handle their claims. In addition, the rates charged are

consistent with those charged by other firms handling complex class litigation, and fit within the

rate charged by attorneys experienced in such matters.

       20.     My determination is based upon the following. First, the court in In re Philips

Recalled CPAP, Bi-Level PAP, & Mech. Ventilator Prods. Liab. Litig., No. 21-1230) 2024

U.S.Dist.LEXIS 220053, at *134.) (W.D.Pa. Dec. 5, 2024) determined that the same Lynch

Carpenter hourly rates were reasonable as part of the court’s cross check analysis of the

attorneys’ lodestar. In particular, the court determined that using all the rates of plaintiffs’

counsel from associate to partner level, the fee applicants blended rate was $785.85. Using the

same analysis here, Lynch Carpenter’s blended rate equates to $542.70.          Based upon my

knowledge and experience this number is well below the rates applicable to experienced

complex class action attorneys in Pittsburgh. By comparison, in 2014, an attorney fee expert had

determined my rate as a complex class action attorney in the Pittsburgh market to be

approximately $525. See Exhibit A attached.

       21.     Second, it is appropriate to examine an applicant’s rates in context based upon the

complexity of the case the attorney handles and the qualifications, knowledge, and skills of

opposing counsel. In re Fine Paper Antitrust Litigation 751 F.2d 562, 587 (3d Cir. 1984) (“The

request was made for the purpose of enlightening the court as to reasonable hours and hourly

rates for comparable lawyers in complex litigation. The information sought certainly was

relevant, and arguably even helpful.”). In this regard, it has been my experience in bringing

complex class actions in Western Pennsylvania that the defendant is almost invariably

represented by a large, preeminent national law firm. In my cases, cited in Paragraphs 9-11

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above, the defense counsel included the firms K & L Gates and the New York Office of Kirkland

& Ellis (Landay actions); Seyfarth Shaw Chicago office (Dahy action); Blank Rome,

Philadelphia; and Reed Smith (Rossini and Walker)

       22.     The rates used by Lynch Carpenter are commensurate with the rates charged by

these nationally based law firms in complex class litigation cases. The National Law Journal is a

widely respected national legal publication which has surveyed and tracked law firm billing rates

nationwide for more than 20 years. In 2014, the NLJ noted that the average billing rate for

partners is $604.00 per hour (with “high” partner rates exceeding $800 or $900). Gilbert v.

Abercrombie & Fitch, Co. No. 2:15-cv-2854) 2016 U.S.Dist.LEXIS 103441, at *44. (S.D.Ohio

Aug. 5, 2016, These rates do not take into consideration the contingent nature, or the work

involved or that the lawyers and their firms have waited for more than five years to be paid. The

submitted rates compare to the experience and credentials of these attorneys and is well within

the rate charged by these firms who appear in courts in Western Pennsylvania to defend complex

class litigation claims. When considering the risk associated with this type of practice, and the

delay, the rates charged are reasonable.

       23.     Third, the reasonableness of the rates is further confirmed by other fee survey

studies. The 2022 NLJ Survey of Law Firm Economics supports the rates. Exhibit B hereto. This

report indicates that the rates used by Lynch Carpenter are commensurate with the rates used by

law firms in the Mid-Atlantic Region based upon years of experience and complexity of cases.

Exhibit B, p. 17-19 of 20.

       24.     Likewise, this is confirmed with reference to the 2023 Litigation Hourly Rate

Survey and Report published by the National Association Of Legal Fee Analysis. Exhibit C.



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(NALFA Report). The NALFA Report distinguishes between “complex” litigation and “regular”

litigation at page 22:

        For our purposes, complex litigation refers to individual cases or entire practice areas that
        are highly technical, medical, or financial. We also consider high-stakes or bet-the-
        company litigation to fall within the complex realm. By contrast, regular litigation are
        individual cases or entire practice areas that are more routine, run-of-the-mill,
        straightforward, or garden variety. These cases and practice areas tend to be less technical
        and have less at stake or issue.

        25.     NALFA analyzes rates according to four factors including City, Years of

Litigation Experience, Complexity of Case and Law Firm size. NALFA Report at p.13. Thus,

attorneys with many years of experience in complex cases are recognized to be at a higher

“Tier”. NALFA Report at p.19.

        26.     The NALFA Report 2023 Rate Data For Pittsburgh supports the rates used by

Lynch Carpenter, including its Managing Partner and other Partners. excerpted NALFA Report

at p. 94. As the background and experience of these attorneys’ attest, that they can be classified

at Tier 3 or 4 with a “Complex Rate” given the work they are routinely engaged in. Thus, the

rate of $1,100 for Attorney Lynch is well within the marketplace for attorneys with his

comparable skills and experience. The same can be said for Attorneys Iverson, Etzel, Pollock-

Avery, Horigan. According to this Report there are 147 plaintiffs’ attorneys in Tier 3 and 4 with

a Complex Rate between $701 and $1300 in the Pittsburgh. Exhibit C, p. 94. Given Lynch

Carpenter’s preeminence as a top complex class action law firm locally and nationally, this

report fully supports that these attorneys’ rates are reasonable and in accordance with the

marketplace.

        27.     The United States Consumer Law Attorney Fee Survey Report 2017-2018 also

provides a useful reference point to support the reasonableness of the rates. See e.g. Robinson v.


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Enhanced Recovery Co., No. 18-441, 2020 U.S. Dist. LEXIS 169112, at *26 fn. 1 (E.D. Pa. Sep.

16,     2020).     This     Report     is    located     online     at    https://burdgelaw.com/wp-

content/uploads/2021/11/US-Consumer-Law-Attorney-Fee-Survey-Report-w-Table-of-Cases-

091119.pdf. This Report shows that for attorneys handling class actions in Pennsylvania, rates of

$975 were reported as of 2016 for those in the 95% median. 2017-2018 Consumer Survey at p.

151. Again, given the years of experience and complexity of the cases being litigated by Lynch

Carpenter, I believe that they would be considered as being in this preeminent category.

         I declare under penalty of perjury that the foregoing is true and accurate.

         Executed this 9th day of January, 2025, in Pittsburgh, Pennsylvania.


                                                       By /James M. Pietz
                                                       James M. Pietz
                                                       Pa. I.D. 55406
                                                       Feinstein Doyle Payne & Kravec, LLC.
                                                       429 Fourth Avenue, Suite 1300
                                                       Law And Finance Building
                                                       Pittsburgh, Pa. 15219
                                                       412-281-8400
                                                       jpietz@fdpklaw.com




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April 29, 2014

James M. Pietz, Esquire
Pietz Law Office
429 Forbes Avenue
Suite 1710
Pittsburgh, PA 15219


RE:       Billing Rates

Dear Mr. Pietz:

I.        INTRODUCTION

You have asked for my expert opinion with regard to your reasonable hourly billing rates and,
specifically, whether such rates are consistent with the Pittsburgh market for legal services and
the Pennsylvania Rules of Professional Conduct.

II.       QUALIFICATIONS

I am a partner at the law firm of Fox Rothschild LLP (“Fox Rothschild”). I have been at Fox
Rothschild since 1974 as a member of its Litigation Department. I am currently Co-Chair of Fox
Rothschild. For five years prior to becoming Co-Chair, I was the Managing Partner of the
Philadelphia office. I have been a member of the management group at the Firm since 1985. I
was the founding member of Fox Rothschild’s Professional Responsibility Committee (in 1988)
and served as Chair of the Committee for eight years.

As part of the management of my Firm over the past 30 years, I have participated in the review
and analysis of the hourly rates that we charge for our lawyers, including those lawyers in our
Pittsburgh office. This review is completed at least once a year and involves a review and
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analysis of the markets in which we participate to ensure that we set competitive rates and that
the rates we charge are consistent with the Rules of Professional Conduct.

The process of setting hourly billable rates encompasses a number of steps. Initially, the Firm
obtains public data of national, regional and local law firms’ hourly billing rates. In addition,
Firm management often speaks with consultants with expertise in this area to ensure the Firm’s
rates are within the range of its competitors in the market. Further, the management team, which
comprises leaders from each of our offices, discuss the hourly billing rates in each of our markets
(currently, we have 19 offices in nine states and the District of Columbia). We try to establish
rates that are fair and competitive.

I have had an active litigation practice for over 40 years. The majority of my practice involves
commercial litigation matters, in which I represent plaintiffs and defendants. I have also been
active for many years representing lawyers and law firms in a myriad of issues involving
professional responsibility and legal ethics, including the defense of legal malpractice claims. I
have also been involved in dealing with fee disputes between and among lawyers and their
clients. In 1998, I was selected to be a Fellow of the American College of Trial Lawyers.

In the Firm’s litigation practice, we have handled matters in the area of consumer law. Our Firm
has represented large financial institutions which have been sued for violations of the Fair Credit
Reporting Act (“FCRA”), the Consumer Credit Protection Act (“CCPA”) and the Fair Debt
Collection Protections Act (“FDCPA”).

For over 30 years, I have been active in the area of legal ethics and the interpretation and
application of the Pennsylvania Rules of Professional Conduct (and its predecessor, the Code of
Professional Responsibility). I have been a member of the Philadelphia Bar Association’s
Professional Responsibility Committee and its Professional Guidance Committee. In 1983 and
1984, I served as Chair of the Professional Responsibility Committee. In 1987 and 1988, I
served as Chair of the Professional Guidance Committee.

 I served as a member of a Hearing Committee for the Disciplinary Board of the Supreme Court
of Pennsylvania for six years. For a portion of that time, I chaired the Hearing Committee.
From approximately 1988 to 1995, I have also served as one of two appointed lawyers (non-
judicial) liaisons to the Judicial Ethics Committee of the Pennsylvania Conference of State Trial
Judges.
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I have, for many years, served on the Legal Ethics and Professional Responsibility Committee of
the Pennsylvania Bar Association. For the past eight years, I have taught legal ethics and
professional responsibility at the University of Pennsylvania Law School.

In 1995, I served as Chancellor of the Philadelphia Bar Association. I have been a member of
the House of Delegates of the American Bar Association and the Pennsylvania Bar Association
for many years. I participated in the debates surrounding the enactment of the Model Rules of
Professional Conduct and many of the Amendments.

I have spoken and written on issues of trial practice and legal ethics over many years in many
different forums. I have counseled hundreds of lawyers on issues of legal ethics and professional
responsibility.

III.   DOCUMENTS REVIEWED

I have reviewed the following documents as part of my analysis:

       1.     James M. Pietz’s history.

       2.     Judge Cercone’s opinion dated August 5, 2013 in Jackson v. Allied Interstate,
              LLC reported at 2013 WL 3990875 (W.D.Pa.)

       3.     Judge Lancaster’s opinion dated January 25, 2012 in Fross v. County of Allegheny
              reported at 848 F.Supp.2d 547 (W.D.Pa. 2012)

       4.     Judge Cercone’s opinion dated September 28, 2011 in Vallies v. Sky Bank
              reported at 2011 WL 4527312 (W.D.Pa.)

       5.     Arbitrator’s Award re Plaintiffs’ Motion for Attorney’s Fees, approved and
              adopted by Judge Ambrose on September 4, 2009, in Vincent v. Wolpoff &
              Abramson, L.L.P., No. 08-423-DWA (W.D.Pa.)

       6.     Declaration of James M. Pietz in Support of the Motion for Final Approval of the
              Settlement and in Support of Plaintiffs’ Counsels’ Motion for Attorneys’ Fees and
              Costs filed November 11, 2008 in Vincent v. Wolpoff & Abramson, L.L.P.

       7.     Supplemental Declaration of James M. Pietz in Support of the Motion for Final
              Approval of the Settlement and in Support of Plaintiffs’ Counsels’ Motion for
              Attorneys’ Fees and Costs in Vincent v. Abramson, L.L.P.
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       8.     Declaration of John Stember, Esquire dated August 8, 2008 in Jones v. Barkman,
              Director, No. 2:05-cv-1052 (W.D.Pa.)

       9.     Declaration of Michael P. Malakoff in Support of Application of Plaintiff’s
              Counsel for Approval of Attorneys’ Fees and Costs filed January 2, 2009 in
              Vincent v. Wolpoff & Abramson, L.L.P.

       10.    Affidavit of David F. Manogue in Support of Joint Application for an Award of
              Fees and Expenses dated October 26, 1999 in In re Metropolitan Life Insurance
              Co., N. 96-179 (W.D.Pa.)

       11.    Declaration of Ellen M. Doyle, Esquire dated April 30, 2007 in Choike v. Slippery
              Rock University of Pennsylvania of the State Higher System of Education, No.
              2:06-cv-00622 (W.D.Pa.)

       12.    Schedule of Fox Rothschild rates for attorneys in its Pittsburgh office

       13.    Judge Pratter’s Memorandum and Order in Serrano v. Sterling Testing Systems,
              Inc., No. 07-04563 (E.D.Pa.) dated May 7, 2010

       14.    ALM Legal Intelligence 2014 Survey Report: Billing rates and practices, a study
              of the Billing Rates of Attorneys in Small to Midsize Firms

       15.     TyMetrix press release dated July 23, 2013 re growth in lawyer rates in 2012

       16.    Pittsburgh Business Times column dated August 16, 2013

       17.    Updated Laffey Matrix

       18.    Consumer Price Index (All items) for Pittsburgh dated March 2014


IV.    DISCUSSION

       A.     Your Accomplishments

       You graduated from Marquette University in 1982 and the Chicago-Kent College of Law
in 1987. You are admitted to practice in Illinois and Pennsylvania, and before the United States
Supreme Court, the Second, Third, Fifth, Sixth, Seventh, Eighth, Tenth and the District of
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Columbia Federal Circuit Courts of Appeals. You are rated AV by Martindale-Hubbell Law
Directory. You are a member of the National Association of Consumer Advocates.

        Since 1990 your practice has been almost exclusively focused on consumer class actions.
From December 1989 until 2007 you were employed by, or were a partner in, Malakoff Doyle
& Finberg, P.C. (and its predecessor Berger, Kapetan, Malakoff & Meyers), a firm which
focused on class actions. In 2007 you established your own practice as Pietz Law Office. At
Malakoff, Doyle and Finberg, you concentrated in the prosecution of class actions in state and
federal courts around the United States. Since establishing Pietz Law Office you have continued
to focus on these types of actions.

       Pietz Law Office has been appointed class action counsel or co-counsel in Wahl v.
American Security Ins. Co., 2009 WL 1766620 (N.D.Cal. 2009); Reardon v. ClosetMaid, 08-
1730 (W.D.Pa.); Vincent v. Wolpoff & Abramson, 08-423 (W.D.Pa.); McNulty v. Edwin
Abramhansen & Assoc., 08-422 (W.D.Pa.); Campos v. ChoicePoint Services, 237 F.R.D., 478
(N.D.Ga. 2006); Gillespie v. Equifax, 2008 WL 461427 (N.D.Ill. 2008); Halinska v. Forbes, 05-
09134 (Allegheny County, Pa.); and in the following putative class actions: Tigbao v. QBE, 12-
177 (C.D. Cal); Anthony C. Mengine Law Inc. v. Healthport, GD-09-012919; Wayne M.
Chiurazzi Law Inc. v. MRO Corporation, No. GD-09-012911; Wayne M. Chiurazzi Law Inc v.
UPMC Presbyterian Shadyside, No. GD-09-012919; Wayne M. Chiurazzi Law Inc. v. IOD
Corporation, GD-09-012922; Anthony C. Mengine Law Inc v. Magee-Women’s Hospital of
University of Pittsburgh Medical Center, No. GD-09-014785; Anthony C. Mengine Law Inc. v.
Healthport, 2:09-cv-01109-GLL (W.D.Pa.)

       You have handled numerous appeals in state and federal courts involving significant,
systemic issues in complex class litigation.

       B.     Methodology for Determining Rates

      In my opinion, there are two complimentary approaches for determining reasonable
hourly rates.

       The first approach is to consider the rates for comparably skilled practitioners in the
relevant market and rates approved by courts for your work. To that end, I have reviewed the
hourly billing rates of lawyers who do class action work.

      Witold J. Walczak, Esquire’s hourly rate of $500 was deemed reasonable in January
2012. Fross v. County of Allegheny, 848 F.Supp.2d 547 (W.D.Pa. 2012).
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       Michael J. Malakoff, Esquire’s hourly rate of $540 was deemed reasonable in September
2011. Vallies v. Sky Bank, 2011 WL 4527312 (W.Dd.Pa. Sept. 28, 2011).

       John Stember, Esquire’s hourly rates of $475, $450 and 400 were approved between
2006 and 2008. Declaration of John Stember in Jones v. Barkman, Director, No. 2:04-cv-1053
(W.D.Pa. Aug. 8, 23008).

       Howard A Specter charged $495 per hour in 1999. Affidavit of David F. Manogue in In
re Metropolitan Life insurance Co., No. 960179 (W.D.Pa. Oct. 26, 1999).

       Ellen M. Doyle opined in 2007:

       I am personally aware of the rates charged by competent, experienced practitioners in
       class action matters in western Pennsylvania, including lawyers who represent plaintiffs
       and those who represent defendants. Lead counsel from Pittsburgh firms normally bill at
       hourly rates ranging from $325 to $550 in these types of matters. Choike v. Slippery
       Rock University, No. 2:06-cv-00622-DWA (W.D.Pa.).

        In 2012 the average hourly rate of partners in the Pittsburgh region was $450, up from
$429 in 2010 according to a survey conducted by the Pittsburgh Business times and the
Association of Corporate Counsel’s Western Pennsylvania chapter.

      In Vincent v. Wolpoff & Abramson you requested an hourly rate of $410. The arbitrator
awarded, and the court approved, an hourly rate of $400 in 2009. In Jackson v. Allied Interstate,
LLC Judge Cercone stated:

       . . . the National Law Journal Billing Survey reflected general hourly rates in the
       Pittsburgh market ranging from a high of $790 for partner to a low of $150 for an
       associate. Jackson v. Allied Interstate, LLC, 2013 WL 3990875 (W.D.Pa. Aug. 5, 2013).

        In Wahl v. American Security Ins. Co., No. 08-555 (N.D.Cal.) you submitted a fee
petition in which you requested $500 perr hour. The Judge approved your requested attorney’s
fees.

In 2010 Judge Pratter stated:

       The Attorneys concentrate their practice in the area of consumer protection litigation, and
       their hourly rates (ranging from between $290.00 and $650.00) are within the range
       charged by attorneys with comparable experience levels for consumer class action
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        litigation of similar nature.” Serrano v. Sterling Testing Systems, Inc., Co. 07-4563
        (E.D.Pa. May 7, 2010).

        Finally, I consulted the hourly rates of lawyers listed in the Updated Laffey Matrix.1
For the period of June 2013 to May 2014, the hourly billing rate identified for an attorney with
twenty or more years of experience is $771.

        A second approach to determine a reasonable hourly rate would look at the relevant
factors set forth in Rule 1.5(a) of the Rules of Professional Conduct.

        While the Pennsylvania Rules of Professional Conduct do not specifically address the
reasonableness of a specific hourly rate, they do address the considerations for assessing “the
propriety of a fee” in Rule 1.5. In my opinion, some of those considerations can provide a useful
analytical checklist when trying to determine a reasonable hourly rate.

The factors set forth in Rule 1.5(a) are:

        1.       Whether the fee is contingent or fixed;

        2.       The time and labor required, the novelty and difficulty of the questions involved,
                 and the skill requisite to perform the legal services properly;

        3.       The likelihood, if apparent to the client, that the acceptance of the particular
                 employment will preclude other employment by the lawyer;

        4.       The fee customarily charged in the locality for similar legal services;

        5.       The amount involved and results obtained;

        6.       The time limitations imposed by the client or by the circumstances;

        7.       The nature and length of professional relationship with the client; and

        8.       The experience, reputation and ability of the lawyer or lawyers performing those
                 services.

1
          The Laffey Matrix is reflective of market rates in the Baltimore/Washington area. See
www.laffeymatrix.com. In my experience, the rates in the Baltimore/Washington area are higher than the rates in
the Pittsburgh Market.
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Factor Number 4 (“The fee customarily charged in the locality for similar legal services”) has
already been addressed. This is a comparative review of rates charged by other lawyers in the
market.

Factor Number 1 [“whether the fee is contingent on fixed”] suggests that higher rates may be
justified when fees are contingent. The Pietz Law Office handles most of its cases on a
contingent fee basis. As a result, the firm bears all the risk of the cost of litigation until
resolution. In some instances, the firm may not receive payment of its fees for several years.
Further, most of the defendants are large companies with substantial financial resources and
lawyers equipped to defend the actions. Many of the lawsuits address novel areas of law. In
order to obtain favorable outcomes, you spend numerous hours conducting research, conducting
discovery, and crafting innovative legal arguments to overcome attempts to have their clients’
cases dismissed before trial. Your investment of time and resources prevents you from litigating
numerous matters at the same time.

Factor Number 2 [“The time and labor required, the novelty and difficulty of the questions
involved and the skill requisite to perform the legal services properly”], also supports the notion
that a higher rate would be justified for you since you have distinguished yourself in your area of
expertise. Finally, Factor Number 8 [“The expertise, reputation and ability of the lawyer or
lawyers performing those services”], likewise provides another reason to justify increasing rates
recommended for you.

        Your hourly billing rates for the past ten years through the present have been:

2003-05        $ 390
2006-08        $ 410
2010           $ 420
2011-14        $ 500


V.      CONCLUSION

In accordance with the foregoing analysis, and based upon my review of the prevailing market
hourly billing rates in Pittsburgh, it is my opinion, within a reasonable degree of professional
certainty, that the range of hourly billing rates for James M. Pietz from $475 to $525 is
consistent with the hourly billing rates charged in the Pittsburgh market and within the
considerations outlined in the Pennsylvania Rules of Professional Conduct. The level of hourly
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April 29, 2014
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billing rates within the range will depend on the complexity of the matter, the duration of the
dispute and the result obtained.


If I am provided with additional information, I reserve the right to supplement or amend my
opinion.


Very truly yours,




Abraham C. Reich
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              EXHIBIT B
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       The 50 th Annual
       Survey of Law Firm
       Economics
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                        HOUl\lY
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                                                                       2022 Edition

                                                               Conducted and PubEished by

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                                                      INTRODUCTION


The Nat/ona/ Law Journal's Survey of Law Firm Gconomics, 2022 Edftfon (based on 2021 data) is one of the most
comprehensiive, accurate and up-to-date set of economic statistics and financial data available forttie legal profession. This yeafs
survey contains information from 2,799 lawyers at 30 U.S. !aw firms, in its 50? year, the survey remains an invaluable too! for
managers at law firms.


To be a useful tool, She survey must provide the relevant information required by the Eawfinn managers. ALM Intelligence partners
with the International Paralegai Management Association each year to develop and publish a more comprehensive tool for
managing paralegal positions. If you are Interested in panalegai data, please contact ALM Intelligence forproduct infomiatlon and
pricing.

ALM Intelligence is committed to meeting the informafion ne&ds of the tegat profession and, as such, invites you as a purchaser
and/or partidpantto call or write us with your candid critique, suggestions and questions. TTie survey will continue to improve only
through our ability to understand your evolving needs for information. We invite you to contact us with any thoughts and/or
questions. E-mail us at almlegalintel@alm.com.




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USE OF THE SURVEY                                                    Step 1 - Co'llection of Your Firm's Data


The survey is designed to provide ttie information necessary for     The first step in using the survey is to develop your firm's data for
law firm managers to evaluate theirfirm's performance relative to    fiscal year 2021. This is best accomplished by using a copy of
comparable law firms. The statistics included in the survey          your sun/ey response form and worKsheet. The questionnaire
represent broad performance benchmarks against wNch an               used in the study is included at the end of this Survey report- A
individual firm can be measured. Using this information, law firm    review of the questions used will enable you to better understand
management can compare their firm's performance and figures          the daEa herein and to make optimal use of the survey.
with those of the profession as a whole, as well as with firms of
                                                                     Step 2 - Calculate Per Lawyer or.Fee Earner Sfafisfics and
similar size, geographic location, population, practice specialty,
                                                                     Other Ratios
and other data points.
                                                                     The second step is to calculate the various performance
This survey is particulariy useful to firm management,               indicators and ratios using the data compiled in Step 1. It is
administrators, strategic planners and office or department heads    important to calculate all data using the same formulae which
who are able to efficientiy develop comparative analyses of the      were used to produce the data in the survey. Most information is
various statistical data with their firm's data. Many are            presented in a per equity partner, per lawyer or per fee earner
experienced in development of these analyses and in                  format. For example, to develop per lawyer gross receipts you
development of effective presentation charts and graphs.             would divide the total firm income for the year by the lolal number
However, overthe years we have encountered oftiers who have          of full-time equivalent (FTE) lawyers. rfEs are defined in the
found the analysis more difficult. Accordingly, we have developed
                                                                     questionnaire-
a program that will prepare customized tabutafion of your data
against relative benchmarRs.                                                   Example - Per Lawyer

                                                                               Total Gross Receipts   3^0,000^00 =     3i200.00D
RECOMMENDED APPROACH TO DEVELOPMENT OF                                         Total R~E Lawyers        -50-
                                                                                                                      Per Lawyer
COMPARATIVE DATA

At first glance, the survey may seem to contain an overwhelming      Perfee earner gross receipts would be calculated by dividing Ihe
volume of information. However, if you follow the suggested          total firm income for the year bylhe total number of(PTE) lawyers
steps, you should be abie to easily develop useftjl, meaningful      plus one half of the full-time equivalent paralegal staff- A further
comparisons.                                                         explanation of the per-equity partner, per-lawyer and per-fee




                                                                                                                2022 Survey of Law Firm Economics: Introduction
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earner format is provided in the finanaal section.
                                                                      Any level of performance requires certain trade-offs. Very high
        Example - Pee Earner
                                                                      dollars may require extraoTdmariIy long hours;, tremendous
        TotaE Gross IR&ceiEte $10,000,000    $181,818                 expertise, superiaitive results and even luck. On the other hand, if
        Total FTE Lawyers 55                 Per Fee Earner           performance results are lacking, there may be areas where
        + Ona Half FTE Parategal                                      improvement simpiyto levels cusfomarily achieved in other law
        Staff [10 RE Paralegalls x £ = 5)                             firms will provide impressive retums-


                                                                      TREND DATA
Step 3 - Evaluating Results
Next, assess your firm's performance with Ihe sun/ey results of       This survey contains a snapsfwtofli\e economic performance of
comparable firms in terms of size, location, similar population       the legal profession for 2021. However, the best analysis of a
base and legal specialty. As you do so, several points should be      firm's economic performance and position occurs through
recognized.                                                           evaluation of trend information. Selected trend infomnation is
                                                                      provided in each section of the survey. For more complete
A deviation between your firm's figures (for any performance          historical data, we recommend prior copies of the survey that are
measure) and numbers in the report is not necessarily good or         available at reduced prices to those who wish to compare their
bad. It merely indicates that additional analysjs may be required.    firm on a trend basis. Quotes on prices for copies of past surveys
As a rule, the Sarger the difference, the greater the need for        can be obtained by contacting ALM Intelligence at (888) 770-
further investigation.                                                5647.

In situations where large deviations do exist, it may be h&lpful to   TERMS AND DEPINITIOiNS
cafcuiate the same performance measure oveirthe past several
years to identify trends that may exist                               In orderto obtain maximum value from ?is survey, it is important
                                                                      to understand what the information means and howto best im& 'it.
The information in this sur/ey should be used as guidelines           Following are explanations of some of the data and definitions
rather than absolute standards. Firms differ, as does their mix of    used in the report We have also provided torierf cQmments on ihe
practice specialties, location, size and other factors. Any fwo       statistEcal terms used.
firms can be successful, yet have very different experiences wth
regard to certain performance measures.




                                                                                                             2022 Survey of Law Firm Economics: \nt rtion
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BiHabfe Hours                                                         For PQrtnershlps/Propnetorsfiips:
                                                                          Distribution-Cash distnbution to partners.
Far those persons who regulariy report biifabie hours, hours
                                                                  CQsh CompensQtSon
recorded during the reporting year, which were Chargeable to
clients d.e., billable work).                                        Salary plus Bonus.

                                                                  Benef}ts/Dts£ribi}t!on in Kfnd
Qilfina Rates                                                         For Professional CorporQtions/Assodations:
                                                                        Nontaxabie benefit costs, which include: <fuafjfJed profil
Most commonly assigned, or standard hourly rate as of
                                                                        sharing plans, life, health and disabilFrty insurance, medical
January 1,2022.
                                                                        reimbursement plans, employer payroil taxes (including
                                                                       RCA) and pension contributions. Excludes auto, parking,
                                                                       memberships and CLE expenses.
Compensation

SaSary/Draw                                                           For Partnerships and Proprietorships:
                                                                        Report distribution in kind (firm payments for benefrts on
    For ProfessfOHQ! Corpora tions/AssociQtions:
                                                                        behalf of the partners).
        Salary-Federal taxable income amount shown on W-2
        plus volunta;ry before-tax employee reductions for:       Tota) Compensation
             • 401 (k) plans;
                                                                        Salary/Draw, Bonus/Dlstrifcm&on in Cash, plus Benefits/
             • Flexible ^pending accounts (FSAs);
                                                                        Distribution in Kind.
             * Other quanfied flexible benefrt programs.

    For Partnershfps/Proprietofships:
       Draw-Periodic cash distributions including quarterly tax
        draws and guaranteed payments.

Bofws/Distnbtitfon in Cash

    For Professional Corpora tions/Associations:
        Bonus-Year end cash bonus paid during 2021.




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F/rm SQecializstfon
                                                                                Non-Litigation                        Utigatiort
These specialized firms derived 50% or more of their gross             100 = Admin/Legislative/Rfiq.       200 = Anfitfusl
receipts from one area of legal work. This survey reports areas of     -10-t =Bankma                       201i = Bankruptcy _„
                                                                       102= Bankruptcy                     202 != Collections
specialization in the fmancigl section as follows:
                                                                       103= Collections                    203 = CommJContracts
                                                                       104 ^ Commerclal/Contract           204 = Criminal
   * Commercia! Litigation                                             105= Education                      205 = Education
    » Insurance Defense Litigation                                     106 = EmptovBB Benefrts             206 ^ Insured Defense
                                                                       107 ^Employment                     207 = Sejf-insured Defense
    • Labor/Employment                                                                                     208 a Employee Benefits
                                                                       106= Environmental
    • General (no area responsible for 50% or more)                    109== Family jL^w^                  209 = Empfoyment
                                                                       -110s General Business              2'lO^Environmerrtal
    • Other
                                                                       111= Health Care.                   211 = Family Law
                                                                       112= Insurance.                     212= Health Care
Lawyer SoedaStzatson
                                                                       113 == Intellectual Property        213 = Inlellectual Property
                                                                       114=lntemai(ional                   214 = Intematkmal
The questionnaire requests information on any legal specialty in       115= Labor/Management               215 ^ Labo^Management
which each reported Jnd'ividual spent more than half of his/her        116==Labor/UnEon                    216=Labor/Union
billable time. The listofspediaities requested is shown below, it      117= Maritime                       217= Maritime
is not an exhaustive list, but enabiies someanalysis of the relative   118 =: Menaer/Acquisitkms           218 = Natural Flesoyrce_
                                                                       119 =Muntcipai Finance              219=PersonaHnjury
earnings of various specialty groups-                                                                      220 = Products, tjability
                                                                       120 = Natural Resources
                                                                       121 = Real Estate                   22t ^ Real Estate
                                                                       122= Securities                     222 = Securities
                                                                       123= Taxation                       223 = Taxation
                                                                       124 == TmsyEslates/Probate          224 == Trust/Estates/Pfobsrte
                                                                       125 ^ Utiifties                     225 ^ Workers' Compensation
                                                                       126 = Other Non-fEtigation Spec.     226 = Other Litigation Spec.
                                                                       127= Multi Non-liticr.ation Spec.   ,227 = Multi Litigation Spec^
                                                                                                    300= Generalist




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Muftioff/ce Firms                                                      Status

MuEtioffice law firms are shown as a separate category witihin the     10 Equity Partner/Shareholder/Proprietor
financial section wherever information is segregated by firm size,
                                                                       11 Non-Equlty Partner, Salaried Partner,
region and size of municipality. Within the category of
                                                                            Participating Partner -Any individuat who is held out to
MULTiOFFICE law firms, each firm is treated as a single entity.
in addition, each multiple office firm is tr&ated as a separate unit            the public as a partner or principal, but is clearly in a
within the reporting categories of size, ]ocation,and population in             separate class that is charaderized as having lower
this section.                                                                   capital contribution requirements, lesser voting rights and
                                                                                lesser economic risk or reward potential. May be
When reporting information in the remaining sections of the                     dassified as eifrier a W-2 employee or K-1 partner fortax
report, each individual fee earner is re-categonzed according to                purposes.
the region of employment For example, a firm's main; office is in
Minneapolis, and the branch office is in Sarasota, Florida. The        2 0 Associate Lawyer - A lawyer employed by the firm who
individual fee earner information is reported as South Atlantic.
                                                                              is understood to be in a program leadmg to consideration
                                                                                for partnership or shareholder status, or who has been so
Offices                                                                         considered.


The term OFFICES indicates the number of law firm offices              21 Staff Lawyer - A lawyer employed by a law firm who is
reported within a category. Branch offices are counted as single              hired with the understanding thatlhe position will not lead
offices.                                                                        to consideration for ownership status.

                                                                       30 Counsel - (of counsel) working actively; normally over
Geoaraohic Regions
                                                                                800 billabEe hours.
Regions are determined using geographic divisions as defined by
                                                                       In analysis titled "By fndMduaf Status; each status code is listed
the U.S. Census Bureau (see map following introduction). Puerto
                                                                       separately. This breakout is shown only at the national leveL In
Rico and the Virgin IsEands are included wffh "South Atlantic;"
Hawaii and AEaska with "Pacific."                                      the remaining analyses, the heading Partner/Shareho!cfer-
                                                                       Eqwty/Non-Equity iindudes partners in partnerships,
                                                                       shareholders in profession a'! corporatloins/ associations and sole
                                                                       proprietors. TNs would include equity and non-equlty positions.
                                                                       The heading Assodate/Staff includes associate and staff attorney
                                                                       positions defined earlier.




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STATISTICAL TERMS USED
                                                                                         Example
The stafisficai terms used in the sun/ey are defined below and
illustrated in the example. Quartiies are used to define the middle    Item No.   Amount
50% of the range. One quarter of the observations lies below the
                                                                         1.       400 (Outlier)
first or lower quartile (or 25tt percentile). One quarter fes            2.       90
above the third or upper quartile (or 75th percenfile). In some          3.       80 - 75th percentile or upper quartile
tables the ninth decile (or 90th percentile) isalso shown; 10'% of       4.       70
cases lie above this point                                               5.       60
                                                                         6.       50 - Median or 50tt percentile
                                                                         7.       45
The median (or 50th percentile) is the middle or central number          8.       40
in a series of numbers arranged in order of value. !rs the following     9.       30 - 25th percentile or lower quartile
example, the median is 50. There are equal numbers ofsmalier            10.       20
and larger observations.                                                11.       10

                                                                                  Average is 82
Th& average (or mean) is the total value of all obser/ations                      Middle range is 30 to 80
divided by ?e number of observations. Tills number may be
distorted by a few outliers, as is the case in our example. The
mean is useful in hourly rates and in billable hours, because few
putRers are possible. It is not as good a measure for comparisons
of earnings.




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INFORMATION ABOUT THE RESPONDENT SET                                    hours information is included onlyfor individuals who worked full
                                                                        time for all of 2021.
This stucfy is undertaken annually. An inv'rtation to participate was
sent to a selected group of ;Iaw firms. These are firms that have       Statistics are not shown for any category that does not have
had prior contact with ALM Legal Intelligence and include past          information supplied by at least three individual positions. The
participants and purdiasers of OUT various surveys- Invrtafions to      number of firms or offices and number of positions are indicated
participate were also sent to various members of the Association        on the tables as appropriate.
of Legal Administrators and other maiiing lasts.

Only LLS. law firms are included in this study. Sole practitioners      In some instances, the sum total of percentage breakouts may
are included in this report. Therefore any trending date such as        not equal 100%, because numbers have been rounded to the
firm financials, compensation or billing rates will not be              nearest oaie-tenth of one percent
completely trendable with previous editiorts of the survey. To
accommodate thisgroup, AIM Legal Inteltigence has a separate
data cut for firm sizes 10 attorneys or less.

Information was collected in several areas for each lawyer who
worked at the participating law fimn in 2021. Earnings and bilSablo




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                                        Census Regions and Divisions of the United States

                    ssa *» w«t
**^f'*^.t ^*JWV'




                                    WEST                                        MORTH^ST




                                                                                             REGION
                                                                                             DIVlSfON
                                                                                            STATE




                                                                                      Ffflfllf" >ytni Gicfn^omswrt
                   V.^niiiirtem(atnmmH€«twmiTlci»nflEtaKlMAW)lltyi«kn UK^'^^w




                                                                                    2022 Survey of Law Firm Economics: Inf- -^tion
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DISTRIBUTION OF PARTICIPATING LAW FIRMS

                                                                                            Region
                                                                      Northeast   Midwest   South      West       Total
                     New England                                         1                                          1
                     Middle Atlantic                                     8                                          8
                     East North Central                                             8                               8 .

                     West North Central                                             3                               3
Narrow Region        East South Central                                                       1                     1
                     West South Central                                                       1                     1
                     South Atlantic                                                           4                     4
                     Mountain                                                                            1          1
                     Pacific                                                                             3          3
                     1 to 9 Lawyers '                                               2                               2
                     10 to 24 Lawyers                                    2          1         1          I          5
                     25 to 40 lawyers                                    1          2                               3
Firm Size
                     4-1 to 75 Lawyers                                   1          3         1          1          6
                     76 to 150 Lawyers                                   2                    3                     5
                     Over 150 Lawyers                                    2          2                    1          5
                     Commercial litigation                               2          1         2          1          6
                     Corporate/Commercial (non-Utigation)                1           1        1          1          4
                     Environmental                                       1                                           1
                     Family                                                         2                               2
                     General Law, practice in multiple areas of law                 1                                1
                     Healthcare                                          1                                           1
Practice Area
                     [nsurance defense litigation                        1          1         1                     3
                     totellectual Property/Patent                                   2                               2
                     Mergers and Acquisitions                                       1                                1
                     Other (please specify)                              2                    1          1          4
                     Plaintiffs Contingency Litigation                   1                                           1
                     R-eal Estate and Land Use                                      1         1          1          3
                     Limited Liability Company (LLC)                     2                                          2
                     Limited Liability Partnership (LLP)                 3          9         2         3           17
Type of Firm         Partnership (may include individual PCs)                       1                                1
                     Professional Corporation/Association                4          1         2          1          8
                     Professional Limited Liability Company (PLLC)                            2                     2
Total                                                                    9          11        6         4           30




                                                                                                     2022 Survey of Law Firm Economics: Distribution
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DISTRIBUTION OF LAWYERS BY OFFICE FOR PARTICIPATING LAW FIRMS

                                                                                           Region
                                                                     Northeast   Midwest    South    West       Total
                     New England                                       70                                         70
                     Middle Atlantic                                   545                                       545
                     South Atlantic                                                         467                  467
                     West South Central                                                     121                  121 ,
Narrow Region
                     East North Central                                            365                           365
                     West North Central                                             36                            36
                     M.ountain                                                                        95          95
                     Pacific                                                                          334        334
                     10 to 24 Lawyers                                    9                   3                     12
                     25 to 40 lawyers                                   17                                         17
Finn Size            41 to 75 Lawyers •                                            29        21        1          51
                     76 to 150 Lawyers                                  90                   82                   172
                     Over 150 Lawyers                                  499         372      482       428        1781
                     Commercial litigation                             433         334      495       153        1415
                     Corporate/CommerciaI (non-Utigation)               17          14                219        250
                     Environmental                                      90                   5                    95
                     Family                                                        15        1                     16
Practice Area
                     Insurance defense litigation                        9                   3                     12
                     Intellectual Property/Patent                       63         38        7         57         165
                     Other                                               3                                         3
                     Real Estate and Land Use                                                77                   77
                     Limited Liability Company (LLC)                    195                  47                  242
                     Limited Liability Partnership (LLP)               318         401      456      ,429        1604
Type of Finn
                     Professional Corporation/Association               102                  82                   184
                     Professional Limited Liability Company (PLLC)                            3                     3
Total                Total                                              615        401      588       429        2033




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                                                    Individual Lnwyer Litigation Spcdallias




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                       BROAD KEGION
                       STANDARD HOURLY BILLING RATES
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                          Broad Reiiiori/Stntus                                            Numbu- of OfEcss    Number of Lawyers   Average   Lowtr Ouiirlile         Median       jJ^gffCjumryk      Ninth Dccile
Norilieasi             Equity Panner/ShiirdioMcr/Propristor                                       6                  125            sw           1455                 IS3U              S715           11,245
                       Non-equitvPnriner/SBliiriedPBrtner/Nmi-ParticipttinePnrtncr                5                  Ill            yii9         S450                 I62U             tl.OU5          tl.lSS
                       AsiLWiutc Lawyer                                                           7                  2?             S543         1320                 S4B5              S750            1925
                       Stuff Lawya-                                                               2                    21           SS34         14'SO                1495              S5W             1-745
                       Or Counsel                                                                 4                    3B           t7SU         $495                 !t693            Sl.OOU          St. 155
Midwesl                E(|Kitv F ni-tnsr/Shai-eiiolder/Froprietor                                 4                    5S           t875         $575                 WO               m.cw            11,150
                       Non-uiuiEv Partnir/SalariuS Parttsr/Non-ParticipaUnj; Paruiet              4                   114           sim           S5&5                $770              SMO            $1.150
                       Associate Lawyer                                                           4                   ! 46          IS63          ?i00                $565              $715            mo
                       Staff Lnww                                                                  1                   45           S406          I29U                M55               S475            M7S
                       OrCuunscl                                                                                       35           S771          ssw                 wo                1350           $i.150
Soulh                  Equi tyPartneT/Slmit'holdcT/f'roinnclor                                    5                   Ill           I70S          S<t00               SS70             SLtMO           tl.lffl)
                       Non-equity Partncr/Saltrii'd Pattncr/Noit-Paticipaline Partner             9                   1ES           S865          K90                 $S>!0            ! 1,050         I!.160
                       Assoeifllc Lawv""                                                          6                   1E>7          S5W           M10                 I60U              t755            I860
                       Staff Lawyer                                                               3                    30           SG5           S385                S?5>5             1510            $570
                       Of Counsel                                                                 3                   64            1810          tSl3                mo                S950           Sl ,000
West                   Equity PBrtner/SlinrdioIder/FropiielBr                                     i                   S9            n 94          S710                1773              S810            !t?50
                       Nnn-tqujly Pulnw/Stl aned ?a3!l^H'SS'^Hti?i?,a,l,iM,?,?ffl;lSr             3                   OT            S326          1650                itSUO             wo             SI,160
                       Associalt Lawyer                                                           3                   181           IS SO         S43S                SS15              SOT5            S780
                       OfCouiue!                                                                  4                   23            ms            S515                S6S5              SS20           II.BOO




                       NARROW REGION
                       STANDARD HOURLY BILLING RATES
                       At of January 1,2022
                                                                                                                                     Rate
                          NaiTOwjlcgKin/Stalus                                             Number of Officts   NumdcrofLtwvCTS     Av^es     Lower Quariils          Meiiian       JJ'pperQuKli!t;   Ninth Dccilc
NewEngluid             Equity Fulner/Shareholder/Proprieror                                       2                   i9            SSU7          S460                I5U5              Ss40            S625
                       Non-c^uity Partncr/Salarjet! Paruicr/Nisn-ParUcipalmp Fartacr              3                   !E            1521          M25                 S5I5              t57i            S70U
                       ^ss&iriate Lawyer                                                          4                   24            sw            SSf.5               »ao               me              S4SO
                       Of Counsel                                                                 1                    8            t4tU          S40E                S42S              14 ?5           S523
Middle AUaniic         EE|UI tv PaTtner/StiBTcholiieriFiopriclor                                  5                   106           S697          M50                 IS73              SMO            11,345
                       Hcn-cquity Parucr/Salflried Piutmir/Nou-Piiniripalui;! Partner             4                   193           1717          14 S3               t62S             Sl.075          $1.155
                       ^ssoiiiatc Lawyer                                                          6                   132           1569          S325                S560              $785            SM5
                       Staff Ltwyw                                                                2                   20            1547          S445                S49S              S653            1753
                       Of Counsel                                                                 3                   30            tS3?          1600                SS60             tl.155          $5.155
SoulhAtlanlic          Equity Purtacr/ShinAoldur/PropridBr                                                            99            S664          t400                1500             11,000          Si. 160
                       Nun-cquity Parincr/Salarnid Piu'lna'/Non-Panicipatiog Partner              9                   152           1851          $538                S9SO             S i. 050        Sl .220
                       Assiiciats Lawvc                                                           6                   149           SS63          I3S5                1560              $715            !845
                       StafTLawycr                                                                3                    11           $438          t335                $47S              $525            tSSS
                       Of Counsel                                                                                     52            $611          SS4S                1820             tl.000          Sl.OOO
Eas! North Cenlral     Equity Pactner/Shurdiolder/Proprictor                                      3                   53            $911          IS4U                swo              $1,090          Sl.lSU
                       Nun-equitr Fanna'/Stiariiid Fgrina/Noa-Farticipating Partnu-               4                   "2            ssn           1740                S810             Il.UOO          S1J5U
                       Associale LuMiTer                                                          3                   1M            $581          S500                SW5               ST15            $780
                       SlaffLnwya-                                                                 1                  45            MOfi '        S2W                  1455             S475            1475
                       OfComisd                                                                    I                  31            S820          S740                 1750            S900            Sl,150
West North Ccntrai     E^m^Pulner/Shflrdioi Sa-iPcofiiew                                           1                   d            S563          SS15                 1550             S (.00          1650
                       NnrMiquityPartntir/Saliried Fiirtnerf?iii-Participal ini; Partner           !                  12            $501          SA 63                sws             ti50             S575
                       Asswsiatc Lawyu-                                                            1                  12            S3W           S3W                  1375             1395            t4CK>
                       Of Counsel                                                                  1                   4            $3M           S33S                 £358             S150            1475
WtitSBUlhCuih-a]       Enuitv Piirtncr/ShaTehoIrieT/FfBDriclor                                     1                  12           tl.074         t;S75               tl,025           Sl.160          tl.280
                       Non-uiuity Partner/SaIaried FartnCT/Non-Pitrticipalin? Partna-              I                  33            $E>30         ssso                 N10             Sl.050          Il.HO
                                                                                                   1                  IS            ?74           S5S5                t653              S77S            1875
                       Staff Lawvu-                                                                !                   if.          S'MO          SW5                 sw                MS S            S520
                       orcoimsd                                                                    !                   12           IBOS          IS 13               S820              IS 10           IS10
Mountain               Eijuity PiirtnerfShareholdeT/Pniprielor                                     2                   B            1727          S5SO                1625              IS S3          S 1.090
                       Non-cfjuily Partner/Salaricd Partner/Ncn-PnrtiUpnlniE; Partiu;r             2                  r?            1680          S51S                1550              S 350           S9SO
                       Associ&Le Lawver                                                            2                  35            S507          S3SS                sw                s&w             S780
                       OfCcuisel                                                                   3                   13           S643          $475                1575              ?10             S850
Ptdfic                 Eijuity Pirtnen'ShirchoIder/Proprielor                                      2                  8)            S800          S735                mo                £810            IS85
                       Nun-MiuityPnilncr/SalnriedPamier/Non^'articipatuiEPnrtim-                   2                  70            W3            S700                I8?3             1:1.000         si^io
                       Associ ale Lawyer                                                           2                  146           SSTS          £450                tSSO              SfW             SEOO
                       Ot'Cmmsti                                                                   2                   10           ssw           1685                S755              t6>50          S1.100




                                                                                                                                                               2022 Surrey of Law Firm Economics: Hourly Billing Rates
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             BROAD REGION SY YEAKS OF LEGAL EXPERICNCB
             STANDARD HOURLY BILLING RATES

                                                                                                  Rate
           BrondRcpon/YiBusofExpaiuiei!                  Number of OiEccs   Number of Lawyers   Averase   Lower QuBrtilc         Mtdiaa       Upper Quariile   NinlhDeoiie
NonhcasS      Jnda-lycnTs                                       5                  !4            I4S5         S1SS                151 B           S6 SO           S680
              ; or 3 Yunrs                                      5                  33            $448         $310                1340            S665            S71U
              1 or 5 fears                                      6                  29            t456         I260                S3 90           3if;40          S750
              S or 7 Yws                                        6                  35            1490         1300                1360            S715             S895
              i to 10 Yeare                                     s                  58            1568         t340                S513            ISUO             S925
              11 to IS Years                                    7                  94            S7UU         S42U                S708            !Etno           S1.155
              16 to 20 Years                                    6                  B4            t666         M25                 t520            S963            S1.15S
              Z! to 30 Yefira                                   6                  !!E           nos          1450                1545            SMO             II ,200
              i 1 or More Yenra                                 6                  12S           fTl\         Siio                S6Z5            S76U            SU45
Midwest       LIuiin-2vears                                                         17           un           S500                ISOO            X500             S300
              lw'i Years                                        ?                  w             1156         S330                S5W             $565             I56S
              4or5 Years                                        3                  24            $467         S320                S4S5            t605            S640 '
              Sor7Ytans                                         4                  su            $567         S3 80               t67S            N15             $800
              S to 10 Years                                     3                  39            t608         t440                S6W             S755            mo
              11 to 15 Years                                    4                  54            15 SB        S455                S643            $740            'IB10 .
              !fi to 20 Years                                   4                  48            WS>0         S500                1740            S77D            S 1,000
              ;lto3UYcnts                                       4                  54            S773         S51S                1825            SIW              $STO
              ?lm-More Years                                    4                  82            S943         $750               11,040          II.I5U           St, 130
South         Under 2 yeara                                     3                  22            S485         1425                SS?             $560             SS60
              ; or 3 Years                                      4                  32            tS28         S423                I5S3            1630            $630
              4 or 3 Years                                      4                  4B            i53 a        »30                 tGM             1715            £715
              S or 7 Years                                      4                  44            1596         S418                S71S            t760            IS20
              Bto10Y«u$                                         3                  55            S664         S395                T740            S873            $?!0
              lllol5Y™3                                         7                  89            1705         S435                S740            ?30             Sl.UUO
              16 to 20 Years                                    7                  so            S734         M25                 $730            ssso            3:1.025 •
              21 to 30 Years                                    7                  115           SS24         1495                $900           S 1.050          Sl,160
              } 1 or More Years                                 7                  116           5S60         $450                1930           II.ISO           $1.280
West          Under 2 yuis                                      3                   11           S414         S335                S3S5            S560             I56U
              ; or? Years                                       3                  23            S453         SM5                 SH1S            S600             IS05
              4 or 5 Yfiffs                                     3                  Z9            S558         SA2S                S4K             S715            OTSS
              3 or7 Years                                       3                  38            S538         S425                t183            t675            IEOO
              BtoiUYnu'I                                        3                  45            SS28         SAW                 j!S70           1780            $845
              l]Io!5Yaus                                        3                  61            IS38         SS45                K>25            S74U            S82B
              16 in 20 Years                                    3                  44            IT39         $650                S700            IS3S            WS5
              ZI to 30 Years                                    4                  72            S7SO         1575                t7SS            I£43            SL050
              31 or More Years                                  3                  6S            sm           yiw                 S820           n. coo           siazo




                                                                                                                           2022 Survey of Law Firm Economics: Hourly
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The 2023 Litigation Hourly Rate
       Survey & Report

    NALFA’s Annual Survey of Prevailing Market Rates
                   in Civil Litigation in the U.S.


               Published & Released on December 27, 2023

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NALFA
NALFA is a 501(c)(6) non-profit professional association for the legal fee analysis
field. Our members provide a range of services on attorney fee and legal billing
matters. We serve as the organizing and governing body for the legal fee analysis
profession.


Courts and clients turn to us for expertise when attorney fees and expenses are at
issue in large, complex cases. NALFA members are fully qualified attorney fee
experts, special masters, bankruptcy fee examiners, fee dispute neutrals, and legal
bill auditors. All our members follow Best Practices in Outside Legal Fee Analysis.




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About NALFA
The National Association of Legal Fee Analysis (NALFA) is federal tax-exempt group organized and governed under
26 U.S.C. § 501(c)(6). We serve as the professional governing body for the legal fee analysis profession. As a
501(c)(6) organization, NALFA devotes itself to advancing the lines of business and representing the professional
interests of the legal fee analysis profession.


Our mission is to help ensure quality and reliability across the legal fee analysis profession, regardless of membership
status. Our standard for analysis and evaluating attorney fees and expenses is reasonableness. Our members
observe proven methodologies and adhere to the proper standard of reasonableness when reviewing outside attorney
fees and expenses. Our members follow Best Practices in Outside Legal Fee Analysis.


NALFA has been cited or quoted by 21 different media outlets and/or publication: The Wall Street Journal, Bloomberg
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NALFA is an approved 501(c)(6) federal tax-exempt organization under the IRS Code.

NALFA is an A.M. Best Recommended Expert Service Provider (2008-Present).

NALFA has recommended qualified attorney fee experts on legal fee and billing matters ranging from $42,000-$500 million.
Since 2008, NALFA has hosted over 45 different CLE and professional development programs on attorney fees and legal billing topics. Our CLE faculty has included 23
sitting federal judges.

Every year, NALFA announces, “The Nation’s Top Attorney Fee Experts”.

Every year, NALFA conducts an hourly rate survey of civil litigation in the U.S. This is the nation’s largest and most comprehensive survey or study of hourly billing rates in
litigation.

NALFA offers a Certificate in Ethical Billing & Reasonable Fees, the nation’s first and only certificate of its kind for registered guests of multiple CLE programs.

NALFA has established Best Practices in Outside Legal Fee Analysis, a peer-review driven code of professional conduct for professionals who routinely perform outside legal
fee analysis.

NALFA’s News Blog covers jurisprudence and scholarship on reasonable attorney fees throughout the U.S.

NALFA filed Amicus Briefs in Worley v. Storage USA, Pipefitters v. Oakley in California appellate courts and in the landmark ADA case, Covington v. McNeese State University in
the Louisiana Supreme Court.

NALFA has been cited or quoted by 21 different media outlets and/or publications: The Wall Street Journal, Bloomberg News, ALM’s American Lawyer, The Chicago Tribune,
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Journal, FindLaw.com, The Florida Bar Journal, Law 360, Politico, ALM’s Law.com, Missouri Lawyers Media, ALM’s Critical Mass, and Portland Business Journal, and Detroit
Free Press.

NALFA houses a body of scholarship on reasonable attorney fees including surveys, reports, articles, and studies. NALFA also recognizes the nation’s most influential
scholarship on attorney fees.

NALFA conducts custom design hourly rate surveys for law firms, corporate legal departments, and government agencies. A federal judge cited a NALFA hourly rate survey
in his attorney fee award in the Vortens class settlement.
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The Ethics of Reviewing Outside Legal Fees:
Dedicated to the Legacy of Founding Member Bruce R. Meckler (1955-2016)
Legal fee analysis is the comprehensive review and analysis of attorney fees and costs by an outside party in a legal matter. Professionals who
routinely perform outside or third-party legal fee analysis include attorney fee experts, special fee masters, bankruptcy fee examiners, fee dispute
neutrals, and legal bill reviewers.

The following ten best practices measures were developed over several years with input and consensus from thought leaders (members and non-
members) from across the legal fee analysis professional community. These best practice measures promote values such as ethics,
independence, and professional development. These peer review driven standards help strengthen the legal fee analysis field by ensuring integrity
in the process and reliability in the results. These best practice measures fulfill the "generally accepted" standards within a professional
community as required by Daubert and are widely considered the mainstream of outside legal fee analysis.

All our members (i.e. fully qualified attorney fee experts, special masters, bankruptcy fee examiners, fee dispute neutrals, and legal bill reviewers)
are signatories to the following ethics for reviewing outside legal fees:

1.00 Adhere to the proper standard of reasonableness.
2.00 Observe a consistent and reliable methodology.
3.00 Keep updated on the latest jurisprudence (i.e. the body of law, key court rulings, expert fee reports, etc.) on reasonable attorney fees and
expenses.
4.00 Keep updated on the latest scholarship (i.e. empirical papers, studies, surveys, reports, etc.) on reasonable attorney fees and expenses.
5.00 Participate in professional development and CLE programs on litigation management, attorney fees, and legal billing topics.
6.00 Do not advertise false or intentionally misleading information or offer any guarantee of outcome.
7.00 Do not charge on a contingency basis (i.e. based on the results obtained).
8.00 Do not accept a case or client where there is an inherent conflict of interest.
9.00 Keep all fee, billing, rate, and work product information in strict confidence.
10.00 Employ data science and technology.


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NALFA’s Thought Leaders & Program Partners on Ethical Legal Billing & Reasonable Attorney Fees:




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Acknowledgements (Individuals)
Before conducting this hourly rate survey, NALFA consulted with several subject matter experts. They helped guide this
survey from its inception to its completion. Our members and other professionals helped advise on survey format, survey
design, survey questions, and other data science issues.

NALFA would like to thank several people within our membership network (i.e. members, faculty, and fellows). Our
members are the leaders of the outside legal fee analysis field. Specifically, we would like to thank all our current 2023
members including:

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Andre E. Jardini, Partner, KPC Legal Audit Services Inc. (Glendale, CA)
Elise S. Frejka, Principal, Frejka PLLC (New York, NY)
Daniel M. White, Partner, White & Amundson APC (San Diego, CA)
Robert L. Kaufman, Partner, Woodruff Spradlin & Smart (Costa Mesa, CA)
Jacqueline S. Vinaccia, Partner, Vanst Law LLP (San Diego, CA)
Fred M. Blum, Partner, Edlin Gallagher Huie & Blum (San Francisco, CA)

NALFA would also like to thank several professors and graduate assistants of Mathematics and Statistics Department at
Loyola University Chicago, Northwestern University, and the NORC at the University of Chicago who consulted and advise
on some of the data science behind this survey.




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Acknowledgements (Books & Other Material)
In addition to consulting with individuals, NALFA studied several books on surveys, statistics, data science, data
management, and data presentation. We recommended the following books to consumers of this hourly rate survey:

Wheelan, Charles. Naked Statistics. W.W. Norton & Company, 2014
Cady, Field. The Data Science Handbook. Wiley, 2017
Zumel, Nina and Mount, John. Practical Data Science with R (Second Edition). Manning, 2020
Berinato, Scott. Good Charts. Harvard Business Review Press, 2016
Wickham, Hadley and Grolemund. R for Data Science. O’Reilly, 2017
Bruce, Peter, Bruce, Andrew and Gedeck, Peter. Practical Statistics for Data Scientists (Second Edition). O’Reilly, 2020
Foreman, John. Data Smart. Wiley, 2014
Knaflic, Cole Nussbaumer. Storytelling with Data. Wiley, 2015
The Economist. Numbers Guide (Sixth Edition). Perseus, 2014
EMC Education Services. Data Science and Big Data Analytics. Wiley, 2015
Borman, David. Statistics 101. Simon & Schuster, 2018
De Veaux, Richard and Velleman, Paul. Intro Stats. Pearson, 2004
Bluman, Allan G. Elementary Statistics (Eighth Edition). McGraw Hill, 2009

NALFA would also like to acknowledge other material including Evaluating Survey Questions: An Inventory of Methods by the
Subcommittee of Questionnaire Evaluation Methods of Statistical and Science Policy in the U.S. Office of Management and Budget
(January 2016) and Evaluating Survey Questions by Doctor Chase H. Harris of Harvard University’s Program on Survey Research, and
Methods for Testing and Evaluating Survey Questions by Stanley Presser et al., Public Opinion Quarterly Vol. 68, Issue 1 (March 2004).
We’d also like to acknowledge two PBS Nova programs, “The Great Math Mystery” (Season 47, Episode 7) and “Prediction by the
Numbers” (Season 45, Episode 5) that helped ground this survey into a mathematical and statistical framework.


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Dedication

NALFA would like to dedicate this fourth annual hourly rate survey to
one of our original, founding members, Robert Kaufman. Robert
Kaufman is one of the nation’s top attorney fee experts. He has been a
long-time NALFA member. Mr. Kaufman is highly experienced at on
analyzing fees and billing entries in attorney fee requests.




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NALFA Conducts Custom Hourly Rate Surveys

Hourly rates are not attorney fees. They are, however, the engine that drive attorney fees.
Hourly rates are one of the most important factors in calculating lodestar attorney fee
awards. As such, establishing the prevailing market hourly rate is paramount for any claim
of reasonable attorney fees. But one attorney’s individual billing rate (i.e. a single discrete
numerical value) is not the same as the prevailing market rate (i.e. an aggregated
numerical range or an approximate average).

NALFA conducts custom hourly rate surveys for law firms and corporate legal
departments. Our hourly rate surveys provide clients with accurate and authoritative data
on prevailing market rates within a given geography market and / or practices area(s).
Over the last several years, we have developed the digital infrastructure to perform hourly
rate surveys of any size and scope. Indeed, our custom hourly rate surveys have been cited
by litigators in court documents and referenced by court adjuncts in court and ADR
proceedings. One of our surveys was cited by a federal judge in his attorney fee award.
Our surveys can also be used for internal purposes, such as rate comparisons.


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NALFA Custom Surveys Engagements
NALFA has been hired to conduct several custom hourly rate surveys for private clients. Some of our recent custom hourly rate survey engagements
include:

A boutique law firm in Boston engaged NALFA to conduct a survey of associate and partner level billing rates in litigation in the greater Boston area.

A large Miami law firm hired NALFA to conduct a survey of plaintiffs’ and defense rates in commercial litigation in South Florida.

A small plaintiffs’ law firm in Dallas engaged NALFA to conduct a survey and report of hourly rates in consumer class actions in the Dallas-Fort Worth
area. This survey was cited by a federal judge in his attorney fee award.

An insurer hired NALFA to conduct a survey of billing rates of defense counsel in insurance coverage litigation throughout California.

A large law firm in Seattle engaged NALFA to conduct a survey of hourly billing rates in regular and complex litigation in the U.S. District Court for the
Western District of Washington jurisdiction.

A small law office in Albany hired NALFA to conduct a national survey of billing rates in public interest and civil rights litigation in federal court.

A technology firm engaged NALFA to conduct a survey of hourly rates in large and mid-size law firms in patent litigation in the San Francisco and
Silicon Valley region.

A defense law firm with offices throughout North Carolina hired NALFA to conduct an hourly rate survey of similarly sized law firms in the Charlotte
area so they could compare billing rates with their litigation peers.

A government agency engaged NALFA to conduct a survey of hourly rates in large Chapter 11 bankruptcy cases, nationwide.

A mid-size law firm in Atlanta hired NALFA to conduct a survey of hourly rates in IP litigation in several major markets.

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Federal Judge Cities NALFA Survey in Attorney Fee Award
A federal judge has cited a NALFA survey in a class action attorney fee award. U.S. District Judge
Amos L. Mazzant of the U.S. District Court for the Eastern District of Texas referenced NALFA’s hourly
rate survey in awarding attorney fees and expenses in Cone v. Porcelana Corona de Mexico, S.A.de C.V.
et al. (“Vortens”). The NALFA survey independently showed prevailing market rate data of class
counsel in the Dallas-Fort Worth area.

“To support its submitted rates, Class Counsel commissioned and submitted a survey conducted by
the National Association of Legal Fee Analysis ("NALFA"). The sample of the NALFA survey was
Dallas-Fort Worth metropolitan area plaintiffs’ counsel practicing in consumer related or product
liability class-action work. Class Counsel’s submitted hourly rates, while on the higher side, falls
within the accepted range,” wrote Judge Mazzant.

NALFA conducts custom hourly rates for clients such as law firms to independently prove billing rates
in court. Lead plaintiffs’ counsel commissioned NALFA to conduct a billing rate survey of plaintiffs’
rates in class actions in the Dallas-Fort Worth area. NALFA conducted this survey via email,
employing its best practices measures. In his 26-page fee order, Judge Mazzant accepted the hourly
rate data and survey results and awarded over $4.3 million in attorney fees in the Vortens class
settlement.




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NALFA’s Four Hourly Rate Factors
NALFA has identified four factors that help determine prevailing market rates. These variables include,
but are not limited to:

1. City / Geography / Jurisdiction (i.e. Oklahoma City vs. New York City Rates)
2. Years of Litigation Experience / Seniority (i.e. 3rd Year Associate vs. 14th Year Partner Rates)
3. Practice Area / Complexity of Case (i.e. PI Litigation vs. IP Litigation Rates)
4. Law Firm / Law Office Size (i.e. Solo Law Office vs. 400+ Attorney Law Firm Rates)

These four hourly rate factors correlate directly to hourly rates. These factors are known as the primary
factors and should be a part of any hourly rate survey.

Each custom survey is designed to meet the needs of the client. We work closely with the client on all
aspects of the hourly rate survey and the data. We charge a flat fee for this services and the cost depends
on the size and scope of the survey. All client information is kept in strict confidence.




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Survey Process & Methodology
Our hourly rate surveys are conducted via electronic mail (e-mail). Generally, our hourly rate surveys passes through the
following stages:

Identifying Survey Population
Survey Design & Format / Survey Questions
Launch Survey Campaign
Monitor Survey Progress
Achieve Representative Sample Size
Tabulate Survey Results & Report Findings

The client has the ultimate authority over the survey questions and survey design. Good survey design leads to good
data. NALFA begins the survey process by accumulating a survey population of attorneys. This is done through
proprietary methods. Once we have a large enough population size, the email survey can begin. The email survey is
conducted over several weeks or perhaps months. We keep the client updated of the surveys’ progress. In order to
increase survey participation, we can offer the survey participants certain benefits for participation, such as receiving
the survey data or portions of the survey data. We can also offer other benefits such as discounts on our CLE
programs and free on-demand CLE programs. Once we have reached a certain threshold, we conclude the survey and
begin tabulating the results.

Work Product: Survey Results & Report
At the conclusion of the survey, NALFA will prepare the survey data and report. The survey results will include the raw
data of the survey. The survey report includes a detailed narrative of the survey process and methodology. Throughout
the entire survey process, NALFA respects the privacy of survey participants and will never discloses the names of
individuals or law firms.
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Word Cloud
The following words, terms, and phrases are all categories from our news blog:




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Introduction
Since 2020, NALFA has conducted an annual hourly rate survey of civil litigation in the U.S. This survey shows billing
rate data on the very factors that correlate to hourly rates in litigation:
City / Geography
Years of Litigation Experience / Seniority
Position / Title
Practice Area / Complexity of Case
Law Firm / Law Office Size

This empirical survey and report provides micro and macro data of current hourly rate ranges for both defense and
plaintiffs’ litigators, at various litigation experience levels, from large law firms to solo shops, in routine and complex
litigation, and in the nation’s largest markets. This data-intensive survey contains hundreds of data sets and
thousands of data points covering all relevant hourly rate categories and variables. This is the nation’s largest and
most comprehensive survey or study on hourly billing rates in litigation.

This is the fourth straight year in a row that NALFA has conducted this survey on billing rates. The 2023 Litigation
Hourly Rate Survey & Report contains new factors and variables. Over 24,800 qualified litigators fully participated in
this hourly rate survey. The data-rich survey was designed by our attorney fee experts to aid litigators in proving their
lodestar rates in court and comparing their rates to their litigation peers.




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Importance of Hourly Billing

Hourly billing is the nation’s oldest, most popular, and still most common form of charging
for legal services in litigation. Hourly billing penetrates all attorneys in the legal profession
– criminal, civil, government, and in-house. Every practicing attorney in the U.S. has some
level of interest in current hourly billing rates.

Indeed, hourly rates may be the most important economic factor in the practice of law.
Hundreds of courts (state and federal) from across the U.S. use the lodestar method to
calculate attorney fee awards. Hourly rates comprise one-half of the lodestar equation.




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Law Can’t Quit Hourly Billing
Hourly rates may be the most important economic factor in the practice of law.

Hourly rates permeate almost all attorneys in the legal profession:
         Civil (Litigation & Transactional)
         Criminal (Defense)
         In-House Counsel (see Massachusetts case Holland v. Jachmann, 2014)
         Government (In order to attract attorneys, governmental salaries must keep pace
         with private sector rates)

Hourly rates are the most common form of legal billing.

Hourly rates pre-date the U.S. legal system (Marbury v. Madison).

Hourly rates are half of the lodestar equation.

Hourly rate data will always be compared to AFA (Alternative Fee Agreements). Good
hourly rate data can assist law firms and clients in AFAs.

Even judges who award fees, in contingency fee cases, want to see a lodestar (hourly rate
x total hours billed) “crosscheck”.


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Hourly Rate Terms

Hourly rates are not attorney fees. But hourly rates help determine attorney fees. There is a difference
between rates charged or billed and rates actually paid. Here are some other basic rate terms used in
hourly billing:

Premium Rates – Rates paid at the high end of the distribution curve (Tier 4).

Discount Rates – Rates charged below market value at the low end of the distribution curve (Tier 1).

Unitary Rates – A discounted rate charged by a group of litigators.

Quoted Rate -- Agreed upon hourly rate by the attorney and client in a fee agreement.

Client Rate -- Based on a single hourly charge for the client, regardless of which attorney works on the case
and what he or she does on the case.

Activity Rate -- Based on hourly rates that vary depending on the type of service or activity performed and
the degree of difficulty of the activity. Sometimes call task-based rate.

Blended Rate -- Single hourly rate set by taking into account the mix of attorneys working on the matter.



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Other Hourly Rate Surveys

This is not the only hourly rate survey. Other companies and organizations have produced similar surveys of their
own. These companies include e-billing vendors, media companies, and other private enterprises. Organizations that
have produced hourly rate surveys include the American Intellectual Property Law Association (AIPLA) and state and
local bar associations. Some of these surveys are public and others are private. Before undertaking this survey
project, NALFA studied several of these surveys, studies, and reports. We cover these types of surveys in our news
blog and are eager to promulgate good hourly rate data analytics.

But some of these surveys conflate hourly rates and compensation or salary (more on that on the next slide). Some
of these hourly rate surveys never disclose basic survey criteria, like survey methodology, sample size, and response
or participation rates. Still many other rate surveys and studies are big on conclusions and findings, but short on how
those results were obtained or calculated. In short, some of these other billing rate surveys seem ad hoc,
inconsistent, and somewhat transient.

This survey is different. We value disclosure, consistency, and clarity in our surveys. We want the consumers of this
hourly rate survey to understand the methodology and mathematics behind it. What is more, we have confidence in
our data. It is not ‘dark data’, obtained illicitly. The results were given voluntarily, by verified and qualified litigators,
incentivized by receiving the full survey results themselves. As you will observe, we offer no value judgments,
opinions, or commentary on litigation rates. We let the data speak for itself.




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Hourly Rate Data vs. Compensation Data

As previously mentioned, hourly rates and compensation are too different values or variables. This is a
survey on hourly billing rates. This is not a survey on attorney compensation. Compensation has to do with
salary, bonuses, benefits, perks, etc. This is a survey on what litigators bill, not what they earn. While there
may be a strong correlation between compensation and rates, we don’t explore that in this survey.

We found that litigators and more willing to share data on their hourly rates than their salaries. They view the
former as having a public component and the latter as purely private. Most litigators don’t treat their hourly
rates like they are sensitive trade secrets. Hourly rates are disclosed frequently by litigators to parties in
attorney fee agreements, attorney fee dispute matters, and attorney fee requests. They know that their rates
(usually) must be disclosed in order to receive a lodestar calculated attorney fee award. In fact, billing rates
are often discoverable in large, complex attorney fee dispute cases in court and ADR.

Hourly rate data is not unknowable. As such, our survey is premised on this simple concept: If you what to
know the hourly rates of litigators, ask them.




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Regular vs. Complex Litigation

Civil litigation houses a host of practice areas. These practice areas range from the simple dog bite case (i.e.
personal injury) to the complex price fixing case (i.e. antitrust). Law firms or offices can practice in dozens of
areas of litigation or just one.

This survey is not practice area specific. Instead, we ask litigators to distinguish between regular and complex
litigation. Of course, how complex litigation may be is in the eye of the beholder, especially to a young
associate. But we leave it up to the professional judgment of the litigator to draw that distinction. While not all
cases fall neatly into these two categories, most qualified litigators can discern between regular and complex
litigation.

For our purposes, complex litigation refers to individual cases or entire practice areas that are highly technical,
medical, or financial. We aIso consider high-stakes or bet-the-company litigation to fall within the complex
realm. By contrast, regular litigation are individual cases or entire practice areas that are more routine, run-of-
the-mill, straightforward, or garden variety. These cases and practice areas tend to be less technical and have
less at stake or issue.




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Litigation Practice Areas

This is an hourly rate survey of litigation rates, that is hourly rates in regular litigation and hourly rates in
complex litigation. As such, it is not practice area specific. While there may be a range of litigation practice
areas that this survey covers, there are some it does not.

Indeed, there are some very specific areas of law with their own special rate economics. Some practice areas
maintain their own rate economics governed by case law, market conditions, and other unique factors. Our
hourly rate scale and tier rate system would not apply to these practice areas because they tend to be on the
very low end of the scale or the very high end of the scale.

Some of these practice areas include, insurance coverage litigation, large Chapter 11 bankruptcies, workers
comp cases, and others. For these practice areas and perhaps other niche practice areas, this survey data may
not be a useful.




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Important Case Law on Hourly Rates
The following are just a small sample of important federal case law on hourly rates:

Blum v. Stenson, 465 U.S. 886 (1984) 104 S. Ct. 1541
Laffey v. Northwest Airlines Inc., 746 F.2d 4 (D.C. Cir. 1984)
Nelson Perez-Sosa v. Marrick Garland, 22 F.4th 312 (1st Cir. 2022)
Goldberg v. Integrated Resources Inc., 209 F.3d 43 (2nd Cir. 2000)
In re Rite Aid Corp Securities Litigation, 396 F.3d 294 (3rd Circ. 2005)
Student Pub. Interest Research Group of N.J. v. AT&T Bell Labs., 842 F.2d 1436, 1446 (3rd Cir. 1988)
League of United Latin Amer. Citiz. #4552 v. Roscoe Indep. School Dist. 119 F.3d 1228 (5th Cir. 1997)
Gonter v. Hunt Valve, 510 F.3d 610 (6th Cir. 2007)
Norcross v. Board of Education, 611 F.2d 624 (6th Cir. 1979)
Pickett v. Sheridan Health Care Ctr., 664 F.3d 632 (7th Cir. 2011)
Harper v. City of Chicago Heights, 223 F 3d 593, 604 (7th Cir. 2000)
People Who Care v. Rockford Bd. Of Educ., Sch. Dist. No. 205. 90 F 3d 1307, 1311-13 (7th Cir. 1996)
Pinkham v. Camex Inc., 84 F.3d 292 (8th Cir. 1996)
In re Manoa Finance Co. Inc., 853 F.2d 687 (9th Cir. 1988)
Mayson v. Pierce, 806 F.2d 1556 (11th Cir. 1987)
Christensen v. Stevedore Services of America, No. 03-0302, 2010 WL 2256182 (Ben. Rev. Bd. May 13, 2010)
Don Aguilar v. Zep Inc., Case No. 13-cv-00563-WHO (N.D. Cal. Aug. 15, 2014)
Demarco Nichols v. Ill. Dept. of Transp., No.12-cv-1789 (N.D. Ill. Jan. 10, 2019)
Courthouse News Serv. v. George Schaefer, 484 F. Supp. 3d 273 (E.D. Va. 2020)


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The Jurisprudence of Hourly Rates
The jurisprudence of hourly rates can be seen in statutes and case law. There are a couple reoccurring
phrases that come up time and again in case law:


• Rates in the…“Relevant Community”
• “Prevailing Market Rate(s)”
• Rates…”in the community for similar services by lawyers of comparable skill,
  experience, and reputation.”




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Attorney Fee Award Rate Data vs. Prevailing Market Rate Data

Hourly rate data does not solely come from surveys. Using the lodestar calculation method, everyday across
the U.S., state and federal courts award rates in certain litigation. These court awarded rates are determine by
judges. Some judges rely on hourly rates awarded from prior, similar cases. Who better to award litigation rates
than the tier of fact, with close-proximity to the lawyering of plaintiffs and defense counsel? Indeed, judges can
see the skills, talent, and experience of the litigators up close in court proceedings and court filings. While rate
data from fee awards may be useful, it is not market based.

Courts alone should not be allowed to define ‘prevailing market rates’ in such a way as to define the ‘market’
only in terms of what has been awarded. As stated in Christensen, “Courts that try to establish…[litigation] rates
by looking to the going rate for…[litigation] work therefore do not examine an independently operating market
governed by supply and demand, but rather recast fee awards made by previous courts into ‘market’ rates.
Courts adopting the micro-market approach, therefore, engage in a tautological, self-referential enterprise.” The
market should set prevailing market rates, not courts themselves.

The data in this survey is prevailing market rates. Our data is market based. The data here was provided by a
range of private sector litigators working in the open market. Sitting on the bench, judges are in a position to
evaluate the skills, talent, and experience of the litigators before them. However, that same bench is far from
the open market economy. Our surveys can change that. This survey and its data on prevailing market rates
gives the judiciary access to real-world rates.



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Survey Best Practices

Effective surveys start with best practices. In order to make this a productive hourly rate survey, NALFA
consulted with several resources for survey best practices, including the Pew Research Center’s “Writing
Survey Questions” whitepaper. While all survey questionnaires are different and used to gather different
data, we followed these survey principles:


Keep it Short, Simple, Direct & Neutral
Make Every Question Count
Speak in the Respondents Language
Ask Basic Questions First
Ask Personal Questions Last
Use a Survey Incentive




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Survey Purpose
In this information age, data or analytics is decision making. From investments to sports, data-based
analytics has transformed our economy and permeated all aspects of our society. Indeed, data is power.
With good, actionable data, you can increase your market share or advantage and gain insight and
understanding. Data analytics is essential to the practice of law. With new position titles like price analyst,
data specialist, and practice analytics, law firms recognize the need for metric-based decision making.

This survey is the tool or method to obtain hourly rate data. In litigation, data can be used as evidence in
court or ADR. Our billing rate data is grounded in mathematics and statistics. The purpose of this survey
is to provide the most current, accurate, and reliable hourly rate data of civil litigation in the U.S. From our
meta-data, you can understand the economics of hourly rates in litigation and with more targeted or
focused data, you can make direct comparisons of defense and plaintiff rates among litigators with less
than 10 years of litigation experience. Litigators can use this hourly rate data for two general purposes:

1. Internal – Compare Your Hourly Rate to Your Litigation Peers

2. External – Cite as Evidence to Support or Challenge Hourly Rates in Court / ADR




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Stats 101
You don’t need to be a statistician or data professional to read a chart or graph. But a little brush up on
statistics might be helpful, especially if you’re doing a deep dive on hourly rate data. For this hourly rate
survey, it’s important to know the following terms:


Mean – The average value
Median – The center value
Mode – The most frequent value
Bell Curve - The shape of a graph depicting the normal distribution of data
Quantitative – Refers to numerical-based data / values
Qualitative – Refers to word based (non-numerical) based data / values
Variance / Variation – The difference or gap between two data points or values
Chi-Squared Distribution – Is a family of asymmetrical distribution or spread of data




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Survey Privacy & Work Product Statement

Individual hourly rate data is sensitive and must be protected. No individual names or law
firm names appear in this survey and report. NALFA protects the privacy of all survey
participants. We keep all individual litigator survey responses in strict confidence. No
person or entity other than NALFA has access to the confidential individual responses.

But this survey, report, and the accompanying hourly rate data is all the proprietary work of
NALFA. Consumers of this survey are free to cite and distribute survey totals, results, and
hourly rate data as you see fit. In fact, we anticipate that our hourly rate data will be used by
fee-seeking and fee-challenging litigators in court and ADR proceedings. All we ask of
recipients of this survey, is not to post this survey and report online.




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Famous Quotes on Data
The following are quotes on the importance of data:

“It is a capital mistake to theorize before one has data.” (Conan Doyle)
“Without big data analytics, companies are blind and deaf, wandering out onto the web like deer on the freeway.”
(Geoffrey Moore)
“Errors using inadequate data are much less than those using no data at all.” (Charles Babbage)
“The core advantage of data is that it tells you something about the world that you didn’t know before.” (Hilary Mason)
“Data really powers everything we do.” (Jeff Weiner)
“We are entering a new world in which data may be more important than software.” (Tim O’Reilly)
“Passion provides purpose, but data drives decisions.” (Andy Dunn)
“Data is the most valuable asset in the world.” (Brittany Kaiser)
“Data is what distinguishes the dilettante from the artist.” (George V. Higgins)
“Good policy is grounded in a robust set of facts and data.” (Seth Moulton)
“Numbers Rule the Universe.” (Pythagoras)


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Data Sets / Data Fields
We have organized the hourly rate data into different data sets. They include:


Primary Hourly Rate Variables (First Degree Data)
•   Hourly Rates of All Litigators (Both Defense & Plaintiffs)
•   Hourly Rates of Defense Litigators
•   Hourly Rates of Plaintiffs’ Litigators
•   Hourly Rates in Regular Litigation
•   Hourly Rates in Complex Litigation

Secondary Hourly Rate Variables (Second Degree Data)
• Hourly Rates by City / Geography
• Hourly Rates by Years of Litigation Experience / Seniority
• Hourly Rates by Law Firm / Law Office Size
• Hourly Rates by Position / Title

Other Hourly Rate Variables (Third Degree Data)
• Hourly Rates by Tier System
• Hourly Rates by Career Span of Litigator
• Most Important Factors Determining Hourly Rates
• Frequency of Hourly Rate Increases



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Survey Symbol Key

To understand our charts and graphs, it’s important to know the symbols we use
and what they mean:


# = Number of Responses


% = Percentage / Ratio of Responses




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Survey Questions
This hourly rate survey asked 10 key questions. Each question required a single response. After consulting
with survey design experts, we purposely kept the survey short to increase the participation and response rate.
Each question served to gather key quantitative (non-numerical) and qualitative (numerical) hourly rate data.
The survey questions were carefully sequenced, written in the first-person, and worded in the natural language
used in the litigation sector:

1. I am an active, full-time (≥ 50% of practice devoted to litigation) civil litigator:
      Yes
      No

2. In my litigation practice (i.e. civil, tort, commercial, etc.), I mostly represent:
      Defense
      Plaintiffs

3. As a litigator, I work in a:
     Solo Law Office (1 Atty)
     Law Office (2-11 Attys)
     Small Law Firm (12-49 Attys)
     Mid-Size Law Firm (50-99 Attys)
     Large Law Firm (100+ Attys)

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4. My position / role in my litigation practice is best described as:

      Associate
      Senior Associate
      Partner
      Senior / Managing Partner




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5. I’ve been continuously practicing litigation for:

Less than 2 Years
2-3 Years
4-5 Years
6-7 Years
8-9 Years
10-11 Years
12-13 Years
14-15 Years
16-17 Years
18-19 Years
20-22 Years
23-25 Years
26-28 Years
29-31 Years
32-34 Years
35-37 Years
38-40 Years
41-43 Years
44-46 Years
47+ Years

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6. I practice litigation in:

          Washington, DC
          San Francisco, CA
          New York, NY
          Dallas, TX
          Boston, MA
          Los Angeles, CA
          Chicago, IL
          Houston, TX
          Miami, FL
          Philadelphia, PA
          Atlanta, GA
          San Diego, CA
          Seattle, WA
          Pittsburgh, PA
          Tampa, FL
          Cleveland, OH
          Charlotte, NC
          Minneapolis, MN
          Austin, TX
          Nashville, TN
          Denver, CO
          Phoenix, AZ
          Las Vegas, NV
          New Orleans, LA
          Another U.S. City

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7. My current, regular hourly rate for regular / routine litigation cases falls within:
$250 or Less
$251-$300
$301-$350
$351-$400
$401-$450
$451-$500
$501-$550
$551-$600
$601-$650
$651-$700
$701-$750
$751-$800
$801-$850
$851-$900
$901-$950
$951-$1000
$1001-$1100
$1101-$1200
$1201-$1300
Over $1300
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8. My current, regular hourly rate for complex litigation cases falls within:
$250 or Less
$251-$300
$301-$350
$351-$400
$401-$450
$451-$500
$501-$550
$551-$600
$601-$650
$651-$700
$701-$750
$751-$800
$801-$850
$851-$900
$901-$950
$951-$1000
$1001-$1100
$1101-$1200
$1201-$1300
Over $1300                             Copyright © 2023 NALFA. All Rights Reserved.                    39
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9. As a litigator, the factor that determines my hourly rate the most is:

      Location / Geography
      Years of Experience / Seniority
      Practice Area / Complexity of Case
      Economics / Relationship with Client
      Size of Law Firm / Office


10. On average, I raise my hourly rate:

     Every Year
     Every 2 Years
     Every 3 Years
     Every 4 Years
     Every 5 Years



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What’s New in 2023 Survey?

Hourly rates can change from year to year. Like many economic variables, billing rates are not static. As such, this survey is performed
on a consistent and annual basis. But every year we seek to fine tune our questions to capture new and more accurate billing rate data.
From survey design to data presentation, we work to enhance hourly rate data intelligence. Overall, we’ve added more variables or
categories to our survey questions. In 2023, survey question changes include:


•   In question one, we included the term “active, full-time (≥50% of practice devoted to litigation)”. (see slide 42)
•   In question three, we deleted the option “non-profit organization” from the section.
•   In question four, we added “Senior Associate” as one of the section choice. Here, we expanded 3 choices to 4 choices.
•   In question five, we added several more “years of experience” choices. Here, we expanded 15 choices to 20 choices. (see slide 43)
•   In questions seven and eight, we changed the hourly rate scale. (see slide 44)




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I am “an active, full-time” litigator
Our first survey question is a qualifying one. We want to make sure the attorneys who participate in this survey are
qualified, active and full-time litigators. Our original question, written in the first person, asked: “I am a civil litigator” Yes
or No.
This question leaves open the option for attorneys who mostly handle DUI, eviction, divorce, family law, and other misc.
legal matters, but who only occasionally may file a lawsuit. This is not the population we want to reach. This is a survey
for active, full-time litigators.
We want to hear from attorneys who devote at least half their practice to civil litigation. If we include other attorneys who
only file lawsuits on part-time basis, that may skew the survey data. As such, we changed the question to: “I am an active,
full-time litigator” Yes or No.




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NALFA’s New Career Stages of a Litigator

      2020-2022 NALFA Years of Litigation Experience                               New 2023 NALFA Years of Litigation Expeience
 #    Career Stage Yrs. of Litigation Experience Variance                    #    Career Stage Yrs. of Litigation Experience Variance


 1       Early           Less Than 2 Years                                   1        Early          Less Than 2 Years
                                                                             2        Early              2-3 Years              1
 2       Early               2-3 Years              1
                                                                             3        Early              4-5 Years              1
 3       Early               4-5 Years              1
                                                                             4        Early              6-7 Years              1
 4       Early               6-7 Years              1                        5        Early              8-9 Years              1
 5       Early               8-9 Years              1
                                                                             6     Early Middle         10-11 Years             1
 6       Middle             10-12 Years             2                        7     Early Middle         12-13 Years             1
 7       Middle             13-15 Years             2                        8     Early Middle         14-15 Years             1
 8       Middle             16-18 Years             2                        9     Early Middle         16-17 Years             1
 9       Middle             19-21 Years             2                        10    Early Middle         18-19 Years             1
 10      Middle             22-25 Years             2
                                                                             11      Middle             20-22 Years             2
 11       Late              26-29 Years             3                        12      Middle             23-25 Years             2
                                                                             13      Middle             26-28 Years             2
 12       Late              30-33 Years             3
                                                                             14      Middle             29-31 Years             2
 13       Late              34-37 Years             3
                                                                             15      Middle             32-34 Years             2
 14       Late              38-42 Years             4
 15       Late               43+ Years                                       16       Late              35-37 Years             2
                                                                             17       Late              38-40 Years             2
                                                                             18       Late              41-43 Years             2
                                                                             19       Late              44-46 Years             2
                                                                             20       Late               47+ Years



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NALFA’s New Hourly Rate Tier System
Every few years it’s important to reevaluate our tier rate structure system.


   2020-2022 NALFA Hourly Rate Tier System       2020-2022 Rate Tier System              New 2023 NALFA Hourly Rate Tier System        New 2023 Rate Tier System
 #    Rate Tier   Rate Range        Variance   Tier 1 (Less Than $200-$400)            #   Rate Tier    Rate Range       Variance   Tier 1 ($250 or Less-$450)
                                               Tier 2 ($401-$650)                                                                   Tier 2 ($451-$700)
 1     Tier 1    Less Than $200                                                        1       Tier 1       $250 or Less
                                               Tier 3 ($651-$900)                                                                   Tier 3 ($701-$950)
 2     Tier 1      $200-$250          50                                               2       Tier 1        $251-$300         49
 3     Tier 1      $251-$300          49       Tier 4 ($901-Over $1100)                3       Tier 1        $301-$350         49   Tier 4 ($951-Over $1300)
 4     Tier 1      $301-$350          49                                               4       Tier 1        $351-$400         49
 5     Tier 1      $351-$400          49                                               5       Tier 1        $401-$450         49

 6     Tier 2       $401-$450         49                                               6       Tier 2       $451-$500          49
 7     Tier 2       $451-$500         49                                               7       Tier 2       $501-$550          49
 8     Tier 2       $501-$550         49                                               8       Tier 2       $551-$600          49
 9     Tier 2       $551-$600         49                                               9       Tier 2       $601-$650          49
10     Tier 2       $601-$650         49                                              10       Tier 2       $651-$700          49

11     Tier 3       $651-$700         49                                              11       Tier 3        $701-$750         49
12     Tier 3       $701-$750         49                                              12       Tier 3        $751-$800         49
13     Tier 3       $751-$800         49                                              13       Tier 3        $801-$850         49
14     Tier 3       $801-$850         49                                              14       Tier 3        $851-$900         49
15     Tier 3       $851-$900         49                                              15       Tier 3        $901-$950         49

16     Tier 4       $901-$950         49                                              16       Tier 4       $951-$1000         49
17     Tier 4      $951-$1000         49                                              17       Tier 4       $1001-$1100        99
18     Tier 4      $1001-$1050        49                                              18       Tier 4       $1101-$1200        99
19     Tier 4      $1051-$1100        49                                              19       Tier 4       $1201-$1300        99
20     Tier 4       Over $1100                                                        20       Tier 4        Over $1300



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Survey Stats
Survey Name: The 2023 Litigation Hourly Rate Survey
Survey Start Date: February 13, 2023
Survey End Date: September 22, 2023
Number of Survey Emails: 72
Number of Survey Questions: 10
Number of Survey Variables: 108
Number of Survey Participants: 28,488
Number of Full Survey Reponses from Litigators: 24,817




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Survey Process & Methodology
This hourly rate survey was conducted via electronic mail (e-mail). This survey was conducted through
our email marketing vendor, Constant Contact, Inc. This hourly rate survey started on February 13, 2023
and closed on September 22, 2023. We sent out over 70 email campaigns to our proprietary e-mail
database of over 495,000 attorneys from across the U.S. Our database contained litigators of all types –
both plaintiff and defense counsel, from big law firms to solo shops, from big cities to small towns, and at
all litigation experience levels.

We invited litigators to participate in this hourly rate survey. In order to incentivize them to participate, we
offer all survey respondents the survey results at no cost. In order to prevent duplicate responses, once
litigators participated in the survey, they were removed from our email database. Throughout the 5-
month survey campaign, we carefully tracked the open rate, click rate, participation rate, and response
rate.

The total number of participants in this hourly rate survey was 28,488. Of this, there were 24,817 who
fully completed the survey and were valid litigators. We did not include missing or deficient responses in
our survey totals and results. With 24,817 qualified, full-time litigators answering 10 questions with 108
variables, we had over a million data points and intra-data points to analyze.



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               Survey Totals




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Question No. 1: I am an Active, Full-Time (≥ 50% of practice devoted to litigation) Civil Litigator?



1. I am an active, full-time (≥50% of practice devoted to litigation) civil litigator:                               No. of Responses       Response Ratio

Yes                                                                                                      96.45%                    24,817      96.45%
No                                                                                                        3.54%                       912       3.54%

Totals                                                                                                  100.00%                    25,729      100.00%




      Question No. 1: Our first question was a qualifying question. This question provided us with
      the correct pool of responses from which to work. We did not include data were attorneys
      answered no. We only used the data were attorneys answered in the affirmative.




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  Question No. 2: In my litigation practice (i.e. civil, tort, commercial, etc.), I mostly represent:



2. In my litigation practice (i.e. civil, tort, commerical, etc.), I mostly represent:                              No. of Responses     Response Ratio

Defense                                                                                                   46.33%                11,498      46.33%
Plaintiffs                                                                                                53.66%                13,319      53.66%

Totals                                                                                                   100.00%                24,817      100.00%




 Question No. 2: It’s important to identify the party in litigation. This qualitative question sets the
 litigation party-side: defense or plaintiffs. We only provided 2 possible responses. Knowing that
 many litigators, do both defense and plaintiffs’ work, we made litigators choose a side by using
 the qualifying term mostly.




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    Question No. 3: As a litigator, I work in a:


3. As a litigator, I work in a:                                                                            No. of Responses     Response Ratio

Solo Law Office (1 Attys)                                                                        16.81%                 4,174      16.81%
Law Office (2-11 Attys)                                                                          19.77%                 4,908      19.77%
Small Law Firm (12-49 Attys)                                                                     19.68%                 4,884      19.68%
Mid-Size Law Firm (50-99 Attys)                                                                  21.57%                 5,355      21.57%
Large Law Firm (100+ Attys)                                                                      22.14%                 5,496      22.14%

Totals                                                                                       100.00%                   24,817      100.00%




     Question No. 3: It is important to know the setting in which litigators work. This
     qualitative question asked about the size of litigation practice. We provided 6 possible
     responses. The size of the law practice is the least important factor (if at all) in
     determining hourly rates. Some have suggested that the largest law firms (i.e. NLJ 250)
     have the highest rates. But here correlation doesn’t equal causation. Unfortunately, there
     was not have enough data to provide any rate conclusions for non-profit organizations.



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    Question No. 4: My position / role in my litigation practice is best described as:



4. My position / role in my litigation practice is best described as:                                             No. of Responses     Responase Ratio

Associate                                                                                               24.24%                 6,016       24.24%
Senior Associate                                                                                        25.78%                 6,400       25.78%
Partner                                                                                                 26.11%                 6,482       26.11%
Senior / Managing Partner                                                                               23.85%                 5,919       23.85%

Total                                                                                               100.00%                   24,817      100.00%




    Question No. 4: This question was asked to compliment the years of litigation experience
    question. This question allows only 3 broad responses, instead of the 15 narrow
    responses in the following question.




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    Question No. 5: I’ve been continuously practicing litigation for:
5. I've been continuously practicing litigation for:                                                          No. of Responses     Response Ratio

Less than 2 Years                                                                                     5.28%                1,312       5.28%
2-3 Years                                                                                             4.56%                1,132       4.56%
4-5 Years                                                                                             4.03%                1,002       4.03%
6-7 Years                                                                                             4.54%                1,129       4.54%
8-9 Years                                                                                             4.94%                1,228       4.94%
10-11 Years                                                                                           4.75%                1,179       4.75%
12-13 Years                                                                                           4.11%                1,022       4.11%
14-15 Years                                                                                           4.33%                1,075       4.33%
16-17 Years                                                                                           4.67%                1,159       4.67%
18-19 Years                                                                                           4.77%                1,186       4.77%
20-22 Years                                                                                           5.49%                1,363       5.49%
23-25 Years                                                                                           5.37%                1,333       5.37%
26-28 Years                                                                                           5.93%                1,472       5.93%
29-31 Years                                                                                           5.86%                1,456       5.86%
32-34 Years                                                                                           5.28%                1,312       5.28%
35-37 Years                                                                                           5.25%                1,303       5.25%
38-40 Years                                                                                           5.00%                1,241       5.00%
41-43 Years                                                                                           5.10%                1,266       5.10%
44-46 Years                                                                                           4.87%                1,211       4.87%
47+ Years                                                                                             5.78%                1,436       5.78%

Totals                                                                                            100.00%                 24,817      100.00%

Question No. 5: This quantitative question gets at years of continuous litigation experience.
We provide 15 possible responses that span the career of a litigator.
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     Question No. 6: I practice litigation in:
 6. I practice litigation in:                                                                   No. of Responses     Response Ratio

 Washington, DC                                                                      4.07%                   1,012       4.07%
 San Francisco, CA                                                                   4.21%                   1,045       4.21%
 New York, NY                                                                        4.08%                   1,014       4.08%
 Dallas, TX                                                                          4.06%                   1,009       4.06%
 Boston, MA                                                                          4.25%                   1,056       4.25%
 Los Angeles, CA                                                                     4.35%                   1,081       4.35%
 Chicago, IL                                                                         4.07%                   1,012       4.07%
 Houston, TX                                                                         4.10%                   1,018       4.10%
 Miami, FL                                                                           4.08%                   1,013       4.08%
 Philadelphia, PA                                                                    4.05%                   1,007       4.05%
 Atlanta, GA                                                                         4.33%                   1,075       4.33%
 San Diego, CA                                                                       4.14%                   1,028       4.14%
 Seattle, WA                                                                         3.61%                     898       3.61%
 Pittsburgh, PA                                                                      3.73%                     926       3.73%
 Tampa, FL                                                                           3.67%                     913       3.67%
 Cleveland, OH                                                                       3.40%                     846       3.40%
 Charlotte. NC                                                                       3.73%                     926       3.73%
 Minneapolis, MN                                                                     3.40%                     844       3.40%
 Austin, TX                                                                          3.29%                     818       3.29%
 Nashville, TN                                                                       3.61%                     898       3.61%
 Denver, CO                                                                          3.35%                     832       3.35%
 Phoenix, AZ                                                                         3.57%                     888       3.57%
 Las Vegas, NV                                                                       3.28%                     816       3.28%
 New Orleans, LA                                                                     3.24%                     806       3.24%
 Another U.S. City                                                                   8.20%                   2,036       8.20%

 Totals                                                                            100.00%                  24,817      100.00%
Question No. 6: The old adage that real estate is all about location, location, location also applies to hourly rates. This
qualitative question asks about city / geography. We provide 25 possible responses. We list 24 cities and a response
for “Another U.S. City”. This would include any of the 24 cities not listed.
                                                                                                                                      53
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    Question No. 7: My current, regular hourly rate for regular / routine litigation case falls within:
7. My current, regular hourly rate for regular / routine litigation cases falls within:                            No. of Responses     Response Ratio

$250 or Less                                                                                               0.95%                  237       0.95%
$251-$300                                                                                                  1.97%                  490       1.97%
$301-$350                                                                                                  5.00%                1,242       5.00%
$351-$400                                                                                                  7.02%                1,743       7.02%
$401-$450                                                                                                 11.00%                2,732      11.00%
$451-$500                                                                                                 11.99%                2,976      11.99%
$501-$550                                                                                                 12.99%                3,225      12.99%
$551-$600                                                                                                 10.00%                2,483      10.00%
$601-$650                                                                                                  9.05%                2,247       9.05%
$651-$700                                                                                                  7.97%                1,980       7.97%
$701-$750                                                                                                  4.97%                1,234       4.97%
$751-$800                                                                                                  5.00%                1,243       5.00%
$801-$850                                                                                                  3.06%                  760       3.06%
$851-$900                                                                                                  2.00%                  498       2.00%
$901-$950                                                                                                  1.93%                  481       1.93%
$951-$1000                                                                                                 1.25%                  312       1.25%
$1001-$1100                                                                                                0.87%                  216       0.87%
$1101-$1200                                                                                                0.85%                  211       0.85%
$1201-$1300                                                                                                0.83%                  206       0.83%
Over $1300                                                                                                 1.21%                  301       1.21%

Totals                                                                                               100.00%                   24,817

 Question No. 7: Reasonableness is a range, not an exact number. As such, we present a scale to litigators. This
 quantitative question asks about hourly rate ranges in regular or routine litigation. We provide 20 possible responses.
 The scale goes from $250 or Less to Over $1300. The variance is $49.
                                                                                                                                                         54
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    Question No. 8: My current, regular hourly rate for complex litigation cases falls within:
8. My current, regular hourly rate for complex litigation cases falls within:                                    No. of Responses     Response Ratio

$250 or Less                                                                                            0.85%                   211       0.85%
$251-$300                                                                                               1.06%                   265       1.06%
$301-$350                                                                                               4.93%                 1,224       4.93%
$351-$400                                                                                               8.04%                 1,997       8.04%
$401-$450                                                                                               9.05%                 2,248       9.05%
$451-$500                                                                                              11.00%                 2,732      11.00%
$501-$550                                                                                              15.00%                 3,724      15.00%
$551-$600                                                                                              12.99%                 3,224      12.99%
$601-$650                                                                                               6.95%                 1,727       6.95%
$651-$700                                                                                               5.00%                 1,241       5.00%
$701-$750                                                                                               5.99%                 1,488       5.99%
$751-$800                                                                                               5.05%                 1,254       5.05%
$801-$850                                                                                               4.00%                   995       4.00%
$851-$900                                                                                               2.01%                   499       2.01%
$901-$950                                                                                               1.96%                   487       1.96%
$951-$1000                                                                                              1.87%                   465       1.87%
$1001-$1100                                                                                             1.43%                   355       1.43%
$1101-$1200                                                                                             0.84%                   209       0.84%
$1201-$1300                                                                                             0.81%                   203       0.81%
Over $1300                                                                                              1.08%                   269       1.08%

Totals                                                                                             100.00%                   24,817      100.00%

Question No. 8: Reasonableness is a range, not an exact number. As such, we present the same scale to litigators. This
quantitative question asks about hourly rate ranges in complex litigation. We provide 20 possible responses. The scale
goes from $250 or Less to Over $1300. The variance is $49.
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    Question No. 9: As a litigator, the factor that determines my hourly rate the most is:



9. As a litigator, the factor that determines my hourly rate the most is:                                        No. of Responses     Response Ratio

Location / Geography                                                                                    25.07%                6,222      25.07%
Years of Experience / Seniority                                                                         34.96%                8,677      34.96%
Practice Area / Complexity of Case                                                                      14.96%                3,713      14.96%
Economics / Relationship with Client                                                                    19.99%                4,961      19.99%
Law Practice Size                                                                                        5.01%                1,244       5.01%

Totals                                                                                              100.00%                  24,817      100.00%




Question No. 9: This question get after the most important factor in determining hourly rates for
litigators. We provide 5 potential responses.




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  Question No. 10: On average, I raise my hourly rate:


10. On average, I raise my hourly rate:                                                                    No. of Responses     Response Ratio

Every Year                                                                                       14.95%                 3,712      14.95%
Every 2 Years                                                                                    30.35%                 7,532      30.35%
Every 3 Years                                                                                    25.11%                 6,232      25.11%
Every 4 Years                                                                                    19.65%                 4,878      19.65%
Every 5 Years                                                                                     9.92%                 2,463       9.92%

Totals                                                                                          100.00%                24,817      100.00%




     Question No. 10: This question gets after the frequency of hourly rate increases. We
     provide 5 potential responses.




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Conduct Your Own Hourly Rate Data Analysis

We let the hourly rate data speak for itself. Litigators and others can use this hourly rate
survey to conduct their own rate analysis. Giving you access to the primary data allows
litigators and others to perform their own macro and / or micro legal fee analysis. You can
use the data sets to do your own rate analysis and draw your own actable rate intelligence.
With over 100K data points, you can find:

Approx. Average Hourly Rates by Geography, Experience Level, and Firm Size
Combining Rate Data Points and Rate Data Sets
Percentile Distributions
Use Advanced Analytics Techniques
And much, much more

For people who purchase this survey, NALFA can provide the excel spreadsheets to help you
organize the data as you see fit. This also allows you to create you own charts and graphs.
We also provide a tutorial to help explain the data, show how to conduct rate analysis, and
answer any questions.


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Distribution of Hourly Rate Data
When we plot our hourly rate responses on a graph (x, y axis), we have a general shape distribution model known as
Chi-Squared distribution (goodness of fit). That is, the distribution is not the normal bell-shaped curve. Our model
here starts from a low point, peaks before the midpoint, then declining gradually and finishing with a long tail with an
uptick at the very end. It resembles a whale-shaped type distribution. The vertical axis (y axis) is the percentage of
responses and the horizontal (x axis) corresponds to the 20 rate ranges.

                                                         ALL RATES (REGULAR & COMPLEX LITIGATION) (2023)
                                            16.00%



                                            14.00%



                                            12.00%



                                            10.00%
                           % of Responses




                                             8.00%



                                             6.00%



                                             4.00%



                                             2.00%



                                             0.00%
                                                     1   2   3   4   5   6   7    8   9    10    11     12   13   14   15   16   17   18   19   20
                                                                                          Rate Ranges




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          Macro Rate Data




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                                  HOURLY RATES IN REGULAR LITIGATION (2023)                                                                                         HOURLY RATES IN COMPLEX LITIGATION (2022)
                 14.00%                                                                                                                            16.00%


                                                                                                                                                   14.00%
                 12.00%


                                                                                                                                                   12.00%
                 10.00%

                                                                                                                                                   10.00%




                                                                                                                                  % of Responses
% of Responses




                  8.00%

                                                                                                                                                    8.00%

                  6.00%
                                                                                                                                                    6.00%

                  4.00%
                                                                                                                                                    4.00%


                  2.00%
                                                                                                                                                    2.00%


                  0.00%                                                                                                                             0.00%
                          1   2   3   4   5   6   7   8   9    10    11     12   13   14   15   16     17   18   19   20                                    1   2   3   4   5   6   7   8   9    10    11     12   13   14   15   16   17   18    19   20
                                                              Rate Ranges                                                                                                                       Rate Ranges




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                          Regular Litigation vs. Complex Litigation (2023)
16.00%


14.00%


12.00%


10.00%


 8.00%


 6.00%


 4.00%


 2.00%


 0.00%
         1   2   3    4    5     6    7        8      9        10   11     12    13       14   15   16       17   18   19   20
                                                           Rate Ranges

                                          Regular Litigation        Complex Litigation




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                                          Hourly Rates in Regular Litigation by Tiers (2023)                                                                                                            Hourly Rates in Complex Litigation by Tiers (2023)
                 14.00%                                                                                                                                                        16.00%




                                                                                                                                                                               14.00%
                 12.00%



                                                                                                                                                                               12.00%
                 10.00%


                                                                                                                                                                               10.00%

                  8.00%




                                                                                                                                                              % of Responses
% of Responses




                                                                                                                                                                                8.00%


                  6.00%

                                                                                                                                                                                6.00%


                  4.00%
                                                                                                                                                                                4.00%



                  2.00%
                                                                                                                                                                                2.00%




                  0.00%                                                                                                                                                         0.00%
                          1   2   3   4   5   TIER 1   6   7   8   9   10   TIER 2   11   12   13   14   15   TIER 3   16   17    18   19   20   TIER 4                                 1   2   3   4   5   TIER 1   6   7   8   9   10   TIER 2   11   12   13   14   15   TIER 3   16   17   18   19    20   TIER 4
                                                                            Rate Ranges                                                                                                                                                   Rate Ranges




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                                               Regular vs. Complex Litigation
                                                      by Tiers (2023)
16.00%

14.00%

12.00%

10.00%

 8.00%

 6.00%

 4.00%

 2.00%

 0.00%
         1   2   3   4   5    TIER 1   6   7      8     9      10    TIER 2    11      12     13     14      15   TIER 3   16   17   18   19   20   TIER 4
                                                                      Rate Ranges

                                                       Regular Litgation      Complex Litigation




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                              DEFENSE RATES IN REGULAR LITIGATION (2023)                                                                                      DEFENSE RATES IN COMPLEX LITIGATION (2022)
                 12.00%                                                                                                                          12.00%



                 10.00%                                                                                                                          10.00%



                  8.00%                                                                                                                           8.00%




                                                                                                                                % of Responses
% of Responses




                  6.00%                                                                                                                           6.00%



                  4.00%                                                                                                                           4.00%



                  2.00%                                                                                                                           2.00%



                  0.00%                                                                                                                           0.00%
                          1   2   3   4   5   6   7   8   9    10   11      12   13   14   15   16   17   18   19   20                                    1   2   3   4    5   6   7   8   9    10   11      12   13   14   15   16   17   18   19   20
                                                              Rate Ranges                                                                                                                      Rate Ranges




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                         Defense Rates in Regular vs. Complex Litigation (2023)
12.00%




10.00%




 8.00%




 6.00%




 4.00%




 2.00%




 0.00%
         1   2   3   4     5    6    7        8       9        10   11    12     13       14      15    16       17   18   19   20
                                                           Rate Ranges

                                          Regular Litigation        Complex Litigation



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                                      Defense Rates in Regular Litigation by Tiers (2023)                                                                                                     Defense Rates in Complex Litigation by Tiers (2023)
                 12.00%                                                                                                                                                  12.00%



                                                                                                                                                                         10.00%
                 10.00%


                                                                                                                                                                          8.00%
                  8.00%




                                                                                                                                                        % of Responses
% of Responses




                                                                                                                                                                          6.00%
                  6.00%


                                                                                                                                                                          4.00%
                  4.00%


                                                                                                                                                                          2.00%
                  2.00%


                                                                                                                                                                          0.00%
                  0.00%                                                                                                                                                           1   2   3    4   5   TIER   6   7   8   9   10   TIER   11     12   13   14   15   TIER   16   17   18    19   20   TIER
                          1   2   3   4   5   TIER 1   6   7   8   9   10 TIER 2 11     12   13   14   15 TIER 3 16   17   18   19   20 TIER 4                                                           1                           2                                 3                                4
                                                                          Rate Ranges                                                                                                                                              Rate Ranges




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                                  PLAINTIFFS' RATES IN REGULAR LITIGATION (2023)                                                                                         PLAINTIFFS' RATES IN COMPLEX LITIGATION (2023)
                 12.00%                                                                                                                                 12.00%




                 10.00%                                                                                                                                 10.00%




                  8.00%                                                                                                                                  8.00%
% of Responses




                                                                                                                                       % of Responses
                  6.00%                                                                                                                                  6.00%




                  4.00%                                                                                                                                  4.00%




                  2.00%                                                                                                                                  2.00%




                  0.00%                                                                                                                                  0.00%
                          1   2     3   4   5   6   7   8   9    10    11     12   13   14   15   16   17   18   19   20                                         1   2     3   4   5   6   7   8   9    10    11     12   13   14   15   16   17   18    19   20
                                                                Rate Ranges                                                                                                                            Rate Ranges




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                          Plaintiffs' Rates in Regular vs. Complex Litigation (2023)
12.00%




10.00%




 8.00%




 6.00%




 4.00%




 2.00%




 0.00%
         1   2   3    4    5     6    7      8       9         10   11    12      13     14    15    16   17    18   19   20
                                                           Rate Ranges

                                          Regular Litigation        Complex Litigation




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                                  Plaintiffs' Rates in Regular Litigation by Tiers (2023)                                                                                       Plaintiffs' Rates in Complex Litigation by Tiers (2023)
                 12.00%                                                                                                                                        12.00%




                 10.00%                                                                                                                                        10.00%




                  8.00%                                                                                                                                         8.00%
% of Responses




                                                                                                                                              % of Responses
                  6.00%                                                                                                                                         6.00%




                  4.00%                                                                                                                                         4.00%




                  2.00%                                                                                                                                         2.00%




                  0.00%                                                                                                                                         0.00%
                          1   2   3   4   5   TIER   6   7   8   9   10 TIER   11    12   13   14   15 TIER 16   17   18   19   20 TIER                                 1   2   3   4   5   TIER   6   7   8   9   10   TIER   11     12   13   14   15   TIER   16   17   18   19    20   TIER
                                                1                         2                              3                           4                                                        1                           2                                 3                                4
                                                                       Rate Ranges                                                                                                                                      Rate Ranges




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                                   Defense vs. Plaintiffs' Rate Totals (2023)
12.00%




10.00%




 8.00%




 6.00%




 4.00%




 2.00%




 0.00%
         1   2   3       4    5    6     7      8      9        10   11      12      13    14   15   16       17   18   19   20
                                                            Rate Ranges

                                               Defense Totals        Plaintiffs' Totals




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  Survey Response Data




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                                        Response Rate by City / Geo
                City                 Defense           %            Plaintiff             %         Totals         %
Washington, DC                              432      3.76%                  580         4.35%            1,012   4.08%
San Francisco, CA                           444      3.86%                  601         4.51%            1,045   4.21%
New York, NY                                451      3.92%                  563         4.23%            1,014   4.09%
Dallas, TX                                  466      4.05%                  543         4.08%            1,009   4.07%
Boston, MA                                  447      3.89%                  609         4.57%            1,056   4.26%
Los Angeles, CA                             491      4.27%                  590         4.43%            1,081   4.36%
Chicago, IL                                 475      4.13%                  537         4.03%            1,012   4.08%
Houston, TX                                 433      3.77%                  585         4.39%            1,018   4.10%
Miami, FL                                   407      3.54%                  606         4.55%            1,013   4.08%
Philadelphia, PA                            475      4.13%                  532         3.99%            1,007   4.06%
Atlanta, GA                                 504      4.38%                  571         4.29%            1,075   4.33%
San Diego, CA                               503      4.37%                  525         3.94%            1,028   4.14%
Seattle, WA                                 451      3.92%                  447         3.36%              898   3.62%
Pittsburgh, PA                              480      4.17%                  446         3.35%              926   3.73%
Tampa, FL                                   415      3.61%                  498         3.74%              913   3.68%
Cleveland, OH                               420      3.65%                  426         3.20%              846   3.41%
Charlotte, NC                               433      3.77%                  493         3.70%              926   3.73%
Minneapolis, MN                             411      3.57%                  433         3.25%              844   3.40%
Austin, TX                                  388      3.37%                  430         3.23%              818   3.30%
Nashville, TN                               422      3.67%                  476         3.57%              898   3.62%
Denver, CO                                  396      3.44%                  436         3.27%              832   3.35%
Phoenix, AZ                                 398      3.46%                  490         3.68%              888   3.58%
Las Vegas, NV                               380      3.30%                  436         3.27%              816   3.29%
New Orleans, LA                             395      3.44%                  411         3.09%              806   3.25%
Another U.S. City                           981      8.53%                1,055         7.92%            2,036   8.20%
           Totals                        11,498      100%               13,319         100.0%          24,817    100%


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                                         Response Rate by Position / Title
            Position Title / Role        Defense            %           Plaintiffs            %         Totals          %
1   Associate                                 2,827      24.59%                3,189       23.94%            6,016   24.24%
2   Senior Associate                          3,136      27.27%                3,264       24.51%            6,400   25.79%
3   Partner                                   3,371      29.32%                3,111       23.36%            6,482   26.12%
4   Senior / Manging Partner                  2,164      18.82%                3,755       28.19%            5,919   23.85%
              Totals                         11,498       100%               13,319         100%           24,817     100%




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                                   Response Rate by Years of Litigation Experience
       Years of Litigation Experience    Defense            %           Plaintiffs          %          Totals         %
1    Less Than 2 Years                          637       5.54%                  675      5.07%             1,312   5.29%
2    2-3 Years                                  525       4.57%                  607      4.56%             1,132   4.56%
3    4-5 Years                                  461       4.01%                  541      4.06%             1,002   4.04%
4    6-7 Years                                  500       4.35%                  629      4.72%             1,129   4.55%
5    8-9 Years                                  544       4.73%                  684      5.14%             1,228   4.95%
6    10-11 Years                                568       4.94%                  611      4.59%             1,179   4.75%
7    12-13 Years                                467       4.06%                  555      4.17%             1,022   4.12%
8    14-15 Years                                489       4.25%                  586      4.40%             1,075   4.33%
9    16-17 Years                                521       4.53%                  638      4.79%             1,159   4.67%
10   18-19 Years                                522       4.54%                  664      4.99%             1,186   4.78%
11   20-22 Years                                621       5.40%                  742      5.57%             1,363   5.49%
12   23-25 Years                                649       5.64%                  684      5.14%             1,333   5.37%
13   26-28 Years                                725       6.31%                  747      5.61%             1,472   5.93%
14   29-31 Years                                716       6.23%                  740      5.56%             1,456   5.87%
15   32-34 Years                                611       5.31%                  701      5.26%             1,312   5.29%
16   35-37 Years                                589       5.12%                  714      5.36%             1,303   5.25%
17   38-40 Years                                549       4.77%                  692      5.20%             1,241   5.00%
18   41-43 Years                                600       5.22%                  666      5.00%             1,266   5.10%
19   44-46 Years                                559       4.86%                  652      4.90%             1,211   4.88%
20   47+ Years                                  645       5.61%                  791      5.94%             1,436   5.79%
               Totals                        11,498       100%               13,319       100%            24,817    100%




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                                      Response Rate by Law Firm / Law Office Size
          Law Office/Firm Size             Defense           %           Plaintiffs           %         Totals          %
1   Solo Law Office (1 Atty)                    1,962     17.06%                2,212      16.61%            4,174   16.82%
2   Law Office (2-11 Attys)                     2,404     20.91%                2,504      18.80%            4,908   19.78%
3   Small Law Firm (12-49 Attys)                2,344     20.39%                2,540      19.07%            4,884   19.68%
4   Mid-Size Law Firm (50-99 Attys)             2,785     24.22%                2,570      19.30%            5,355   21.58%
5   Large Law Firm (100+ Attys)                 2,003     17.42%                3,493      26.23%            5,496   22.15%
              Totals                           11,498      100%               13,319        100%           24,817     100%




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                                 Response Rate by Regular & Complex Litigation
Tier              Rate Range          Regular Rate         %        Complex Rate             %         Totals           %
 1     $250 or Less                            237       0.95%               211           0.85%                 448     0.90%
 1     $251-$300                               490       1.97%               265           1.07%                 755     1.52%
 1     $301-$350                             1,242       5.00%             1,224           4.93%               2,466     4.97%
 1     $351-$400                             1,743       7.02%             1,997           8.05%               3,740     7.54%
 1     $401-$450                             2,732      11.01%             2,248           9.06%               4,980    10.03%
           Tier 1 Sub Totals                 6,444      25.97%             5,945          23.96%              12,389    24.96%
 2     $451-$500                             2,976      11.99%             2,732          11.01%               5,708    11.50%
 2     $501-$550                             3,225      13.00%             3,724          15.01%               6,949    14.00%
 2     $551-$600                             2,483      10.01%             3,224          12.99%               5,707    11.50%
 2     $601-$650                             2,247       9.05%             1,727           6.96%               3,974     8.01%
 2     $651-$700                             1,980       7.98%             1,241           5.00%               3,221     6.49%
           Tier 2 Sub Totals                12,911      52.02%           12,648           50.97%              25,559    51.49%
 3     $701-$750                             1,234       4.97%             1,488           6.00%               2,722     5.48%
 3     $751-$800                             1,243       5.01%             1,254           5.05%               2,497     5.03%
 3     $801-$850                               760       3.06%               995           4.01%               1,755     3.54%
 3     $851-$900                               498       2.01%               499           2.01%                 997     2.01%
 3     $901-$950                               481       1.94%               487           1.96%                 968     1.95%
           Tier 3 Sub Totals                 4,216      16.99%             4,723          19.03%               8,939    18.01%
 4     $951-$1000                              312       1.26%               465           1.87%                 777     1.57%
 4     $1001-$1100                             216       0.87%               355           1.43%                 571     1.15%
 4     $1101-$1200                             211       0.85%               209           0.84%                 420     0.85%
 4     $1201-$1300                             206       0.83%               203           0.82%                 409     0.82%
 4     Over $1300                              301       1.21%               269           1.08%                 570     1.15%
           Tier 4 Sub Totals                 1,246       5.02%             1,501           6.05%               2,747     5.53%

                Totals                      24,817       100%               24,817        100%                49,634   100%


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                                                  Response Rate Defense and Plaintiffs' Counsel (Regular & Complex Litigation)
                                                             Defense Counsel                                                             Plaintiffs' Counsel
Tier              Rate Range   Regular Rate        %     Complex Rate     %      Defense Totals       %     Regular Rate       %     Complex Rate        %     Plaintiffs' Totals      %
 1     $250 or Less                     266      2.31%            212   1.84%               478     2.08%            231     1.73%            193      1.45%                  424    1.59%
 1     $251-$300                        379      3.30%            350   3.04%               729     3.17%            391     2.94%            323      2.43%                  714    2.68%
 1     $301-$350                        670      5.83%            661   5.75%             1,331     5.79%            756     5.68%            725      5.44%                1,481    5.56%
 1     $351-$400                        796      6.92%            709   6.17%             1,505     6.54%            941     7.07%            794      5.96%                1,735    6.51%
 1     $401-$450                        992      8.63%            938   8.16%             1,930     8.39%          1,136     8.53%          1,154      8.66%                2,290    8.60%
           Tier 1 Sub Totals          3,103     26.99%         2,870   24.96%             5,973    25.97%         3,455     25.94%          3,189     23.94%                6,644   24.94%
 2     $451-$500                      1,304     11.34%          1,123   9.77%             2,427    10.55%          1,481    11.12%          1,431     10.74%                2,912   10.93%
 2     $501-$550                      1,207     10.50%          1,095   9.52%             2,302    10.01%          1,363    10.23%          1,312      9.85%                2,675   10.04%
 2     $551-$600                      1,085      9.44%          1,077   9.37%             2,162     9.40%          1,274     9.57%          1,173      8.81%                2,447    9.19%
 2     $601-$650                      1,008      8.77%          1,013   8.81%             2,021     8.79%          1,125     8.45%          1,109      8.33%                2,234    8.39%
 2     $651-$700                        917      7.98%            980   8.52%             1,897     8.25%          1,014     7.61%            980      7.36%                1,994    7.49%
           Tier 2 Sub Totals          5,521     48.02%         5,288   45.99%           10,809     47.00%         6,257     46.98%          6,005     45.09%               12,262   46.03%
 3     $701-$750                        569      4.95%            581   5.05%             1,150     5.00%            775     5.82%            890      6.68%                1,665    6.25%
 3     $751-$800                        523      4.55%            545   4.74%             1,068     4.64%            659     4.95%            732      5.50%                1,391    5.22%
 3     $801-$850                        460      4.00%            523   4.55%               983     4.27%            613     4.60%            672      5.05%                1,285    4.82%
 3     $851-$900                        404      3.51%            493   4.29%               897     3.90%            421     3.16%            469      3.52%                  890    3.34%
 3     $901-$950                        341      2.97%            391   3.40%               732     3.18%            331     2.49%            297      2.23%                  628    2.36%
           Tier 3 Sub Totals          2,297     19.98%         2,533   22.03%             4,830    21.00%         2,799     21.02%          3,060     22.97%                5,859   21.99%
 4     $951-$1000                       166      1.44%            231   2.01%               397     1.73%            226     1.70%            338      2.54%                  564    2.12%
 4     $1001-$1100                      121      1.05%            173   1.50%               294     1.28%            195     1.46%            268      2.01%                  463    1.74%
 4     $1101-$1200                      111      0.97%            187   1.63%               298     1.30%            178     1.34%            231      1.73%                  409    1.54%
 4     $1201-$1300                       91      0.79%            111   0.97%               202     0.88%            111     0.83%            128      0.96%                  239    0.90%
 4     Over $1300                        88      0.77%            105   0.91%               193     0.84%             98     0.74%            100      0.75%                  198    0.74%
           Tier 4 Sub Totals            577      5.02%            807   7.02%             1,384    6.02%             808     6.07%          1,065      8.00%                1,873    7.03%

                Totals              11,498       100%          11,498    100%           22,996     100%            13,319   100%           13,319     100%               26,638     100%




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           Micro Rate Data




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          City / Geography




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                                                            Cities by Tier Rate System (2023)


                                                                                                                            8%          7%     8%   6%    7%          4%
      13%         13%                                                     12%    13%     11%                       11%            9%                                        9%
            18%          17%   17%    13%   15%      18%    14%    14%                          14%       16%
25%                                                                                                                                                                   13%
                                                                                                                                                    16%   16%
                                                                                                                                        20%   20%                           15%
                                                                                                                   20%     22%    21%
                                                                          23%            21%
                  29%                                       26%                  25%            24%
      32%                             28%   26%                    28%                                    24%
            30%          30%   30%                   28%
                                                                                                                                                                      44%
                                                                                                                                                    43%   44%               41%
                                                                                                                                        42%   42%
51%                                                                                                                42%     42%    41%
                                                                          40%            42%
                                                            38%                  41%            38%       36%
                                      37%   38%                    37%
                  42%          36%                   38%
      43%   40%          39%


                                                                                                                                                    35%               39%   35%
                                                                                                                                  29%   31%   30%         33%
22%                                                                       25%            26%    24%       24%      28%     28%
                                      20%   21%             22%    21%           21%
                  16%    14%   17%                   16%
      12%   12%
2%




                        Tier 1 ($250 or Less-$450)         Tier 2 ($451-$700)          Tier 3 ($701-$950)                Tier 4 ($951-Over $1300)




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        Position Title / Role




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Associates                                                Case 2:19-cv-00069-CCW                  Document 346-1         Filed 01/09/25                 Page 126 of 162


                                              2023 Rate Data from Associates
                                                                                                                                                                            Associates (All Rates)
                                           Defense                                   Plaintiff                      Totals
     Rate Tier    Rate Range    Regular Rate       Complex Rate      Regular Rate           Complex Rate           All Rates                                           6%                                  Tier 1 ($250 or Less-$450)
                                 #        %         #         %       #          %           #       %         #           %                                                         24%
1     Tier 1     $250 or Less    66     2.33%       66      2.33%     51       1.60%         40     1.25%     223        1.85%                           20%                                               Tier 2 ($451-$700)
2     Tier 1     $251-$300      84      2.97%       84      2.97%    88        2.76%         96     3.01%     352        2.93%
3     Tier 1     $301-$350      113     4.00%      113      4.00%    143       4.48%        151     4.74%     520        4.32%                                                                             Tier 3 ($701-$950)
4     Tier 1     $351-$400      189     6.69%      189      6.69%    191       5.99%        142     4.45%     711        5.91%
                                                                                                                                                                                                           Tier 4 ($951-Over $1300)
5     Tier 1     $401-$450      281     9.94%      281      9.94%    321       10.07%       302     9.47%    1185        9.85%
                                                                                                                                                                        50%
         Sub Totals             733     25.93%     733      25.93%   794       24.90%       731     22.92%   2991       24.86%
6     Tier 2     $451-$500      401     14.18%     401      14.18%   493       15.46%       392     12.29%   1687       14.02%
7     Tier 2     $501-$550      345     12.20%     345      12.20%   375       11.76%       366     11.48%   1431       11.89%
8     Tier 2     $551-$600      295     10.44%     295      10.44%   338       10.60%       316     9.91%    1244       10.34%
9     Tier 2     $601-$650      290     10.26%     290      10.26%   224       7.02%        258     8.09%    1062        8.83%
10    Tier 2     $651-$700      111     3.93%      111      3.93%    130       4.08%        217     6.80%     569        4.73%
         Sub Totals             1442    51.01%     1442     51.01%   1560      48.92%      1549     48.57%   5993       49.81%
11    Tier 3     $701-$750      132     4.67%      132      4.67%    156       4.89%        152     4.77%     572        4.75%                                              ASSOCIATES (ALL RATES)
12    Tier 3     $751-$800      112     3.96%      112      3.96%    143       4.48%        137     4.30%     504        4.19%                        16.00%
13    Tier 3     $801-$850      101     3.57%      101      3.57%    133       4.17%        146     4.58%     481        4.00%                        14.00%
14    Tier 3     $851-$900      105     3.71%      105      3.71%    111       3.48%        137     4.30%     458        3.81%                        12.00%




                                                                                                                                     % of Responses
15    Tier 3     $901-$950       60     2.12%       60      2.12%    101       3.17%        111     3.48%    332         2.76%
                                                                                                                                                      10.00%
         Sub Totals             510     18.04%     510      18.04%   644       20.19%       683     21.42%   2347       19.51%
                                                                                                                                                       8.00%
16    Tier 4     $951-$1000      35     1.24%       35      1.24%     51       1.60%         55     1.72%     176        1.46%
                                                                                                                                                       6.00%
17    Tier 4     $1001-$1100     28     0.99%       28      0.99%     44       1.38%         45     1.41%     145        1.21%
      Tier 4     $1101-$1200     33     1.17%       33      1.17%     32       1.00%         51     1.60%                1.24%                         4.00%
18                                                                                                            149
19    Tier 4     $1201-$1300     28     0.99%       28      0.99%     38       1.19%         44     1.38%     138        1.15%                         2.00%

20    Tier 4     Over $1300      18     0.64%       18      0.64%     26       0.82%         31     0.97%      93        0.77%                         0.00%
         Sub Totals             142     5.02%      142      5.02%    191       5.99%        226     7.09%     701        5.83%                                 1   2    3    4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                                   Rate Ranges

           Totals               2,827   100%       2,827    100%     3,189     100%        3,189     100%    12,032      100%

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                                          2023 Rate Data from Senior Associates
                                                                                                                                                                 Senior Associates (All Rates)
                                            Defense                               Plaintiff                      Totals
      Rate Tier    Rate Range    Regular Rate      Complex Rate      Regular Rate        Complex Rate           All Rates
                                                                                                                                                                11%          16%                    Tier 1 ($250 or Less-$450)
                                  #        %        #       %        #        %           #       %         #           %
 1     Tier 1     $250 or Less    32     1.02%     18      0.57%     12     0.37%         11     0.34%     73         0.57%                                                                         Tier 2 ($451-$700)
 2     Tier 1     $251-$300      50      1.59%     41      1.31%     36     1.10%         29     0.89%     156        1.22%                         25%
 3     Tier 1     $301-$350      98      3.13%     81      2.58%     71     2.18%         68     2.08%     318        2.48%                                                                         Tier 3 ($701-$950)
 4     Tier 1     $351-$400      121     3.86%     97      3.09%     88     2.70%         88     2.70%     394        3.08%
                                                                                                                                                                                                    Tier 4 ($951-Over $1300)
 5     Tier 1     $401-$450      261     8.32%     261     8.32%    313     9.59%        228     6.99%    1063        8.30%                                                  48%
          Sub Totals             562     17.92%    498    15.88%    520     15.93%       424     12.99%   2004       15.66%
 6     Tier 2     $451-$500      380     12.12%    342    10.91%    341     10.45%       381     11.67%   1444       11.28%
 7     Tier 2     $501-$550      327     10.43%    297     9.47%    301     9.22%        278     8.52%    1203        9.40%
 8     Tier 2     $551-$600      313     9.98%     312     9.95%    341     10.45%       313     9.59%    1279        9.99%
 9     Tier 2     $601-$650      316     10.08%    303     9.66%    329     10.08%       314     9.62%    1262        9.86%
 10    Tier 2     $651-$700      202     6.44%     230     7.33%    221     6.77%        245     7.51%     898        7.02%
          Sub Totals             1538    49.04%   1484    47.32%    1533    46.97%      1531     46.91%   6086       47.55%                                     SENIOR ASSOCIATES (ALL RATES)
 11    Tier 3     $701-$750      184     5.87%     176     5.61%    188     5.76%        194     5.94%     742        5.80%
                                                                                                                                                   12.00%
 12    Tier 3     $751-$800      150     4.78%     151     4.82%    168     5.15%        170     5.21%     639        4.99%
 13    Tier 3     $801-$850      144     4.59%     143     4.56%    181     5.55%        180     5.51%     648        5.06%                        10.00%
 14    Tier 3     $851-$900      151     4.82%     171     5.45%    159     4.87%        181     5.55%     662        5.17%




                                                                                                                                  % of Responses
                                                                                                                                                    8.00%
 15    Tier 3     $901-$950      124     3.95%     136     4.34%    154     4.72%        158     4.84%    572         4.47%
          Sub Totals             753     24.01%    777    24.78%    850     26.04%       883     27.05%   3263       25.49%                         6.00%
 16    Tier 4     $951-$1000      67     2.14%     95      3.03%     84     2.57%         95     2.91%     341        2.66%
                                                                                                                                                    4.00%
 17    Tier 4     $1001-$1100     57     1.82%     85      2.71%     67     2.05%         90     2.76%     299        2.34%
 18    Tier 4     $1101-$1200     55     1.75%     65      2.07%     72     2.21%         81     2.48%     273        2.13%                         2.00%
 19    Tier 4     $1201-$1300     61     1.95%     77      2.46%     72     2.21%         86     2.63%     296        2.31%
                                                                                                                                                    0.00%
 20    Tier 4     Over $1300      43     1.37%     55      1.75%     66     2.02%         74     2.27%    238         1.86%                                 1    2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
          Sub Totals             283     9.02%     377    12.02%    361     11.06%       426     13.05%   1447       11.30%                                                                  Rate Ranges


            Totals               3,136   100%     3,136    100%     3,264   100%        3,264     100%    12,800      100%

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Partners                                                 Case 2:19-cv-00069-CCW                 Document 346-1       Filed 01/09/25                 Page 128 of 162
                                                                                                                                                                             Partners (All Rates)
                                               2023 Rate Data from Partners
                                          Defense                                   Plaintiff                    Totals                                                  10%                            Tier 1 ($250 or Less-$450)
                                                                                                                                                               16%
     Rate Tier    Rate Range    Regular Rate       Complex Rate      Regular Rate          Complex Rate         All Rates
                                 #       %          #        %        #         %           #       %       #           %                                                                               Tier 2 ($451-$700)
 1    Tier 1     $250 or Less    7     0.21%        5      0.15%      6       0.19%         8      0.26%    26        0.20%
 2    Tier 1     $251-$300      12     0.36%        9      0.27%      6       0.19%         9      0.29%    36        0.28%                                                           42%               Tier 3 ($701-$950)
                                                                                                                                                     32%
 3    Tier 1     $301-$350      41     1.22%        31     0.92%     12       0.39%         14     0.45%    98        0.76%
 4    Tier 1     $351-$400      74     2.20%        67     1.99%     68       2.19%         55     1.77%   264        2.04%                                                                             Tier 4 ($951-Over $1300)
 5    Tier 1     $401-$450      234    6.94%       223     6.62%     247      7.94%        190     6.11%   894        6.90%
         Sub Totals             368    10.92%      335     9.94%     339      10.90%       276     8.87%   1318      10.17%
 6    Tier 2     $451-$500      318    9.43%       323     9.58%     274      8.81%        265     8.52%   1180       9.10%
 7    Tier 2     $501-$550      316    9.37%       309     9.17%     248      7.97%        247     7.94%   1120       8.64%
 8    Tier 2     $551-$600      296    8.78%       270     8.01%     244      7.84%        255     8.20%   1065       8.22%
 9    Tier 2     $601-$650      309    9.17%       288     8.54%     250      8.04%        248     7.97%   1095       8.45%
10    Tier 2     $651-$700      243    7.21%       258     7.65%     225      7.23%        219     7.04%    945       7.29%
                                                                                                                                                                         PARTNERS (ALL RATES)
         Sub Totals             1482   43.96%      1448    42.95%   1241      39.89%      1234    39.67%   5405      41.69%
      Tier 3     $701-$750      228    6.76%       232     6.88%     215      6.91%        220     7.07%              6.90%                       10.00%
11                                                                                                         895
                                                                                                                                                   9.00%
12    Tier 3     $751-$800      203    6.02%       208     6.17%     216      6.94%        208     6.69%   835        6.44%
                                                                                                                                                   8.00%
13    Tier 3     $801-$850      211    6.26%       211     6.26%     198      6.36%        211     6.78%   831        6.41%
                                                                                                                                                   7.00%




                                                                                                                                 % of Responses
14    Tier 3     $851-$900      204    6.05%       209     6.20%     188      6.04%        201     6.46%   802        6.19%
                                                                                                                                                   6.00%
15    Tier 3     $901-$950      167    4.95%       187     5.55%     183      5.88%        199     6.40%   736        5.68%                        5.00%
         Sub Totals             1013   30.05%      1047    31.06%   1000      32.14%      1039    33.40%   4099      31.62%                        4.00%
16    Tier 4     $951-$1000     120    3.56%       126     3.74%     116      3.73%        119     3.83%   481        3.71%                        3.00%
17    Tier 4     $1001-$1100    108    3.20%       108     3.20%     106      3.41%        112     3.60%   434        3.35%                        2.00%
18    Tier 4     $1101-$1200     88    2.61%       110     3.26%     102      3.28%        116     3.73%   416        3.21%                        1.00%
                                                                                                                                                   0.00%
19    Tier 4     $1201-$1300     99    2.94%        96     2.85%     106      3.41%        113     3.63%   414        3.19%
                                                                                                                                                           1    2    3   4    5   6    7    8   9 10 11 12 13 14 15 16 17 18 19 20
20    Tier 4     Over $1300      93    2.76%       101     3.00%     101      3.25%        102     3.28%   397        3.06%
                                                                                                                                                                                                Rate Ranges
         Sub Totals             508    15.07%      541     16.05%    531      17.07%       562    18.06%   2142      16.52%




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Senior / Managing Partners
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                                                                                                                                                 Senior/ Managing Partners (All Rates)
                                       2023 Rate Data from Senior / Managing Partners
                                              Defense                               Plaintiff                     Totals
                                                                                                                                                                    5%                           Tier 1 ($250 or Less-$450)
      Rate Tier    Rate Range    Regular Rate       Complex Rate      Regular Rate         Complex Rate          All Rates
                                  #         %        #        %        #        %           #       %        #           %                          28%
                                                                                                                                                                                                 Tier 2 ($451-$700)
  1    Tier 1     $250 or Less    3       0.14%      4      0.18%      2      0.05%         1     0.03%     10         0.08%
  2    Tier 1     $251-$300       5       0.23%      6      0.28%      3      0.08%         5     0.13%     19         0.16%
                                                                                                                                                                             38%                 Tier 3 ($701-$950)
  3    Tier 1     $301-$350       8       0.37%      11     0.51%      3      0.08%         4     0.11%     26         0.22%
  4    Tier 1     $351-$400      34       1.57%      24     1.11%      9      0.24%         8     0.21%     75         0.63%                                                                     Tier 4 ($951-Over $1300)
  5    Tier 1     $401-$450      119      5.50%      77     3.56%     167     4.45%        130    3.46%     493        4.16%                                29%
          Sub Totals             169      7.81%     122     5.64%     184    4.90%         148    3.94%     623        5.26%
  6    Tier 2     $451-$500      188      8.69%     172     7.95%     278     7.40%        251    6.68%     889        7.51%
  7    Tier 2     $501-$550      155      7.16%     143     6.61%     245     6.52%        242    6.44%     785        6.63%
  8    Tier 2     $551-$600      161      7.44%     155     7.16%     256     6.82%        244    6.50%     816        6.89%
  9    Tier 2     $601-$650      156      7.21%     150     6.93%     255     6.79%        223    5.94%     784        6.62%
 10    Tier 2     $651-$700      141      6.52%     139     6.42%     244     6.50%        241    6.42%     765        6.46%
          Sub Totals             801      37.01%    759    35.07%    1278    34.03%       1201    31.98%   4039       34.12%                      SENIOR/MANAGING PARTNER (ALL RATES)
 11    Tier 3     $701-$750      158      7.30%     145     6.70%     282     7.51%        290    7.72%     875        7.39%                    8.00%
 12    Tier 3     $751-$800      139      6.42%     157     7.26%     271     7.22%        286    7.62%     853        7.21%                    7.00%
 13    Tier 3     $801-$850      143      6.61%     155     7.16%     269     7.16%        275    7.32%     842        7.11%
                                                                                                                                                6.00%
 14    Tier 3     $851-$900      141      6.52%     155     7.16%     268     7.14%        295    7.86%     859        7.26%




                                                                                                                               % of Responses
                                                                                                                                                5.00%
 15    Tier 3     $901-$950      135      6.24%     150     6.93%     263     7.00%        282    7.51%    830         7.01%
                                                                                                                                                4.00%
          Sub Totals             716      33.09%    762    35.21%    1353    36.03%       1428    38.03%   4259       35.98%
 16    Tier 4     $951-$1000     105      4.85%     110     5.08%     193     5.14%        199    5.30%     607        5.13%                    3.00%

 17    Tier 4     $1001-$1100    98       4.53%     116     5.36%     182     4.85%        190    5.06%     586        4.95%                    2.00%
 18    Tier 4     $1101-$1200    92       4.25%      95     4.39%     191     5.09%        200    5.33%     578        4.88%                    1.00%
 19    Tier 4     $1201-$1300    88       4.07%      99     4.57%     192     5.11%        177    4.71%     556        4.70%                    0.00%
 20    Tier 4     Over $1300     95       4.39%     101     4.67%     182     4.85%        212    5.65%    590         4.98%                            1   2   3   4    5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
          Sub Totals             478      22.09%    521    24.08%     940    25.03%        978    26.05%   2917       24.64%                                                             Rate Ranges


            Totals               2,164     100%    2,164    100%     3,755    100%        3,755   100%     11,838      100%

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                                             Position / Title by Tier Rate System (2023)
   6%                                           11%                                            16%
   20%                                                                                                                                     28%
                                                25%
                                                                                               32%
                                                                                                                                           29%
   50%
                                                48%
                                                                                               42%
                                                                                                                                           38%
   24%
                                                16%                                            10%                                         5%
ASSOCIATES                                SENIOR ASSOCIATES                                  PARTNERS                           SENIOR / MANAGING PARTNERS

             Tier 1 ($250 or Less-$450)            Tier 2 ($451-$700)          Tier 3 ($701-$950)          Tier 4 ($951-Over $1300)




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Years of Litigation Experience / Seniority




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Less Than 2 Years of Litigation       Experience
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                                 2023 Rate Data for Less Than 2 Years of Litigation Experience
                                                    Defense                          Plaintiff                  Totals                             Less Than 2 Yrs Experience (All Rates)
      Rate Tier      Rate Range         Regular Rate    Complex Rate     Regular Rate     Complex Rate         All Rates
                                        #       %        #        %       #      %         #      %        #           %                                  1%           1%
 1     Tier 1     $250 or Less          22    3.45%      17    2.67%     17    2.52%       18    2.67%    74         2.82%                                                                           Tier 1 ($250 or Less-$450)
 2     Tier 1     $251-$300             36    5.65%      38    5.97%     26    3.85%       25    3.70%    125        4.76%
 3     Tier 1     $301-$350             52    8.16%      47    7.38%     38    5.63%       31    4.59%    168        6.40%                                                                           Tier 2 ($451-$700)
 4     Tier 1     $351-$400             75    11.77%     84    13.19%    95    14.07%      97    14.37%   351       13.38%                                                      43%
 5     Tier 1     $401-$450             95    14.91%     80    12.56%   113    16.74%     111    16.44%    399      15.21%                                                                           Tier 3 ($701-$950)
                                                                                                                                                     55%
            Sub Totals                 280    43.96%    266    41.76%   289    42.81%     282    41.78%   1117      42.57%
 6     Tier 2     $451-$500            102    16.01%     88    13.81%   111    16.44%     115    17.04%   416       15.85%
                                                                                                                                                                                                     Tier 4 ($951-Over $1300)
 7     Tier 2     $501-$550             87    13.66%     94    14.76%   103    15.26%      88    13.04%   372       14.18%
 8     Tier 2     $551-$600             74    11.62%     77    12.09%    62    9.19%       76    11.26%   289       11.01%
 9     Tier 2     $601-$650             45    7.06%      66    10.36%    65    9.63%       81    12.00%   257        9.79%
 10    Tier 2     $651-$700             35    5.49%      32    5.02%     31    4.59%       18    2.67%     116       4.42%
            Sub Totals                 343    53.85%    357    56.04%   372    55.11%     378    56.00%   1450      55.26%
 11    Tier 3     $701-$750             5     0.78%      6     0.94%      9    1.33%        9    1.33%    29         1.11%
                                                                                                                                                   LESS THAN 2 YRS EXPERIENCE (ALL RATES)
 12    Tier 3     $751-$800             1     0.16%      2     0.31%      2    0.30%        1    0.15%     6         0.23%
                                                                                                                                                 18.00%
 13    Tier 3     $801-$850             2     0.31%      1     0.16%      1    0.15%        1    0.15%     5         0.19%
                                                                                                                                                 16.00%
 14    Tier 3     $851-$900             1     0.16%      0     0.00%      0    0.00%        1    0.15%     2         0.08%
                                                                                                                                                 14.00%
 15    Tier 3     $901-$950             0     0.00%      2     0.31%      0    0.00%        0    0.00%     2         0.08%




                                                                                                                                % of Responses
                                                                                                                                                 12.00%
            Sub Totals                  9     1.41%      11    1.73%     12    1.78%       12    1.78%    44         1.68%
                                                                                                                                                 10.00%
 16    Tier 4     $951-$1000            3     0.47%      2     0.31%      2    0.30%        2    0.30%     9         0.34%
                                                                                                                                                  8.00%
 17    Tier 4     $1001-$1100           2     0.31%      1     0.16%      0    0.00%        1    0.15%     4         0.15%
                                                                                                                                                  6.00%
 18    Tier 4     $1101-$1200           0     0.00%      0     0.00%      0    0.00%        0    0.00%     0         0.00%
                                                                                                                                                  4.00%
 19    Tier 4     $1201-$1300           0     0.00%      0     0.00%      0    0.00%        0    0.00%     0         0.00%
                                                                                                                                                  2.00%
 20    Tier 4     Over $1300            0     0.00%      0     0.00%      0    0.00%        0    0.00%     0         0.00%
                                                                                                                                                  0.00%
            Sub Totals                  5     0.78%      3     0.47%      2    0.30%        3    0.44%    13         0.50%
                                                                                                                                                          1    2   3    4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                              Rate Ranges
                Totals                 637     100%     637     100%     675    100%      675    100%     2624       100%

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2-3 Years of Litigation Experience
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                                 2023 Rate Data for 2-3 Years of Litigation Experience
                                                                                                                                                       2-3 Years of Experience (All Rates)
                                                Defense                           Plaintiff                  Totals
                                                                                                                                                           4%       1%
     Rate Tier      Rate Range     Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                                                             Tier 1 ($250 or Less-$450)
                                    #       %        #        %       #       %         #      %        #           %
 1    Tier 1     $250 or Less      18     3.43%      15    2.86%     12     1.98%        12   1.98%    57         2.52%                                                                           Tier 2 ($451-$700)
 2    Tier 1     $251-$300         30     5.71%      33    6.29%     26     4.28%        28   4.61%    117        5.17%                                                      41%
 3    Tier 1     $301-$350         31     5.90%      31    5.90%     34     5.60%        47   7.74%    143        6.32%                                                                           Tier 3 ($701-$950)
 4    Tier 1     $351-$400         66    12.57%      61    11.62%    77    12.69%        60   9.88%    264       11.66%                           54%
                                                                                                                                                                                                  Tier 4 ($951-Over $1300)
 5    Tier 1     $401-$450         81    15.43%      71    13.52%    91    14.99%        95   15.65%   338       14.93%
           Sub Totals              226   43.05%     211    40.19%    240   39.54%      242    39.87%   919       40.59%
 6    Tier 2     $451-$500         64    12.19%      70    13.33%    96    15.82%        92   15.16%   322       14.22%
 7    Tier 2     $501-$550         71    13.52%      63    12.00%    75    12.36%        75   12.36%   284       12.54%
 8    Tier 2     $551-$600         51     9.71%      59    11.24%    65    10.71%        63   10.38%   238       10.51%
 9    Tier 2     $601-$650         58    11.05%      60    11.43%    55     9.06%        65   10.71%   238       10.51%
10    Tier 2     $651-$700         45     8.57%      42    8.00%     31     5.11%        21   3.46%     139       6.14%
           Sub Totals              289   55.05%     294    56.00%    322   53.05%      316    52.06%   1221      53.93%                                2-3 YEARS EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750          4     0.76%      7     1.33%     15     2.47%        9    1.48%    35         1.55%
                                                                                                                                              16.00%
12    Tier 3     $751-$800          0     0.00%      1     0.19%      4     0.66%        6    0.99%    11         0.49%
      Tier 3     $801-$850          1     0.19%      3     0.57%      3     0.49%        5    0.82%               0.53%                       14.00%
13                                                                                                     12
14    Tier 3     $851-$900          1     0.19%      3     0.57%      6     0.99%        6    0.99%    16         0.71%                       12.00%




                                                                                                                             % of Responses
15    Tier 3     $901-$950          0     0.00%      2     0.38%      7     1.15%        4    0.66%    13         0.57%                       10.00%
           Sub Totals               6     1.14%      16    3.05%     35     5.77%        30   4.94%    87         3.84%                        8.00%
16    Tier 4     $951-$1000         3     0.57%      2     0.38%      5     0.82%        8    1.32%    18         0.80%                        6.00%
17    Tier 4     $1001-$1100        1     0.19%      1     0.19%      1     0.16%        5    0.82%     8         0.35%                        4.00%
18    Tier 4     $1101-$1200        0     0.00%      0     0.00%      2     0.33%        4    0.66%     6         0.27%
                                                                                                                                               2.00%
19    Tier 4     $1201-$1300        0     0.00%      1     0.19%      2     0.33%        1    0.16%     4         0.18%
                                                                                                                                               0.00%
20    Tier 4     Over $1300         0     0.00%      0     0.00%      0     0.00%        1    0.16%     1         0.04%                                1    2   3    4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               4     0.76%      4     0.76%     10     1.65%        19   3.13%    27         1.19%                                                                    Rate Ranges

               Totals              525    100%      525     100%     607    100%       607    100%     2264       100%

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4-5 Years of Litigation Experience
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                                 2023 Rate Data for 4-5 Years of Litigation Experience
                                                                                                                                                   4-5 Years of Experience (All Rates)
                                                Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range     Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                               3%
                                                                                                                                                           6%                                       Tier 1 ($250 or Less-$450)
                                    #       %        #        %       #       %         #      %        #           %
 1    Tier 1     $250 or Less      20     4.34%      18    3.90%     11     2.03%        9    1.66%    58         2.89%
 2    Tier 1     $251-$300         31     6.72%      24    5.21%     23     4.25%        25   4.62%    103        5.14%
                                                                                                                                                                                                    Tier 2 ($451-$700)
                                                                                                                                                                             39%
 3    Tier 1     $301-$350         32     6.94%      33    7.16%     41     7.58%        38   7.02%    144        7.19%
                                                                                                                                                                                                    Tier 3 ($701-$950)
 4    Tier 1     $351-$400         49    10.63%      41    8.89%     55    10.17%        65   12.01%   210       10.48%
                                                                                                                                                       52%
 5    Tier 1     $401-$450         62    13.45%      59    12.80%    76    14.05%        68   12.57%   265       13.22%                                                                             Tier 4 ($951-Over $1300)
           Sub Totals              194   42.08%     175    37.96%    206   38.08%      205    37.89%   780       38.92%
 6    Tier 2     $451-$500         73    15.84%      67    14.53%    63    11.65%        81   14.97%   284       14.17%
 7    Tier 2     $501-$550         68    14.75%      60    13.02%    54     9.98%        65   12.01%   247       12.33%
 8    Tier 2     $551-$600         58    12.58%      51    11.06%    59    10.91%        47   8.69%    215       10.73%
 9    Tier 2     $601-$650         32     6.94%      48    10.41%    55    10.17%        38   7.02%    173        8.63%
10    Tier 2     $651-$700         23     4.99%      29    6.29%     45     8.32%        34   6.28%     131       6.54%
           Sub Totals              254   55.10%     255    55.31%    276   51.02%      265    48.98%   1050      52.40%
11    Tier 3     $701-$750          3     0.65%      7     1.52%     12     2.22%        13   2.40%    35         1.75%                          4-5 YEARS OF EXPERIENCE (ALL RATES)
12    Tier 3     $751-$800          1     0.22%      5     1.08%     15     2.77%        10   1.85%    31         1.55%                       16.00%
13    Tier 3     $801-$850          3     0.65%      2     0.43%      6     1.11%        6    1.11%    17         0.85%                       14.00%
14    Tier 3     $851-$900          1     0.22%      5     1.08%      2     0.37%        9    1.66%    17         0.85%                       12.00%




                                                                                                                             % of Responses
15    Tier 3     $901-$950          1     0.22%      4     0.87%      3     0.55%        5    0.92%    13         0.65%
                                                                                                                                              10.00%
           Sub Totals               9     1.95%      23    4.99%     38     7.02%        43   7.95%    113        5.64%
                                                                                                                                               8.00%
16    Tier 4     $951-$1000         2     0.43%      2     0.43%      8     1.48%        11   2.03%    23         1.15%
                                                                                                                                               6.00%
17    Tier 4     $1001-$1100        1     0.22%      2     0.43%      4     0.74%        4    0.74%    11         0.55%
      Tier 4     $1101-$1200        0     0.00%      1     0.22%      4     0.74%        3    0.55%               0.40%                        4.00%
18                                                                                                      8
19    Tier 4     $1201-$1300        1     0.22%      2     0.43%      3     0.55%        7    1.29%    13         0.65%                        2.00%

20    Tier 4     Over $1300         0     0.00%      1     0.22%      2     0.37%        3    0.55%     6         0.30%                        0.00%
           Sub Totals               4     0.87%      8     1.74%     21     3.88%        28   5.18%    61         3.04%                                1    2   3    4   5   6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                           Rate Ranges

               Totals              461    100%      461     100%     541    100%       541    100%     2004       100%

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6-7 Years of Litigation Experience
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                                 2023 Rate Data for 6-7 Years of Litigation Experience                                                             6-7 Years of Expereince (All Rates)
                                                Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range     Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                           4%
                                    #       %        #        %       #       %         #      %        #           %                             7%                                              Tier 1 ($250 or Less-$450)
 1    Tier 1     $250 or Less      15     3.00%      11    2.20%     13     2.07%        12   1.91%    51         2.26%
                                                                                                                                                                                                  Tier 2 ($451-$700)
 2    Tier 1     $251-$300         23     4.60%      21    4.20%     21     3.34%        28   4.45%    93         4.12%                                                      37%
 3    Tier 1     $301-$350         36     7.20%      31    6.20%     25     3.97%        33   5.25%    125        5.54%
                                                                                                                                                                                                  Tier 3 ($701-$950)
 4    Tier 1     $351-$400         59    11.80%      43    8.60%     71    11.29%        70   11.13%   243       10.76%
 5    Tier 1     $401-$450         72    14.40%      74    14.80%    96    15.26%        81   12.88%   323       14.30%                               52%                                         Tier 4 ($951-Over $1300)
           Sub Totals              205   41.00%     180    36.00%    226   35.93%      224    35.61%   835       36.98%
 6    Tier 2     $451-$500         66    13.20%      68    13.60%    85    13.51%        75   11.92%   294       13.02%
 7    Tier 2     $501-$550         61    12.20%      70    14.00%    73    11.61%        60   9.54%    264       11.69%
 8    Tier 2     $551-$600         55    11.00%      49    9.80%     61     9.70%        64   10.17%   229       10.14%
 9    Tier 2     $601-$650         57    11.40%      51    10.20%    69    10.97%        71   11.29%   248       10.98%
10    Tier 2     $651-$700         36     7.20%      32    6.40%     39     6.20%        32   5.09%     139       6.16%
           Sub Totals              275   55.00%     270    54.00%    327   51.99%      302    48.01%   1174      51.99%                         6-7 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750          2     0.40%      11    2.20%     19     3.02%        16   2.54%    48         2.13%
                                                                                                                                             16.00%
12    Tier 3     $751-$800          2     0.40%      6     1.20%     18     2.86%        8    1.27%    34         1.51%
                                                                                                                                             14.00%
13    Tier 3     $801-$850          4     0.80%      8     1.60%     11     1.75%        11   1.75%    34         1.51%
14    Tier 3     $851-$900          2     0.40%      4     0.80%      4     0.64%        11   1.75%    21         0.93%                      12.00%




                                                                                                                            % of Responses
15    Tier 3     $901-$950          2     0.40%      5     1.00%      5     0.79%        9    1.43%    21         0.93%                      10.00%
           Sub Totals              12     2.40%      34    6.80%     57     9.06%        55   8.74%    158        7.00%                       8.00%
16    Tier 4     $951-$1000         2     0.40%      5     1.00%      6     0.95%        17   2.70%    30         1.33%                       6.00%
17    Tier 4     $1001-$1100        1     0.20%      3     0.60%      1     0.16%        12   1.91%    17         0.75%                       4.00%
18    Tier 4     $1101-$1200        2     0.40%      2     0.40%      5     0.79%        10   1.59%    19         0.84%
                                                                                                                                              2.00%
19    Tier 4     $1201-$1300        1     0.20%      3     0.60%      4     0.64%        4    0.64%    12         0.53%
                                                                                                                                              0.00%
20    Tier 4     Over $1300         2     0.40%      3     0.60%      3     0.48%        5    0.79%    13         0.58%                               1     2   3    4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               8     1.60%      16    3.20%     19     3.02%        48   7.63%    91         4.03%                                                                    Rate Ranges


               Totals              500    100%      500     100%     629    100%       629    100%     2258       100%

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8-9 Years of Litigation Experience
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                                                                                                                                                   8-9 Years of Experience (All Rates)
                                 2023 Rate Data for 8-9 Years of Litigation Experience
                                                Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range     Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                            7%
                                                                                                                                                                                                    Tier 1 ($250 or Less-$450)
                                    #       %        #        %       #       %         #      %        #           %
1     Tier 1     $250 or Less      11     2.02%      12    2.21%     15     2.19%        11   1.61%    49         2.00%                            9%                                               Tier 2 ($451-$700)
                                                                                                                                                                              35%
2     Tier 1     $251-$300         16     2.94%      17    3.13%     17     2.49%        13   1.90%    63         2.57%
3     Tier 1     $301-$350         35     6.43%      29    5.33%     31     4.53%        38   5.56%    133        5.42%                                                                             Tier 3 ($701-$950)
4     Tier 1     $351-$400         63    11.58%      56    10.29%    75    10.96%        65   9.50%    259       10.55%
                                                                                                                                                                                                    Tier 4 ($951-Over $1300)
5     Tier 1     $401-$450         93    17.10%      71    13.05%    94    13.74%        92   13.45%   350       14.25%                                    49%
           Sub Totals              218   40.07%     185    34.01%    232   33.92%      219    32.02%   854       34.77%
6     Tier 2     $451-$500         79    14.52%      69    12.68%    88    12.87%      111    16.23%   347       14.13%
7     Tier 2     $501-$550         58    10.66%      68    12.50%    78    11.40%        96   14.04%   300       12.21%
8     Tier 2     $551-$600         58    10.66%      62    11.40%    44     6.43%        71   10.38%   235        9.57%
9     Tier 2     $601-$650         62    11.40%      46    8.46%     62     9.06%        31   4.53%    201        8.18%
10    Tier 2     $651-$700         31     5.70%      32    5.88%     39     5.70%        19   2.78%     121       4.93%
           Sub Totals              288   52.94%     277    50.92%    311   45.47%      328    47.95%   1204      49.02%                          8-9 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750          9     1.65%      15    2.76%     32     4.68%        22   3.22%    78         3.18%
                                                                                                                                              16.00%
12    Tier 3     $751-$800          5     0.92%      11    2.02%     16     2.34%        13   1.90%    45         1.83%
                                                                                                                                              14.00%
13    Tier 3     $801-$850          4     0.74%      9     1.65%     12     1.75%        17   2.49%    42         1.71%
14    Tier 3     $851-$900          1     0.18%      11    2.02%     12     1.75%        12   1.75%    36         1.47%                       12.00%




                                                                                                                             % of Responses
15    Tier 3     $901-$950          3     0.55%      8     1.47%     10     1.46%        11   1.61%    32         1.30%                       10.00%
           Sub Totals              22     4.04%      54    9.93%     82    11.99%        75   10.96%   233        9.49%                        8.00%
16    Tier 4     $951-$1000         5     0.92%      7     1.29%     17     2.49%        14   2.05%    43         1.75%                        6.00%
17    Tier 4     $1001-$1100        3     0.55%      4     0.74%     13     1.90%        12   1.75%    32         1.30%                        4.00%
18    Tier 4     $1101-$1200        4     0.74%      6     1.10%     12     1.75%        15   2.19%    37         1.51%
                                                                                                                                               2.00%
19    Tier 4     $1201-$1300        2     0.37%      5     0.92%     12     1.75%        12   1.75%    31         1.26%
                                                                                                                                               0.00%
20    Tier 4     Over $1300         2     0.37%      6     1.10%      5     0.73%        9    1.32%    22         0.90%                                1    2     3   4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals              16     2.94%      28    5.15%     59     8.63%        62   9.06%    165        6.72%                                                                     Rate Ranges


               Totals              544    100%      544     100%     684    100%       684    100%     2456       100%

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10-11 Years of Litigation  Experience
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                                                                                                                                                10-11 Years of Experience (All Rates)
                                  2023 Rate Data for 10-11 Years of Litigation Experience
                                                  Defense                           Plaintiff                  Totals
      Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                       8%                                Tier 1 ($250 or Less-$450)
                                      #       %        #       %        #       %         #      %        #           %
       Tier 1     $250 or Less        9     1.58%      9     1.58%     14    2.29%         9    1.47%               1.74%                        12%                                            Tier 2 ($451-$700)
 1                                                                                                       41
                                                                                                                                                                           33%
 2     Tier 1     $251-$300           15    2.64%      16    2.82%     22    3.60%        8     1.31%    61         2.59%
                                                                                                                                                                                                Tier 3 ($701-$950)
 3     Tier 1     $301-$350           50    8.80%      38    6.69%     33    5.40%        22    3.60%    143        6.06%
 4     Tier 1     $351-$400           67   11.80%      53    9.33%     54    8.84%        68    11.13%   242       10.26%                                                                       Tier 4 ($951-Over $1300)
 5     Tier 1     $401-$450           75   13.20%      71    12.50%    66    10.80%       76    12.44%   288       12.21%                                 47%
            Sub Totals               216   38.03%     187    32.92%   189    30.93%      183    29.95%   775       32.87%
 6     Tier 2     $451-$500           67   11.80%      71    12.50%    64    10.47%       75    12.27%   277       11.75%
 7     Tier 2     $501-$550           51    8.98%      51    8.98%     67    10.97%       58    9.49%    227        9.63%
 8     Tier 2     $551-$600           59   10.39%      51    8.98%     61    9.98%        69    11.29%   240       10.18%
 9     Tier 2     $601-$650           61   10.74%      44    7.75%     56    9.17%        40    6.55%    201        8.52%
 10    Tier 2     $651-$700           52    9.15%      39    6.87%     33    5.40%        33    5.40%     157       6.66%
            Sub Totals               290   51.06%     256    45.07%   281    45.99%      275    45.01%   1102      46.73%                       10-11 YEARS OF EXPERIENCE (ALL RATES)
 11    Tier 3     $701-$750           12    2.11%      22    3.87%     28    4.58%        31    5.07%    93         3.94%                    14.00%
 12    Tier 3     $751-$800           6     1.06%      17    2.99%     18    2.95%        14    2.29%    55         2.33%                    12.00%
 13    Tier 3     $801-$850           4     0.70%      11    1.94%     12    1.96%        10    1.64%    37         1.57%
                                                                                                                                             10.00%
       Tier 3     $851-$900           7     1.23%      17    2.99%     20    3.27%        13    2.13%               2.42%




                                                                                                                            % of Responses
 14                                                                                                      57
 15    Tier 3     $901-$950           5     0.88%      18    3.17%     14    2.29%        11    1.80%    48         2.04%                     8.00%
            Sub Totals                34    5.99%      85    14.96%    92    15.06%       79    12.93%   290       12.30%                     6.00%
 16    Tier 4     $951-$1000          7     1.23%      11    1.94%     13    2.13%        22    3.60%    53         2.25%
                                                                                                                                              4.00%
 17    Tier 4     $1001-$1100         6     1.06%      8     1.41%     10    1.64%        17    2.78%    41         1.74%
       Tier 4     $1101-$1200         4     0.70%      8     1.41%      9    1.47%        15    2.45%               1.53%                     2.00%
 18                                                                                                      36
 19    Tier 4     $1201-$1300         6     1.06%      6     1.06%      9    1.47%         9    1.47%    30         1.27%                     0.00%
 20    Tier 4     Over $1300          5     0.88%      7     1.23%      8    1.31%        11    1.80%    31         1.31%                             1   2   3    4   5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
            Sub Totals                28    4.93%      40    7.04%     49    8.02%        74    12.11%   191        8.10%                                                                Rate Ranges


                Totals               568    100%      568     100%     611    100%       611    100%     2358       100%

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12-13 Years of Litigation  Experience
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                                                                                                                                                  12-13 Years of Experience (All Rates)
                                 2023 Rate Data for 12-13 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                                                         Tier 1 ($250 or Less-$450)
                                     #       %        #       %        #       %         #      %        #           %                                      10%
 1    Tier 1     $250 or Less        8     1.71%      8     1.71%      8    1.44%         7    1.26%    31         1.52%                                                31%                    Tier 2 ($451-$700)
                                                                                                                                                   15%
 2    Tier 1     $251-$300           9     1.93%      12    2.57%     12    2.16%        6     1.08%    39         1.91%
 3    Tier 1     $301-$350           23    4.93%      18    3.85%     23    4.14%        23    4.14%    87         4.26%                                                                       Tier 3 ($701-$950)
 4    Tier 1     $351-$400           55   11.78%      46    9.85%     56    10.09%       56    10.09%   213       10.42%
 5    Tier 1     $401-$450           78   16.70%      56    11.99%    79    14.23%       47    8.47%    260       12.72%                                                                       Tier 4 ($951-Over $1300)
                                                                                                                                                            44%
           Sub Totals               173   37.04%     140    29.98%   178    32.07%      139    25.05%   630       30.82%
 6    Tier 2     $451-$500           73   15.63%      55    11.78%    67    12.07%       50    9.01%    245       11.99%
 7    Tier 2     $501-$550           58   12.42%      39    8.35%     39    7.03%        56    10.09%   192        9.39%
 8    Tier 2     $551-$600           55   11.78%      44    9.42%     45    8.11%        48    8.65%    192        9.39%
 9    Tier 2     $601-$650           18    3.85%      35    7.49%     29    5.23%        51    9.19%    133        6.51%
10    Tier 2     $651-$700           20    4.28%      32    6.85%     31    5.59%        45    8.11%    128        6.26%
           Sub Totals               224   47.97%     205    43.90%   211    38.02%      250    45.05%   890       43.54%                          12-13 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           6     1.28%      18    3.85%     36    6.49%        33    5.95%    93         4.55%                       14.00%
12    Tier 3     $751-$800           7     1.50%      16    3.43%     21    3.78%        14    2.52%    58         2.84%
                                                                                                                                               12.00%
13    Tier 3     $801-$850           12    2.57%      18    3.85%     33    5.95%        11    1.98%    74         3.62%
14    Tier 3     $851-$900           7     1.50%      16    3.43%     10    1.80%        17    3.06%    50         2.45%                       10.00%




                                                                                                                              % of Responses
15    Tier 3     $901-$950           5     1.07%      11    2.36%     11    1.98%        10    1.80%    37         1.81%                        8.00%
           Sub Totals                37    7.92%      79    16.92%    111   20.00%       85    15.32%   312       15.26%
                                                                                                                                                6.00%
16    Tier 4     $951-$1000          10    2.14%      6     1.28%     12    2.16%        17    3.06%    45         2.20%
                                                                                                                                                4.00%
17    Tier 4     $1001-$1100         5     1.07%      10    2.14%     10    1.80%        16    2.88%    41         2.01%
18    Tier 4     $1101-$1200         7     1.50%      11    2.36%     15    2.70%        21    3.78%    54         2.64%                        2.00%
19    Tier 4     $1201-$1300         4     0.86%      9     1.93%     10    1.80%        18    3.24%    41         2.01%                        0.00%
20    Tier 4     Over $1300          7     1.50%      7     1.50%      8    1.44%         9    1.62%    31         1.52%                                1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals                33    7.07%      43    9.21%     55    9.91%        81    14.59%   212       10.37%                                                                Rate Ranges


               Totals               467    100%      467     100%     555    100%       555    100%     2044       100%
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14-15 Years of Litigation  Experience
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                                 2023 Rate Data for 14-15 Years of Litigation Experience
                                                                                                                                                  14-15 Years of Experience (All Rates)
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                                                          Tier 1 ($250 or Less-$450)
 1    Tier 1     $250 or Less        6     1.23%      4     0.82%      4    0.68%         5    0.85%    19         0.88%                                    12%
                                                                                                                                                                        29%                     Tier 2 ($451-$700)
 2    Tier 1     $251-$300           10    2.04%      9     1.84%      8    1.37%        7     1.19%    34         1.58%
                                                                                                                                                    18%
 3    Tier 1     $301-$350           19    3.89%      22    4.50%     10    1.71%        15    2.56%    66         3.07%
                                                                                                                                                                                                Tier 3 ($701-$950)
 4    Tier 1     $351-$400           65   13.29%      51    10.43%    77    13.14%       44    7.51%    237       11.02%
 5    Tier 1     $401-$450           71   14.52%      66    13.50%    71    12.12%       70    11.95%   278       12.93%                                                                        Tier 4 ($951-Over $1300)
           Sub Totals               171   34.97%     152    31.08%   170    29.01%      141    24.06%   634       29.49%                                        41%
 6    Tier 2     $451-$500           55   11.25%      44    9.00%     45    7.68%        58    9.90%    202        9.40%
 7    Tier 2     $501-$550           58   11.86%      39    7.98%     51    8.70%        51    8.70%    199        9.26%
 8    Tier 2     $551-$600           61   12.47%      48    9.82%     42    7.17%        46    7.85%    197        9.16%
 9    Tier 2     $601-$650           35    7.16%      41    8.38%     38    6.48%        53    9.04%    167        7.77%
10    Tier 2     $651-$700           16    3.27%      24    4.91%     35    5.97%        36    6.14%    111        5.16%
           Sub Totals               225   46.01%     196    40.08%   211    36.01%      244    41.64%   876       40.74%
                                                                                                                                                  14-15 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           15    3.07%      28    5.73%     31    5.29%        28    4.78%    102        4.74%
                                                                                                                                               14.00%
12    Tier 3     $751-$800           14    2.86%      12    2.45%     27    4.61%        22    3.75%    75         3.49%
13    Tier 3     $801-$850           7     1.43%      18    3.68%     32    5.46%        23    3.92%    80         3.72%                       12.00%
14    Tier 3     $851-$900           4     0.82%      11    2.25%     26    4.44%        21    3.58%    62         2.88%                       10.00%




                                                                                                                              % of Responses
15    Tier 3     $901-$950           9     1.84%      19    3.89%     19    3.24%        23    3.92%    70         3.26%
                                                                                                                                                8.00%
           Sub Totals                49   10.02%      88    18.00%    135   23.04%      117    19.97%   389       18.09%
16    Tier 4     $951-$1000          9     1.84%      14    2.86%     17    2.90%        20    3.41%    60         2.79%                        6.00%

17    Tier 4     $1001-$1100         9     1.84%      11    2.25%     14    2.39%        17    2.90%    51         2.37%                        4.00%
18    Tier 4     $1101-$1200         8     1.64%      10    2.04%     11    1.88%        18    3.07%    47         2.19%
                                                                                                                                                2.00%
19    Tier 4     $1201-$1300         9     1.84%      9     1.84%     14    2.39%        17    2.90%    49         2.28%
      Tier 4     Over $1300          9     1.84%      9     1.84%     14    2.39%        12    2.05%               2.05%                        0.00%
20                                                                                                      44
                                                                                                                                                        1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals                44    9.00%      53    10.84%    70    11.95%       84    14.33%   251       11.67%
                                                                                                                                                                                        Rate Ranges

               Totals               489    100%      489     100%     586    100%       586    100%     2150       100%

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16-17 Years of Litigation  Experience
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                                 2023 Rate Data for 16-17 Years of Litigation Experience
                                                                                                                                                  16-17 Years of Experience (All Rates)
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                                                            Tier 1 ($250 or Less-$450)
                                                                                                                                                            13%
1     Tier 1     $250 or Less        2     0.38%      2     0.38%      2    0.31%         3    0.47%     9         0.39%                                                  27%                     Tier 2 ($451-$700)
2     Tier 1     $251-$300           3     0.58%      5     0.96%      3    0.47%        6     0.94%    17         0.73%
                                                                                                                                                    20%                                           Tier 3 ($701-$950)
3     Tier 1     $301-$350           14    2.69%      11    2.11%      6    0.94%        11    1.72%    42         1.81%
4     Tier 1     $351-$400           62   11.90%      51    9.79%     79    12.38%       55    8.62%    247       10.66%
      Tier 1     $401-$450           89   17.08%      71    13.63%    87    13.64%       65    10.19%             13.46%
                                                                                                                                                                                                  Tier 4 ($951-Over $1300)
5                                                                                                       312
                                                                                                                                                                    40%
           Sub Totals               170   32.63%     140    26.87%   177    27.74%      140    21.94%   627       27.05%
6     Tier 2     $451-$500           61   11.71%      60    11.52%    67    10.50%       54    8.46%    242       10.44%
7     Tier 2     $501-$550           55   10.56%      41    7.87%     49    7.68%        47    7.37%    192        8.28%
8     Tier 2     $551-$600           41    7.87%      52    9.98%     43    6.74%        50    7.84%    186        8.02%
9     Tier 2     $601-$650           57   10.94%      35    6.72%     28    4.39%        49    7.68%    169        7.29%
10    Tier 2     $651-$700           20    3.84%      31    5.95%     30    4.70%        42    6.58%    123        5.31%
           Sub Totals               234   44.91%     219    42.03%   217    34.01%      242    37.93%   912       39.34%
                                                                                                                                                  16-17 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           16    3.07%      25    4.80%     26    4.08%        44    6.90%    111        4.79%
                                                                                                                                               16.00%
12    Tier 3     $751-$800           11    2.11%      17    3.26%     32    5.02%        31    4.86%    91         3.93%
13    Tier 3     $801-$850           13    2.50%      18    3.45%     29    4.55%        29    4.55%    89         3.84%                       14.00%

14    Tier 3     $851-$900           12    2.30%      20    3.84%     31    4.86%        26    4.08%    89         3.84%                       12.00%




                                                                                                                              % of Responses
15    Tier 3     $901-$950           11    2.11%      19    3.65%     35    5.49%        25    3.92%    90         3.88%                       10.00%
           Sub Totals                63   12.09%      99    19.00%    153   23.98%      155    24.29%   470       20.28%                        8.00%
16    Tier 4     $951-$1000          13    2.50%      12    2.30%     22    3.45%        29    4.55%    76         3.28%                        6.00%
17    Tier 4     $1001-$1100         11    2.11%      13    2.50%     18    2.82%        18    2.82%    60         2.59%
                                                                                                                                                4.00%
18    Tier 4     $1101-$1200         9     1.73%      14    2.69%     17    2.66%        22    3.45%    62         2.67%
                                                                                                                                                2.00%
19    Tier 4     $1201-$1300         11    2.11%      13    2.50%     18    2.82%        15    2.35%    57         2.46%
      Tier 4     Over $1300          10    1.92%      11    2.11%     16    2.51%        17    2.66%               2.33%                        0.00%
20                                                                                                      54
                                                                                                                                                        1   2   3   4     5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals                54   10.36%      63    12.09%    91    14.26%      101    15.83%   309       13.33%
                                                                                                                                                                                          Rate Ranges

               Totals               521    100%      521     100%     638    100%       638    100%     2318       100%

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18-19 Years of Litigation  Experience
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                                 2023 Rate Data for 18-19 Years of Litigation Experience                                                          18-19 Years of Experience (All Rates)
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                                                              Tier 1 ($250 or Less-$450)
 1    Tier 1     $250 or Less        1     0.19%      1     0.19%      1    0.15%         0    0.00%     3         0.13%                                    15%
                                                                                                                                                                          24%
 2    Tier 1     $251-$300           4     0.77%      3     0.57%      2    0.30%        2     0.30%    11         0.46%                                                                            Tier 2 ($451-$700)
 3    Tier 1     $301-$350           5     0.96%      7     1.34%      5    0.75%        9     1.36%    26         1.10%
                                                                                                                                                   22%                                              Tier 3 ($701-$950)
 4    Tier 1     $351-$400           64   12.26%      43    8.24%     63    9.49%        47    7.08%    217        9.15%
 5    Tier 1     $401-$450           81   15.52%      76    14.56%    87    13.10%       74    11.14%   318       13.41%
                                                                                                                                                                      39%                           Tier 4 ($951-Over $1300)
           Sub Totals               155   29.69%     130    24.90%   158    23.80%      132    19.88%   575       24.24%
 6    Tier 2     $451-$500           56   10.73%      55    10.54%    62    9.34%        55    8.28%    228        9.61%
 7    Tier 2     $501-$550           58   11.11%      49    9.39%     46    6.93%        51    7.68%    204        8.60%
 8    Tier 2     $551-$600           40    7.66%      45    8.62%     51    7.68%        50    7.53%    186        7.84%
 9    Tier 2     $601-$650           39    7.47%      43    8.24%     47    7.08%        51    7.68%    180        7.59%
10    Tier 2     $651-$700           32    6.13%      22    4.21%     34    5.12%        45    6.78%    133        5.61%
           Sub Totals               225   43.10%     214    41.00%   240    36.14%      252    37.95%   931       39.25%
11    Tier 3     $701-$750           24    4.60%      26    4.98%     40    6.02%        39    5.87%    129        5.44%                          18-19 YEARS OF EXPERIENCE (ALL RATES)
12    Tier 3     $751-$800           15    2.87%      20    3.83%     35    5.27%        35    5.27%    105        4.43%                       16.00%
13    Tier 3     $801-$850           13    2.49%      23    4.41%     31    4.67%        33    4.97%    100        4.22%                       14.00%
14    Tier 3     $851-$900           15    2.87%      19    3.64%     35    5.27%        35    5.27%    104        4.38%                       12.00%
15    Tier 3     $901-$950           11    2.11%      17    3.26%     25    3.77%        31    4.67%    84         3.54%




                                                                                                                              % of Responses
                                                                                                                                               10.00%
           Sub Totals                78   14.94%     105    20.11%    166   25.00%      173    26.05%   522       22.01%
                                                                                                                                                8.00%
16    Tier 4     $951-$1000          13    2.49%      18    3.45%     27    4.07%        19    2.86%    77         3.25%
                                                                                                                                                6.00%
17    Tier 4     $1001-$1100         15    2.87%      13    2.49%     16    2.41%        21    3.16%    65         2.74%
18    Tier 4     $1101-$1200         13    2.49%      14    2.68%     18    2.71%        26    3.92%    71         2.99%                        4.00%

19    Tier 4     $1201-$1300         13    2.49%      15    2.87%     20    3.01%        20    3.01%    68         2.87%                        2.00%
20    Tier 4     Over $1300          10    1.92%      13    2.49%     19    2.86%        21    3.16%    63         2.66%                        0.00%
           Sub Totals                64   12.26%      73    13.98%    100   15.06%      107    16.11%   344       14.50%                                1   2     3   4   5     6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                            Rate Ranges

               Totals               522    100%      522     100%     664    100%       664    100%     2372       100%

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20-22 Years of Litigation  Experience
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                                                                              20-22 Years of Experience (All Rates)
                                 2023 Rate Data for 20-22 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                                                                                                                                                                                    Tier 1 ($250 or Less-$450)
                                     #       %        #       %        #       %         #      %        #           %                                          17%         21%
 1    Tier 1     $250 or Less        2     0.32%      0     0.00%      1    0.13%         0    0.00%     3         0.11%                                                                            Tier 2 ($451-$700)
 2    Tier 1     $251-$300           1     0.16%      1     0.16%      0    0.00%        3     0.40%     5         0.18%
 3    Tier 1     $301-$350           8     1.29%      5     0.81%      4    0.54%        4     0.54%    21         0.77%                                24%                                         Tier 3 ($701-$950)
 4    Tier 1     $351-$400           59    9.50%      53    8.53%     53    7.14%        51    6.87%    216        7.92%
                                                                                                                                                                            38%
 5    Tier 1     $401-$450           96   15.46%      78    12.56%    87    11.73%       76    10.24%   337       12.36%                                                                            Tier 4 ($951-Over $1300)
           Sub Totals               166   26.73%     137    22.06%   145    19.54%      134    18.06%   582       21.35%
 6    Tier 2     $451-$500           67   10.79%      66    10.63%    67    9.03%        67    9.03%    267        9.79%
 7    Tier 2     $501-$550           48    7.73%      44    7.09%     48    6.47%        45    6.06%    185        6.79%
 8    Tier 2     $551-$600           55    8.86%      48    7.73%     55    7.41%        47    6.33%    205        7.52%
 9    Tier 2     $601-$650           57    9.18%      43    6.92%     49    6.60%        52    7.01%    201        7.37%
10    Tier 2     $651-$700           34    5.48%      47    7.57%     41    5.53%        49    6.60%     171       6.27%
           Sub Totals               261   42.03%     248    39.94%   260    35.04%      260    35.04%   1029      37.75%
                                                                                                                                                      20-22 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           29    4.67%      35    5.64%     45    6.06%        46    6.20%    155        5.69%
                                                                                                                                                   14.00%
12    Tier 3     $751-$800           15    2.42%      21    3.38%     39    5.26%        43    5.80%    115        4.22%
13    Tier 3     $801-$850           23    3.70%      27    4.35%     44    5.93%        42    5.66%    136        4.99%                           12.00%
14    Tier 3     $851-$900           20    3.22%      33    5.31%     40    5.39%        43    5.80%    136        4.99%                           10.00%




                                                                                                                                  % of Responses
15    Tier 3     $901-$950           12    1.93%      20    3.22%     33    4.45%        41    5.53%    106        3.89%
                                                                                                                                                    8.00%
           Sub Totals                99   15.94%     136    21.90%    201   27.09%      215    28.98%   651       23.88%
16    Tier 4     $951-$1000          21    3.38%      27    4.35%     33    4.45%        30    4.04%    111        4.07%                            6.00%

17    Tier 4     $1001-$1100         19    3.06%      20    3.22%     27    3.64%        25    3.37%    91         3.34%                            4.00%
18    Tier 4     $1101-$1200         15    2.42%      18    2.90%     23    3.10%        27    3.64%    83         3.04%
                                                                                                                                                    2.00%
19    Tier 4     $1201-$1300         19    3.06%      20    3.22%     31    4.18%        27    3.64%    97         3.56%
      Tier 4     Over $1300          21    3.38%      15    2.42%     22    2.96%        24    3.23%               3.01%                            0.00%
20                                                                                                      82
                                                                                                                                                            1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals                95   15.30%     100    16.10%    136   18.33%      133    17.92%   464       17.02%
                                                                                                                                                                                            Rate Ranges

               Totals               621    100%      621     100%     742    100%       742    100%     2726       100%

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23-25 Years of Litigation  Experience
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                                                                              23-25 Years of Experience (All Rates)
                                  2023 Rate Data for 23-25 Years of Litigation Experience
                                                  Defense                           Plaintiff                  Totals
      Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates                                                                                 Tier 1 ($250 or Less-$450)
                                      #       %        #       %        #       %         #      %        #           %                                          18%           20%
 1     Tier 1     $250 or Less        1     0.15%      0     0.00%      0    0.00%         0    0.00%     1         0.04%                                                                               Tier 2 ($451-$700)
 2     Tier 1     $251-$300           3     0.46%      3     0.46%      0    0.00%        1     0.15%     7         0.26%
 3     Tier 1     $301-$350           6     0.92%      2     0.31%      5    0.73%        2     0.29%    15         0.56%                               25%
                                                                                                                                                                                                        Tier 3 ($701-$950)
 4     Tier 1     $351-$400           65   10.02%      50    7.70%     35    5.12%        47    6.87%    197        7.39%
                                                                                                                                                                               37%
 5     Tier 1     $401-$450           94   14.48%      75    11.56%    90    13.16%       66    9.65%    325       12.19%                                                                               Tier 4 ($951-Over $1300)
            Sub Totals               169   26.04%     130    20.03%   130    19.01%      116    16.96%   545       20.44%
 6     Tier 2     $451-$500           67   10.32%      65    10.02%    59    8.63%        59    8.63%    250        9.38%
 7     Tier 2     $501-$550           59    9.09%      53    8.17%     41    5.99%        47    6.87%    200        7.50%
 8     Tier 2     $551-$600           58    8.94%      44    6.78%     48    7.02%        48    7.02%    198        7.43%
 9     Tier 2     $601-$650           48    7.40%      51    7.86%     44    6.43%        40    5.85%    183        6.86%
 10    Tier 2     $651-$700           34    5.24%      40    6.16%     40    5.85%        39    5.70%    153        5.74%
            Sub Totals               266   40.99%     253    38.98%   232    33.92%      233    34.06%   984       36.91%
                                                                                                                                                       23-25 YEARS OF EXPERIENCE (ALL RATES)
 11    Tier 3     $701-$750           28    4.31%      35    5.39%     44    6.43%        52    7.60%    159        5.96%
       Tier 3     $751-$800           22    3.39%      31    4.78%     38    5.56%        42    6.14%               4.99%                           14.00%
 12                                                                                                      133
 13    Tier 3     $801-$850           19    2.93%      31    4.78%     43    6.29%        45    6.58%    138        5.18%                           12.00%
 14    Tier 3     $851-$900           22    3.39%      28    4.31%     38    5.56%        41    5.99%    129        4.84%                           10.00%




                                                                                                                                   % of Responses
 15    Tier 3     $901-$950           20    3.08%      31    4.78%     29    4.24%        32    4.68%    112        4.20%
                                                                                                                                                     8.00%
            Sub Totals               111   17.10%     156    24.04%    192   28.07%      212    30.99%   671       25.17%
 16    Tier 4     $951-$1000          23    3.54%      26    4.01%     32    4.68%        28    4.09%    109        4.09%                            6.00%
 17    Tier 4     $1001-$1100         21    3.24%      22    3.39%     26    3.80%        25    3.65%    94         3.53%                            4.00%
 18    Tier 4     $1101-$1200         18    2.77%      20    3.08%     25    3.65%        21    3.07%    84         3.15%
                                                                                                                                                     2.00%
 19    Tier 4     $1201-$1300         21    3.24%      22    3.39%     26    3.80%        24    3.51%    93         3.49%
 20    Tier 4     Over $1300          20    3.08%      20    3.08%     21    3.07%        25    3.65%    86         3.23%                            0.00%
                                                                                                                                                             1    2    3   4    5    6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
            Sub Totals               103   15.87%     110    16.95%    130   19.01%      123    17.98%   466       17.48%
                                                                                                                                                                                                 Rate Ranges

                Totals               649    100%      649     100%     684    100%       684    100%     2666       100%

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26-28 Years of Litigation  Experience
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                                                                                                                                                 26-28 Years of Experience (All Rates)
                                 2023 Rate Data for 26-28 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %
                                                                                                                                                                                                  Tier 1 ($250 or Less-$450)
                                                                                                         #           %                                     19%           18%
 1    Tier 1     $250 or Less        0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%
                                                                                                                                                                                                  Tier 2 ($451-$700)
 2    Tier 1     $251-$300           0     0.00%      0     0.00%      0    0.00%        0     0.00%     0         0.00%
 3    Tier 1     $301-$350           1     0.14%      1     0.14%      1    0.13%        0     0.00%     3         0.10%                                                                          Tier 3 ($701-$950)
 4    Tier 1     $351-$400           58    8.00%      51    7.03%     29    3.88%        29    3.88%    167        5.67%                           27%
                                                                                                                                                                          36%
 5    Tier 1     $401-$450          115   15.86%      77    10.62%    97    12.99%       83    11.11%   372       12.64%                                                                          Tier 4 ($951-Over $1300)
           Sub Totals               174   24.00%     129    17.79%   127    17.00%      112    14.99%   542       18.41%
 6    Tier 2     $451-$500           74   10.21%      63    8.69%     59    7.90%        55    7.36%    251        8.53%
 7    Tier 2     $501-$550           58    8.00%      53    7.31%     49    6.56%        48    6.43%    208        7.07%
 8    Tier 2     $551-$600           61    8.41%      61    8.41%     41    5.49%        41    5.49%    204        6.93%
 9    Tier 2     $601-$650           61    8.41%      55    7.59%     53    7.10%        50    6.69%    219        7.44%
10    Tier 2     $651-$700           35    4.83%      44    6.07%     45    6.02%        45    6.02%     169       5.74%
           Sub Totals               289   39.86%     276    38.07%   247    33.07%      239    31.99%   1051      35.70%
                                                                                                                                                 26-28 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           35    4.83%      41    5.66%     43    5.76%        44    5.89%    163        5.54%
                                                                                                                                              14.00%
12    Tier 3     $751-$800           28    3.86%      38    5.24%     39    5.22%        49    6.56%    154        5.23%
13    Tier 3     $801-$850           26    3.59%      39    5.38%     51    6.83%        51    6.83%    167        5.67%                      12.00%
14    Tier 3     $851-$900           28    3.86%      38    5.24%     45    6.02%        51    6.83%    162        5.50%                      10.00%




                                                                                                                             % of Responses
15    Tier 3     $901-$950           21    2.90%      33    4.55%     46    6.16%        52    6.96%    152        5.16%
                                                                                                                                               8.00%
           Sub Totals               138   19.03%     189    26.07%    224   29.99%      247    33.07%   798       27.11%
16    Tier 4     $951-$1000          27    3.72%      27    3.72%     25    3.35%        35    4.69%    114        3.87%                       6.00%

17    Tier 4     $1001-$1100         25    3.45%      26    3.59%     29    3.88%        30    4.02%    110        3.74%                       4.00%
18    Tier 4     $1101-$1200         31    4.28%      27    3.72%     35    4.69%        25    3.35%    118        4.01%
                                                                                                                                               2.00%
19    Tier 4     $1201-$1300         20    2.76%      26    3.59%     31    4.15%        29    3.88%    106        3.60%
                                                                                                                                               0.00%
20    Tier 4     Over $1300          21    2.90%      25    3.45%     29    3.88%        30    4.02%    105        3.57%
                                                                                                                                                       1    2    3   4    5    6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               124   17.10%     131    18.07%    149   19.95%      149    19.95%   553       18.78%
                                                                                                                                                                                           Rate Ranges

               Totals               725    100%      725     100%     747    100%       747    100%     2944       100%

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29-31 Years of Litigation  Experience
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                                                                                                                                                  29-31 Years of Experience (All Rates)
                                 2023 Rate Data for 29-31 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %
                                                                                                                                                                                                     Tier 1 ($250 or Less-$450)
                                                                                                                                                            19%           17%
 1    Tier 1     $250 or Less        0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%
                                                                                                                                                                                                     Tier 2 ($451-$700)
 2    Tier 1     $251-$300           0     0.00%      0     0.00%      0    0.00%        0     0.00%     0         0.00%
 3    Tier 1     $301-$350           0     0.00%      0     0.00%      0    0.00%        0     0.00%     0         0.00%                                                                             Tier 3 ($701-$950)
 4    Tier 1     $351-$400           41    5.73%      44    6.15%     15    2.03%        18    2.43%    118        4.05%                                29%                    35%
 5    Tier 1     $401-$450          116   16.20%      70    9.78%    103    13.92%       85    11.49%   374       12.84%                                                                             Tier 4 ($951-Over $1300)
           Sub Totals               157   21.93%     114    15.92%   118    15.95%      103    13.92%   492       16.90%
 6    Tier 2     $451-$500           66    9.22%      63    8.80%     48    6.49%        58    7.84%    235        8.07%
 7    Tier 2     $501-$550           56    7.82%      55    7.68%     46    6.22%        46    6.22%    203        6.97%
 8    Tier 2     $551-$600           58    8.10%      51    7.12%     41    5.54%        41    5.54%    191        6.56%
 9    Tier 2     $601-$650           56    7.82%      53    7.40%     48    6.49%        45    6.08%    202        6.94%
10    Tier 2     $651-$700           43    6.01%      43    6.01%     46    6.22%        39    5.27%     171       5.87%
           Sub Totals               279   38.97%     265    37.01%   229    30.95%      229    30.95%   1002      34.41%                          29-31 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           41    5.73%      43    6.01%     55    7.43%        55    7.43%    194        6.66%
                                                                                                                                               14.00%
12    Tier 3     $751-$800           31    4.33%      39    5.45%     50    6.76%        51    6.89%    171        5.87%
13    Tier 3     $801-$850           30    4.19%      41    5.73%     51    6.89%        51    6.89%    173        5.94%                       12.00%

14    Tier 3     $851-$900           29    4.05%      39    5.45%     48    6.49%        52    7.03%    168        5.77%                       10.00%




                                                                                                                              % of Responses
15    Tier 3     $901-$950           27    3.77%      31    4.33%     40    5.41%        50    6.76%    148        5.08%
                                                                                                                                                8.00%
           Sub Totals               158   22.07%     193    26.96%    244   32.97%      259    35.00%   854       29.33%
      Tier 4     $951-$1000          26    3.63%      28    3.91%     28    3.78%        35    4.73%               4.02%                        6.00%
16                                                                                                      117
17    Tier 4     $1001-$1100         24    3.35%      29    4.05%     30    4.05%        30    4.05%    113        3.88%                        4.00%
18    Tier 4     $1101-$1200         22    3.07%      26    3.63%     27    3.65%        25    3.38%    100        3.43%                        2.00%
19    Tier 4     $1201-$1300         24    3.35%      30    4.19%     29    3.92%        30    4.05%    113        3.88%
                                                                                                                                                0.00%
20    Tier 4     Over $1300          26    3.63%      31    4.33%     35    4.73%        29    3.92%    121        4.16%
                                                                                                                                                        1     2   3   4    5    6    7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               122   17.04%     144    20.11%    149   20.14%      149    20.14%   564       19.37%                                                                     Rate Ranges

               Totals               716    100%      716     100%     740    100%       740    100%     2912       100%

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32-34 Years of Litigation  Experience
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                                  2023 Rate Data for 32-34 Years of Litigation Experience                                                          32-34 Years of Experience (All Rates)
                                                  Defense                           Plaintiff                  Totals
      Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                      #       %        #       %        #       %         #      %        #           %                                                                               Tier 1 ($250 or Less-$450)
 1     Tier 1     $250 or Less        0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                                                  15%
                                                                                                                                                             21%
 2     Tier 1     $251-$300           0     0.00%      0     0.00%      1    0.14%        0     0.00%     1         0.04%                                                                             Tier 2 ($451-$700)
 3     Tier 1     $301-$350           0     0.00%      0     0.00%      1    0.14%        2     0.29%     3         0.11%
 4     Tier 1     $351-$400           33    5.40%      25    4.09%     10    1.43%        7     1.00%    75         2.86%                                                                             Tier 3 ($701-$950)
                                                                                                                                                                                 33%
 5     Tier 1     $401-$450           89   14.57%      67    10.97%    86    12.27%       75    10.70%   317       12.08%                                31%                                          Tier 4 ($951-Over $1300)
            Sub Totals               122   19.97%      92    15.06%    98    13.98%       84    11.98%   396       15.09%
 6     Tier 2     $451-$500           61    9.98%      41    6.71%     44    6.28%        52    7.42%    198        7.55%
 7     Tier 2     $501-$550           46    7.53%      44    7.20%     35    4.99%        41    5.85%    166        6.33%
 8     Tier 2     $551-$600           43    7.04%      48    7.86%     31    4.42%        36    5.14%    158        6.02%
 9     Tier 2     $601-$650           41    6.71%      44    7.20%     39    5.56%        41    5.85%    165        6.29%
 10    Tier 2     $651-$700           41    6.71%      45    7.36%     47    6.70%        33    4.71%    166        6.33%
            Sub Totals               232   37.97%     222    36.33%   196    27.96%      203    28.96%   853       32.51%
 11    Tier 3     $701-$750           35    5.73%      30    4.91%     53    7.56%        55    7.85%    173        6.59%
                                                                                                                                                   32-34 YEARS OF EXPERIENCE (ALL RATES)
 12    Tier 3     $751-$800           29    4.75%      37    6.06%     49    6.99%        50    7.13%    165        6.29%                       14.00%
 13    Tier 3     $801-$850           32    5.24%      35    5.73%     46    6.56%        45    6.42%    158        6.02%                       12.00%
 14    Tier 3     $851-$900           29    4.75%      40    6.55%     49    6.99%        54    7.70%    172        6.55%
                                                                                                                                                10.00%




                                                                                                                               % of Responses
 15    Tier 3     $901-$950           22    3.60%      35    5.73%     48    6.85%        48    6.85%    153        5.83%
            Sub Totals               147   24.06%     177    28.97%    245   34.95%      252    35.95%   821       31.29%                        8.00%

 16    Tier 4     $951-$1000          24    3.93%      28    4.58%     34    4.85%        35    4.99%    121        4.61%                        6.00%
 17    Tier 4     $1001-$1100         23    3.76%      24    3.93%     32    4.56%        32    4.56%    111        4.23%
                                                                                                                                                 4.00%
 18    Tier 4     $1101-$1200         20    3.27%      21    3.44%     31    4.42%        33    4.71%    105        4.00%
                                                                                                                                                 2.00%
 19    Tier 4     $1201-$1300         22    3.60%      24    3.93%     36    5.14%        32    4.56%    114        4.34%
 20    Tier 4     Over $1300          21    3.44%      25    4.09%     29    4.14%        30    4.28%    105        4.00%                        0.00%
            Sub Totals               110   18.00%     122    19.97%    162   23.11%      162    23.11%   556       21.19%                                1    2    3   4    5    6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                               Rate Ranges

                Totals               611    100%      611     100%     701    100%       701    100%     2624       100%

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35-37 Years of Litigation  Experience
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                                 2023 Rate Data for 35-37 Years of Litigation Experience                                                          35-37 Years of Experience (All Rates)
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                                                            Tier 1 ($250 or Less-$450)
1     Tier 1     $250 or Less        2     0.34%      1     0.17%      1    0.14%         0    0.00%     4         0.15%                                            13%
                                                                                                                                                        22%
2     Tier 1     $251-$300           1     0.17%      0     0.00%      0    0.00%         1    0.14%     2         0.08%                                                                          Tier 2 ($451-$700)
3     Tier 1     $301-$350           3     0.51%      2     0.34%      1    0.14%         3    0.42%     9         0.35%
4     Tier 1     $351-$400           11    1.87%      12    2.04%      5    0.70%         4    0.56%    32         1.23%                                                    31%                   Tier 3 ($701-$950)
5     Tier 1     $401-$450           87   14.77%      62    10.53%    79    11.06%       71    9.94%    299       11.47%
                                                                                                                                                        34%                                       Tier 4 ($951-Over $1300)
           Sub Totals               104   17.66%      77    13.07%    86    12.04%       79    11.06%   346       13.28%
6     Tier 2     $451-$500           41    6.96%      32    5.43%     44    6.16%        48    6.72%    165        6.33%
7     Tier 2     $501-$550           42    7.13%      40    6.79%     41    5.74%        40    5.60%    163        6.25%
8     Tier 2     $551-$600           44    7.47%      55    9.34%     31    4.34%        39    5.46%    169        6.49%
9     Tier 2     $601-$650           43    7.30%      32    5.43%     39    5.46%        40    5.60%    154        5.91%
10    Tier 2     $651-$700           48    8.15%      41    6.96%     38    5.32%        32    4.48%    159        6.10%
           Sub Totals               218   37.01%     200    33.96%    193   27.03%      199    27.87%   810       31.08%
11    Tier 3     $701-$750           29    4.92%      30    5.09%     57    7.98%        64    8.96%    180        6.91%                          35-37 YEARS OF EXPERIENCE (ALL RATES)
12    Tier 3     $751-$800           32    5.43%      36    6.11%     53    7.42%        54    7.56%    175        6.72%                       14.00%
13    Tier 3     $801-$850           31    5.26%      32    5.43%     55    7.70%        51    7.14%    169        6.49%                       12.00%
14    Tier 3     $851-$900           32    5.43%      38    6.45%     49    6.86%        59    8.26%    178        6.83%
                                                                                                                                               10.00%
      Tier 3     $901-$950                 5.94%            6.96%           7.00%              6.02%               6.49%




                                                                                                                              % of Responses
15                                   35               41              50                 43             169
           Sub Totals               159   26.99%     177    30.05%    264   36.97%      271    37.96%   871       33.42%                        8.00%
16    Tier 4     $951-$1000          26    4.41%      25    4.24%     39    5.46%        30    4.20%    120        4.60%                        6.00%
17    Tier 4     $1001-$1100         22    3.74%      27    4.58%     35    4.90%        33    4.62%    117        4.49%
                                                                                                                                                4.00%
18    Tier 4     $1101-$1200         17    2.89%      30    5.09%     31    4.34%        36    5.04%    114        4.37%
      Tier 4     $1201-$1300               3.74%            4.58%           4.76%              4.90%               4.53%                        2.00%
19                                   22               27              34                 35             118
20    Tier 4     Over $1300          21    3.57%      26    4.41%     32    4.48%        31    4.34%    110        4.22%                        0.00%
           Sub Totals               108   18.34%     135    22.92%    171   23.95%      165    23.11%   579       22.22%                                1   2   3   4   5   6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                          Rate Ranges

               Totals               589    100%       589    100%     714    100%        714   100%     2,606      100%

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38-40 Years of Litigation  Experience
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                                 2023 Rate Data for 38-40 Years of Litigation Experience
                                                                                                                                                 38-40 Years of Experience (All Rates)
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                                                           Tier 1 ($250 or Less-$450)
1     Tier 1     $250 or Less        0     0.00%      1     0.18%      1    0.14%         0    0.00%     2         0.08%                                             12%
                                                                                                                                                           23%
2     Tier 1     $251-$300           0     0.00%      0     0.00%      2    0.29%         1    0.14%     3         0.12%                                                                         Tier 2 ($451-$700)
3     Tier 1     $301-$350           1     0.18%      1     0.18%      1    0.14%         0    0.00%     3         0.12%
                                                                                                                                                                             29%                 Tier 3 ($701-$950)
4     Tier 1     $351-$400           6     1.09%      8     1.46%      3    0.43%         2    0.29%    19         0.77%
5     Tier 1     $401-$450           81   14.75%      56    10.20%    69    9.97%        59    8.53%    265       10.68%                                                                         Tier 4 ($951-Over $1300)
                                                                                                                                                           36%
           Sub Totals                88   16.03%      66    12.02%    76    10.98%       62    8.96%    292       11.76%
6     Tier 2     $451-$500           45    8.20%      45    8.20%     41    5.92%        33    4.77%    164        6.61%
7     Tier 2     $501-$550           40    7.29%      34    6.19%     38    5.49%        29    4.19%    141        5.68%
8     Tier 2     $551-$600           39    7.10%      31    5.65%     31    4.48%        41    5.92%    142        5.72%
9     Tier 2     $601-$650           39    7.10%      35    6.38%     37    5.35%        36    5.20%    147        5.92%
10    Tier 2     $651-$700           35    6.38%      31    5.65%     33    4.77%        40    5.78%    139        5.60%
           Sub Totals               198   36.07%     176    32.06%    180   26.01%      179    25.87%   733       29.53%
11    Tier 3     $701-$750           36    6.56%      27    4.92%     60    8.67%        66    9.54%    189        7.61%
                                                                                                                                                 38-40 YEARS OF EXPERIENCE (ALL RATES)
12    Tier 3     $751-$800           31    5.65%      35    6.38%     53    7.66%        44    6.36%    163        6.57%                      12.00%
13    Tier 3     $801-$850           32    5.83%      32    5.83%     51    7.37%        55    7.95%    170        6.85%
                                                                                                                                              10.00%
14    Tier 3     $851-$900           26    4.74%      40    7.29%     55    7.95%        54    7.80%    175        7.05%




                                                                                                                             % of Responses
15    Tier 3     $901-$950           29    5.28%      41    7.47%     58    8.38%        59    8.53%    187        7.53%                       8.00%
           Sub Totals               154   28.05%     175    31.88%    277   40.03%      278    40.17%   884       35.62%
                                                                                                                                               6.00%
16    Tier 4     $951-$1000          25    4.55%      21    3.83%     33    4.77%        33    4.77%    112        4.51%
17    Tier 4     $1001-$1100         22    4.01%      26    4.74%     32    4.62%        35    5.06%    115        4.63%                       4.00%
18    Tier 4     $1101-$1200         21    3.83%      25    4.55%     29    4.19%        31    4.48%    106        4.27%
                                                                                                                                               2.00%
19    Tier 4     $1201-$1300         22    4.01%      29    5.28%     32    4.62%        36    5.20%    119        4.79%
20    Tier 4     Over $1300          19    3.46%      31    5.65%     33    4.77%        38    5.49%    121        4.88%                       0.00%
           Sub Totals                     19.85%            24.04%          22.98%             25.00%   573       23.09%                               1    2    3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                    109              132              159               173
                                                                                                                                                                                         Rate Ranges

               Totals               549    100%      549     100%     692    100%       692    100%     2482       100%

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41-43 Years of Litigation  Experience
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                                                                             41-43 Years of Experience (All Rates)
                                 2023 Rate Data for 41-43 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                             11%                         Tier 1 ($250 or Less-$450)
1     Tier 1     $250 or Less        0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                               24%
2     Tier 1     $251-$300           0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                                                                       Tier 2 ($451-$700)
3     Tier 1     $301-$350           0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                                                   28%
                                                                                                                                                                                               Tier 3 ($701-$950)
4     Tier 1     $351-$400           2     0.33%      1     0.17%      0    0.00%         0    0.00%     3         0.12%
5     Tier 1     $401-$450           82   13.67%      59    9.83%     67    10.06%       53    7.96%    261       10.31%                                   37%                                 Tier 4 ($951-Over $1300)
           Sub Totals                84   14.00%      60    10.00%    67    10.06%       53    7.96%    264       10.43%
6     Tier 2     $451-$500           45    7.50%      45    7.50%     45    6.76%        31    4.65%    166        6.56%
7     Tier 2     $501-$550           42    7.00%      36    6.00%     25    3.75%        32    4.80%    135        5.33%
8     Tier 2     $551-$600           41    6.83%      31    5.17%     31    4.65%        25    3.75%    128        5.06%
9     Tier 2     $601-$650           43    7.17%      36    6.00%     32    4.80%        32    4.80%    143        5.65%
10    Tier 2     $651-$700           39    6.50%      32    5.33%     27    4.05%        39    5.86%    137        5.41%
           Sub Totals               210   35.00%     180    30.00%    160   24.02%      159    23.87%   709       28.00%                         41-43 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           39    6.50%      41    6.83%     51    7.66%        58    8.71%    189        7.46%                      12.00%
12    Tier 3     $751-$800           30    5.00%      42    7.00%     55    8.26%        56    8.41%    183        7.23%
                                                                                                                                              10.00%
13    Tier 3     $801-$850           37    6.17%      41    6.83%     57    8.56%        56    8.41%    191        7.54%
14    Tier 3     $851-$900           38    6.33%      42    7.00%     51    7.66%        51    7.66%    182        7.19%




                                                                                                                             % of Responses
                                                                                                                                               8.00%
15    Tier 3     $901-$950           36    6.00%      44    7.33%     59    8.86%        60    9.01%    199        7.86%
                                                                                                                                               6.00%
           Sub Totals               180   30.00%     210    35.00%    273   40.99%      281    42.19%   944       37.28%
16    Tier 4     $951-$1000          29    4.83%      38    6.33%     29    4.35%        38    5.71%    134        5.29%                       4.00%
17    Tier 4     $1001-$1100         27    4.50%      26    4.33%     33    4.95%        35    5.26%    121        4.78%
                                                                                                                                               2.00%
18    Tier 4     $1101-$1200         22    3.67%      30    5.00%     31    4.65%        32    4.80%    115        4.54%
19    Tier 4     $1201-$1300         26    4.33%      28    4.67%     38    5.71%        35    5.26%    127        5.02%                       0.00%
20    Tier 4     Over $1300          22    3.67%      28    4.67%     35    5.26%        33    4.95%    118        4.66%                               1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               126   21.00%     150    25.00%    166   24.92%      173    25.98%   615       24.29%                                                               Rate Ranges


               Totals               600    100%      600     100%     666    100%       666    100%     2532       100%

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44-46 Years of Litigation  Experience
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                                                                                                                                                 44-46 Years of Experience (All Rates)
                                 2023 Rate Data for 44-46 Years of Litigation Experience
                                                 Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range      Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                     #       %        #       %        #       %         #      %        #           %                                               8%                             Tier 1 ($250 or Less-$450)
 1    Tier 1     $250 or Less        0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                               26%
 2    Tier 1     $251-$300           0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                                                      26%                   Tier 2 ($451-$700)
 3    Tier 1     $301-$350           0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%
 4    Tier 1     $351-$400           0     0.00%      0     0.00%      2    0.31%         0    0.00%     2         0.08%
                                                                                                                                                                                                    Tier 3 ($701-$950)
 5    Tier 1     $401-$450           67   11.99%      50    8.94%     50    7.67%        39    5.98%    206        8.51%
                                                                                                                                                               40%                                  Tier 4 ($951-Over $1300)
           Sub Totals                67   11.99%      50    8.94%     52    7.98%        39    5.98%    208        8.59%
 6    Tier 2     $451-$500           33    5.90%      31    5.55%     25    3.83%        19    2.91%    108        4.46%
 7    Tier 2     $501-$550           39    6.98%      32    5.72%     29    4.45%        29    4.45%    129        5.33%
 8    Tier 2     $551-$600           37    6.62%      29    5.19%     25    3.83%        29    4.45%    120        4.95%
 9    Tier 2     $601-$650           35    6.26%      31    5.55%     29    4.45%        31    4.75%    126        5.20%
10    Tier 2     $651-$700           41    7.33%      33    5.90%     35    5.37%        35    5.37%    144        5.95%
           Sub Totals               185   33.09%     156    27.91%    143   21.93%      143    21.93%   627       25.89%
                                                                                                                                                 44-46 YEARS OF EXPERIENCE (ALL RATES)
11    Tier 3     $701-$750           45    8.05%      48    8.59%     43    6.60%        44    6.75%    180        7.43%
      Tier 3     $751-$800                 6.44%            7.33%           8.59%              8.74%               7.84%                      10.00%
12                                   36               41              56                 57             190
                                                                                                                                               9.00%
13    Tier 3     $801-$850           42    7.51%      42    7.51%     61    9.36%        63    9.66%    208        8.59%
                                                                                                                                               8.00%
14    Tier 3     $851-$900           29    5.19%      45    8.05%     50    7.67%        58    8.90%    182        7.51%
                                                                                                                                               7.00%




                                                                                                                             % of Responses
15    Tier 3     $901-$950           31    5.55%      36    6.44%     70    10.74%       65    9.97%    202        8.34%
                                                                                                                                               6.00%
           Sub Totals               183   32.74%     212    37.92%    280   42.94%      287    44.02%   962       39.72%                       5.00%
16    Tier 4     $951-$1000          31    5.55%      25    4.47%     31    4.75%        33    5.06%    120        4.95%                       4.00%
17    Tier 4     $1001-$1100         25    4.47%      28    5.01%     35    5.37%        36    5.52%    124        5.12%                       3.00%
18    Tier 4     $1101-$1200         22    3.94%      28    5.01%     33    5.06%        34    5.21%    117        4.83%                       2.00%
19    Tier 4     $1201-$1300         25    4.47%      29    5.19%     37    5.67%        32    4.91%    123        5.08%                       1.00%
20    Tier 4     Over $1300          21    3.76%      31    5.55%     41    6.29%        48    7.36%    141        5.82%                       0.00%
                                                                                                                                                       1   2    3    4    5   6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
           Sub Totals               124   22.18%     141    25.22%    177   27.15%      183    28.07%   625       25.81%
                                                                                                                                                                                            Rate Ranges

               Totals               559    100%      559     100%     652    100%       652    100%     2422       100%

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47+ Years of Litigation Experience
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                                 2023 Rate Data for 47+ Years of Litigation Experience                                                             47+ Years of Experience (All Rates)
                                                Defense                           Plaintiff                  Totals
     Rate Tier      Rate Range     Regular Rate     Complex Rate     Regular Rate      Complex Rate         All Rates
                                    #       %        #       %        #       %         #      %        #           %
1     Tier 1     $250 or Less       0     0.00%      0     0.00%      0    0.00%         0    0.00%     0         0.00%                                                                           Tier 1 ($250 or Less-$450)
                                                                                                                                                                   7%
2     Tier 1     $251-$300          0     0.00%      1     0.16%      0    0.00%         0    0.00%     1         0.03%                                27%
                                                                                                                                                                            23%                   Tier 2 ($451-$700)
3     Tier 1     $301-$350          1     0.16%      1     0.16%      1    0.13%         0    0.00%     3         0.10%
4     Tier 1     $351-$400          0     0.00%      1     0.16%      0    0.00%         2    0.25%     3         0.10%                                                                           Tier 3 ($701-$950)
5     Tier 1     $401-$450         63     9.77%      49    7.60%     46    5.82%         38   4.80%    196        6.82%
           Sub Totals              64     9.92%      52    8.06%     47    5.94%         40   5.06%    203        7.07%                                                                           Tier 4 ($951-Over $1300)
                                                                                                                                                               43%
6     Tier 2     $451-$500         20     3.10%      33    5.12%     29    3.67%         28   3.54%    110        3.83%
7     Tier 2     $501-$550         39     6.05%      31    4.81%     35    4.42%         28   3.54%    133        4.63%
8     Tier 2     $551-$600         32     4.96%      34    5.27%     29    3.67%         24   3.03%    119        4.14%
9     Tier 2     $601-$650         44     6.82%      29    4.50%     31    3.92%         29   3.67%    133        4.63%
10    Tier 2     $651-$700         59     9.15%      41    6.36%     34    4.30%         33   4.17%    167        5.81%
           Sub Totals              194   30.08%     168    26.05%    158   19.97%      142    17.95%   662       23.05%
11    Tier 3     $701-$750         52     8.06%      45    6.98%     66    8.34%         82   10.37%   245        8.53%                          47+ YEARS OF EXPERIENCE (ALL RATES)
12    Tier 3     $751-$800         45     6.98%      48    7.44%     71    8.98%         79   9.99%    243        8.46%
                                                                                                                                              10.00%
13    Tier 3     $801-$850         41     6.36%      55    8.53%     68    8.60%         74   9.36%    238        8.29%                        9.00%
14    Tier 3     $851-$900         43     6.67%      51    7.91%     71    8.98%         79   9.99%    244        8.50%                        8.00%
15    Tier 3     $901-$950         45     6.98%      59    9.15%     80    10.11%        66   8.34%     250       8.70%                        7.00%




                                                                                                                             % of Responses
           Sub Totals              226   35.04%     258    40.00%    356   45.01%      380    48.04%   1220      42.48%                        6.00%
16    Tier 4     $951-$1000        28     4.34%      44    6.82%     49    6.19%         51   6.45%    172        5.99%                        5.00%
17    Tier 4     $1001-$1100       41     6.36%      28    4.34%     46    5.82%         44   5.56%    159        5.54%                        4.00%
                                                                                                                                               3.00%
18    Tier 4     $1101-$1200       31     4.81%      31    4.81%     43    5.44%         54   6.83%    159        5.54%
                                                                                                                                               2.00%
19    Tier 4     $1201-$1300       32     4.96%      35    5.43%     50    6.32%         40   5.06%    157        5.47%
                                                                                                                                               1.00%
20    Tier 4     Over $1300        29     4.50%      29    4.50%     42    5.31%         40   5.06%    140        4.87%
                                                                                                                                               0.00%
           Sub Totals              161   24.96%     167    25.89%    230   29.08%      229    28.95%   787       27.40%                                1   2   3   4    5   6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
                                                                                                                                                                                          Rate Ranges
               Totals              645    100%      645     100%     791    100%       791    100%     2872       100%


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                                                                              Years of Litigation Experience by Tier System (2023)


    1%
    1%           1%          3%          4%
                 4%                                  7%          8%          10%
                             6%          7%                                              12%         13%         15%         17%         18%         19%         19%         21%                     25%
                                                     9%                                                                                                                                  22%                     24%          26%
                                                                 12%                                                                                                                                                                      27%
                                                                             15%
                                                                                         18%         20%
                                                                                                                 22%
   55%                                                                                                                       24%         25%
                54%                                                                                                                                  27%         29%
                            52%         52%                                                                                                                                  31%
                                                    49%                                                                                                                                  34%         36%
                                                                 47%                                                                                                                                             37%
                                                                             44%                                                                                                                                              40%
                                                                                         41%                                                                                                                                              43%
                                                                                                     40%
                                                                                                                 39%
                                                                                                                             38%         37%
                                                                                                                                                     36%         35%
                                                                                                                                                                             33%
                                                                                                                                                                                         31%         29%         28%
   43%          41%         39%                                                                                                                                                                                               26%
                                        37%         35%          33%                                                                                                                                                                      23%
                                                                             31%         29%         27%         24%         21%         20%         18%         17%         15%         13%         12%         11%          8%           7%

LESS THAN 2   2-3 YEARS   4-5 YEARS   6-7 YEARS   8-9 YEARS   10-11 YEARS 12-13 YEARS 14-15 YEARS 16-17 YEARS 18-19 YEARS 20-22 YEARS 23-25 YEARS 26-28 YEARS 29-31 YEARS 32-34 YEARS 35-37 YEARS 38-40 YEARS 41-43 YEARS 44-46 YEARS   47+ YEARS
   YEARS

                                              Tier 1 ($250 or Less-$450)                    Tier 2 ($451-$700)                  Tier 3 ($701-$950)                     Tier 4 ($951-Over $1300)




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Law Firm / Law Office Size




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Solo Law Offices (1 Atty)
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                                        2023 Rate Data for Solo Law Offices (1 Atty)
                                                                                                                                                                  Solo Law Offices (All Rates)
                                               Defense                             Plaintiffs                   All
      Rate Tier    Rate Range    Regular Rate        Complex Rate      Regular Rate      Complex Rate      All Rates
                                                                                                                                                                                                       Tier 1 ($250 or Less-$450)
                                 #          %        #         %       #        %         #       %       #             %
                                                                                                                                                                  11%
 1     Tier 1     $250 or Less   45       2.29%      36      1.83%     46     2.08%       46    2.08%    173          2.07%                                                   24%                      Tier 2 ($451-$700)
 2     Tier 1     $251-$300      68       3.47%      73      3.72%     75     3.39%       75    3.39%    291          3.49%                             16%
 3     Tier 1     $301-$350      89       4.54%      94      4.79%     101    4.57%      101    4.57%    385          4.61%                                                                            Tier 3 ($701-$950)
 4     Tier 1     $351-$400      125      6.37%     118      6.01%     142    6.42%      142    6.42%    527          6.31%
                  $401-$450      163      8.31%     130      6.63%     167    7.55%      167    7.55%                 7.51%
                                                                                                                                                                                                       Tier 4 ($951-Over $1300)
 5     Tier 1                                                                                            627
                                                                                                                                                                        49%
          Sub Totals             490      24.97%    451     22.99%     531    24.01%     531    24.01%   2003     23.99%
 6     Tier 2 $451-$500          223      11.37%    215     10.96%     222    10.04%     222    10.04%   882      10.57%
 7     Tier 2     $501-$550      216      11.01%    209     10.65%     215    9.72%      215    9.72%    855      10.24%
 8     Tier 2     $551-$600      208      10.60%    211     10.75%     216    9.76%      216    9.76%    851      10.19%
 9     Tier 2     $601-$650      197      10.04%    175      8.92%     212    9.58%      212    9.58%    796          9.54%
 10    Tier 2     $651-$700      137      6.98%     164      8.36%     197    8.91%      197    8.91%     695         8.33%
          Sub Totals             981      50.00%    974     49.64%    1062    48.01%    1062    48.01%   4079     48.86%                                    SOLO LAW OFFICES (ALL RATES)
 11    Tier 3 $701-$750          75       3.82%      77      3.92%     97     4.39%       97    4.39%    346          4.14%
                                                                                                                                               12.00%
 12    Tier 3     $751-$800      58       2.96%      63      3.21%     69     3.12%       69    3.12%    259          3.10%
 13    Tier 3     $801-$850      61       3.11%      70      3.57%     66     2.98%       66    2.98%    263          3.15%                    10.00%
 14    Tier 3     $851-$900      60       3.06%      64      3.26%     71     3.21%       71    3.21%    266          3.19%




                                                                                                                              % of Responses
                                                                                                                                                8.00%
 15    Tier 3     $901-$950      41       2.09%      47      2.40%     51     2.31%       51    2.31%    190          2.28%
          Sub Totals             295      15.04%    321     16.36%     354    16.00%     354    16.00%   1324     15.86%                        6.00%
 16    Tier 4 $951-$1000         45       2.29%      49      2.50%     59     2.67%       59    2.67%    212          2.54%
                                                                                                                                                4.00%
 17    Tier 4     $1001-$1100    41       2.09%      41      2.09%     53     2.40%       53    2.40%    188          2.25%
 18    Tier 4     $1101-$1200    42       2.14%      51      2.60%     56     2.53%       56    2.53%    205          2.46%                     2.00%
 19    Tier 4     $1201-$1300    39       1.99%      43      2.19%     53     2.40%       53    2.40%    188          2.25%
                                                                                                                                                0.00%
 20    Tier 4     Over $1300     29       1.48%      32      1.63%     44     1.99%       44    1.99%    149          1.78%                             1     2    3    4     5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
          Sub Totals             196      9.99%     216     11.01%     265    11.98%     265    11.98%   942      11.28%                                                                      Rate Ranges


             Totals              1962      100%     1962     100%     2212     100%     2212    100%     8348         100%

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Law Offices (2-11 Attys)
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                                                                                                                                                                  Law Offices (All Rates)
                                       2023 Rate Data for Law Offices (2-11 Attys)
                                             Defense                             Plaintiffs                   All
     Rate Tier    Rate Range    Regular Rate       Complex Rate       Regular Rate     Complex Rate      All Rates                                                                             Tier 1 ($250 or Less-$450)
                                #          %        #        %        #        %        #       %       #             %                                   11%     14%
1     Tier 1     $250 or Less   25       1.04%      25     1.04%      17     0.68%      11    0.44%     78          0.79%                                                                      Tier 2 ($451-$700)
2     Tier 1     $251-$300      45       1.87%      45     1.87%      25     1.00%      17    0.68%    132          1.34%
                                                                                                                                                 30%                                           Tier 3 ($701-$950)
3     Tier 1     $301-$350      55       2.29%      55     2.29%      33     1.32%      23    0.92%    166          1.69%
4     Tier 1     $351-$400      71       2.95%      71     2.95%      46     1.84%      38    1.52%    226          2.30%                                             45%                      Tier 4 ($951-Over $1300)
5     Tier 1     $401-$450      165      6.86%     165     6.86%     229     9.15%     209    8.35%    768          7.82%
         Sub Totals             361     15.02%     361    15.02%     350    13.98%     298    11.90%   1370     13.96%
6     Tier 2 $451-$500          241     10.02%     241    10.02%     245     9.78%     236    9.42%    963          9.81%
7     Tier 2     $501-$550      233      9.69%     233     9.69%     213     8.51%     210    8.39%    889          9.06%
8     Tier 2     $551-$600      221      9.19%     221     9.19%     233     9.31%     203    8.11%    878          8.94%
9     Tier 2     $601-$650      215      8.94%     215     8.94%     200     7.99%     208    8.31%    838          8.54%
10    Tier 2     $651-$700      196      8.15%     196     8.15%     211     8.43%     195    7.79%     798         8.13%
         Sub Totals             1106    46.01%    1106    46.01%     1102   44.01%    1052    42.01%   4366     44.48%                                          LAW OFFICES (ALL RATES)
11    Tier 3 $701-$750          168      6.99%     168     6.99%     150     5.99%     183    7.31%    669          6.82%                    12.00%
12    Tier 3     $751-$800      145      6.03%     145     6.03%     161     6.43%     171    6.83%    622          6.34%
13    Tier 3     $801-$850      144      5.99%     144     5.99%     145     5.79%     165    6.59%    598          6.09%                    10.00%

14    Tier 3     $851-$900      117      4.87%     117     4.87%     155     6.19%     176    7.03%    565          5.76%




                                                                                                                            % of Responses
                                                                                                                                              8.00%
15    Tier 3     $901-$950      122      5.07%     122     5.07%     140     5.59%     133    5.31%    517          5.27%
                                696     28.95%     696    28.95%     751    29.99%     828    33.07%   2971     30.27%                        6.00%
         Sub Totals
16    Tier 4 $951-$1000         61       2.54%      61     2.54%      72     2.88%      98    3.91%    292          2.97%                     4.00%
17    Tier 4     $1001-$1100    46       1.91%      46     1.91%      58     2.32%      50    2.00%    200          2.04%
                 $1101-$1200    51       2.12%      51     2.12%      55     2.20%      54    2.16%                 2.15%                     2.00%
18    Tier 4                                                                                           211
19    Tier 4     $1201-$1300    39       1.62%      39     1.62%      60     2.40%      64    2.56%    202          2.06%                     0.00%
20    Tier 4     Over $1300     44       1.83%      44     1.83%      56     2.24%      60    2.40%    204          2.08%                             1   2   3   4   5     6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
         Sub Totals             241     10.02%     241    10.02%     301    12.02%     326    13.02%   1109     11.30%                                                                  Rate Ranges


            Totals              2404     100%     2404     100%      2504    100%     2504    100%     9816         100%

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Small Law Firms (12-49 Attys)
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                                                                                                                                                                  Small Law Firms (All Rates)
                                  2023 Rate Data for Small Law Firms (12-49 Attys)
                                           Defense                            Plaintiffs                     All
     Rate Tier    Rate Range    Regular Rate     Complex Rate      Regular Rate      Complex Rate       All Rates                                                                                   Tier 1 ($250 or Less-$450)
                                 #       %        #        %        #       %         #         %      #             %                                        12%       9%
                 $250 or Less    8     0.34%      5      0.21%      6     0.24%       3       0.12%                0.23%
                                                                                                                                                                                                    Tier 2 ($451-$700)
 1    Tier 1                                                                                           22
 2    Tier 1     $251-$300      12     0.51%      9      0.38%     11     0.43%       6      0.24%     38          0.39%                                                                            Tier 3 ($701-$950)
 3    Tier 1     $301-$350      28     1.19%     17      0.73%     15     0.59%       9      0.35%     69          0.71%                             36%                     43%
 4    Tier 1     $351-$400      33     1.41%     28      1.19%     22     0.87%      12      0.47%     95          0.97%                                                                            Tier 4 ($951-Over $1300)
 5    Tier 1     $401-$450      152    6.48%    151      6.44%     174    6.85%      172     6.77%    649          6.64%
         Sub Totals             233    9.94%    210     8.96%      228    8.98%      202     7.95%    873          8.94%
 6    Tier 2 $451-$500          245    10.45%   211      9.00%     213    8.39%      239     9.41%    908          9.30%
 7    Tier 2     $501-$550      210    8.96%    206      8.79%     238    9.37%      213     8.39%    867          8.88%
 8    Tier 2     $551-$600      215    9.17%    201      8.58%     222    8.74%      212     8.35%    850          8.70%
 9    Tier 2     $601-$650      211    9.00%    206      8.79%     220    8.66%      205     8.07%    842          8.62%
10    Tier 2     $651-$700      175    7.47%    207      8.83%     199    7.83%      198     7.80%     779         7.98%
         Sub Totals             1056   45.05%   1031    43.98%    1092   42.99%      1067    42.01%   4246     43.47%
                                                                                                                                                              SMALL LAW FIRMS (ALL RATES)
11    Tier 3 $701-$750          183    7.81%     186     7.94%     212    8.35%      191      7.52%   772          7.90%
                                                                                                                                                 10.00%
12    Tier 3     $751-$800      162    6.91%     171     7.30%     190    7.48%      179      7.05%   702          7.19%
                                                                                                                                                  9.00%
13    Tier 3     $801-$850      155    6.61%     164     7.00%     188    7.40%      202      7.95%   709          7.26%
                                                                                                                                                  8.00%
14    Tier 3     $851-$900      160    6.83%     168     7.17%     181    7.13%      203      7.99%   712          7.29%
                                                                                                                                                  7.00%




                                                                                                                                % of Responses
15    Tier 3     $901-$950      137    5.84%     132     5.63%     144    5.67%      166      6.54%   579          5.93%                          6.00%
         Sub Totals             797    34.00%    821    35.03%     915   36.02%      941     37.05%   3474     35.57%                             5.00%
16    Tier 4 $951-$1000         64     2.73%     80      3.41%     71     2.80%      79       3.11%   294          3.01%                          4.00%
17    Tier 4     $1001-$1100    52     2.22%     51      2.18%     61     2.40%      66       2.60%   230          2.35%                          3.00%
18    Tier 4     $1101-$1200    44     1.88%     44      1.88%     55     2.17%      61       2.40%   204          2.09%                          2.00%
                 $1201-$1300    52     2.22%     56      2.39%     63     2.48%      65       2.56%                2.42%                          1.00%
19    Tier 4                                                                                          236
                                                                                                                                                  0.00%
20    Tier 4     Over $1300     46     1.96%     51      2.18%     55     2.17%      59       2.32%   211          2.16%
                                                                                                                                                          1   2     3   4    5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
         Sub Totals             258    11.01%    282    12.03%     305   12.01%      330     12.99%   1175     12.03%                                                                        Rate Ranges

            Totals              2344   100%     2344     100%     2540    100%       2540     100%    9768         100%

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Mid-Size Law Firms (50-99     Attys)
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                                                                                                                                                         Mid-Size Law Firms (All Rates)
                                 2023 Rate Data for Mid-Size Law Firms (50-99 Attys)
                                            Defense                           Plaintiffs                     All
      Rate Tier    Rate Range    Regular Rate    Complex Rate      Regular Rate        Complex Rate      All Rates
                                                                                                                                                                                                 Tier 1 ($250 or Less-$450)
                                  #       %       #        %        #       %          #        %       #            %
                                                                                                                                                           13% 6%
 1     Tier 1     $250 or Less    4     0.14%     4      0.14%      6     0.23%        9      0.35%    23          0.21%                                                                         Tier 2 ($451-$700)
 2     Tier 1     $251-$300       6     0.22%     5      0.18%      7     0.27%        8     0.31%     26          0.24%
 3     Tier 1     $301-$350       9     0.32%     11     0.39%      12    0.47%        31    1.21%     63          0.59%                                                   39%                   Tier 3 ($701-$950)
 4     Tier 1     $351-$400       9     0.32%     15     0.54%      21    0.82%        22    0.86%     67          0.63%                             42%                                         Tier 4 ($951-Over $1300)
 5     Tier 1     $401-$450      165    5.92%    132     4.74%     108    4.20%        80    3.11%     485         4.53%
          Sub Totals             193    6.93%    167     6.00%     154    5.99%        150   5.84%     664         6.20%
 6     Tier 2 $451-$500          233    8.37%    236     8.47%     215    8.37%        169   6.58%     853         7.96%
 7     Tier 2     $501-$550      255    9.16%    217     7.79%     177    6.89%        206   8.02%     855         7.98%
 8     Tier 2     $551-$600      235    8.44%    211     7.58%     221    8.60%        199   7.74%     866         8.09%
 9     Tier 2     $601-$650      205    7.36%    222     7.97%     189    7.35%        202   7.86%     818         7.64%
 10    Tier 2     $651-$700      187    6.71%    200     7.18%     201    7.82%        201   7.82%     789         7.37%
          Sub Totals             1115   40.04%   1086    38.99%   1003    39.03%       977   38.02%   4181     39.04%                                 MID-SIZE LAW FIRMS (ALL RATES)
 11    Tier 3 $701-$750          267    9.59%    255     9.16%     209    8.13%        215    8.37%    946         8.83%
                                                                                                                                            10.00%
 12    Tier 3     $751-$800      251    9.01%    294     10.56%    215    8.37%        206    8.02%    966         9.02%
                                                                                                                                             9.00%
 13    Tier 3     $801-$850      221    7.94%    221     7.94%     211    8.21%        215    8.37%    868         8.10%
                                                                                                                                             8.00%
 14    Tier 3     $851-$900      244    8.76%    289     10.38%    211    8.21%        210    8.17%    954         8.91%                     7.00%




                                                                                                                           % of Responses
 15    Tier 3     $901-$950      159    5.71%    111     3.99%     233    9.07%        237    9.22%   740          6.91%                     6.00%
          Sub Totals             1142   41.01%   1170    42.01%   1079    41.98%   1083      42.14%   4474     41.77%                        5.00%
 16    Tier 4  $951-$1000        83     2.98%     84     3.02%      61    2.37%        66     2.57%    294         2.75%                     4.00%
 17    Tier 4     $1001-$1100    66     2.37%     70     2.51%      67    2.61%        72     2.80%    275         2.57%                     3.00%
                  $1101-$1200    68     2.44%     66     2.37%      59    2.30%        72     2.80%                2.47%                     2.00%
 18    Tier 4                                                                                          265
                                                                                                                                             1.00%
 19    Tier 4     $1201-$1300    67     2.41%     77     2.76%      78    3.04%        77     3.00%    299         2.79%
                                                                                                                                             0.00%
 20    Tier 4     Over $1300     51     1.83%     65     2.33%      69    2.68%        73     2.84%   258          2.41%                             1     2   3   4   5   6     7   8   9 10 11 12 13 14 15 16 17 18 19 20
          Sub Totals             335    12.03%   362     13.00%    334    13.00%       360   14.01%   1391     12.99%                                                                    Rate Ranges


             Totals              ####   100%     2,785   100%      ####    100%    2,570      100%    10,710       100%

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Large Law Firms (100+ Case
                      Attys)
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                                                                                                                                                             Large Law Firms (All Rates)
                                 2023 Rate Data from Large Law Firms (100+ Attys)
                                           Defense                           Plaintiffs                     All
     Rate Tier    Rate Range    Regular Rate    Complex Rate      Regular Rate       Complex Rate       All Rates                                                                              Tier 1 ($250 or Less-$450)
                                                                                                                                                                  5%
                                 #       %       #        %       #        %         #        %        #            %                                    17%
 1    Tier 1     $250 or Less    3     0.15%     4      0.20%     2      0.06%       0      0.00%      9          0.08%                                                                        Tier 2 ($451-$700)
 2    Tier 1     $251-$300       6     0.30%     7      0.35%     5      0.14%       1      0.03%     19          0.17%                                                    36%
                                                                                                                                                                                               Tier 3 ($701-$950)
 3    Tier 1     $301-$350      15     0.75%     11     0.55%     9      0.26%       2      0.06%     37          0.34%
 4    Tier 1     $351-$400      21     1.05%     26     1.30%     19     0.54%       32     0.92%     98          0.89%                                 42%                                    Tier 4 ($951-Over $1300)
 5    Tier 1     $401-$450      74     3.69%     51     2.55%    138     3.95%      103     2.95%     366         3.33%
         Sub Totals             119    5.94%     99     4.94%    173    4.95%       138     3.95%     529         4.81%
 6    Tier 2 $451-$500          176    8.79%    162     8.09%    267     7.64%      233     6.67%     838         7.62%
 7    Tier 2     $501-$550      141    7.04%    148     7.39%    280     8.02%      244     6.99%     813         7.40%
 8    Tier 2     $551-$600      166    8.29%    144     7.19%    222     6.36%      242     6.93%     774         7.04%
 9    Tier 2     $601-$650      145    7.24%    146     7.29%    222     6.36%      251     7.19%     764         6.95%
10    Tier 2     $651-$700      132    6.59%    140     6.99%    265     7.59%      250     7.16%     787         7.16%
         Sub Totals             760    37.94%   740     36.94%   1256   35.96%      1220    34.93%   3976     36.17%
                                                                                                                                                         LARGE LAW FIRMS (ALL RATES)
11    Tier 3 $701-$750          156    7.79%    188     9.39%    355    10.16%      299     8.56%     998         9.08%                    10.00%
                 $751-$800      161    8.04%    160     7.99%    322     9.22%      306     8.76%                 8.63%                     9.00%
12    Tier 3                                                                                          949
                                                                                                                                            8.00%
13    Tier 3     $801-$850      174    8.69%    171     8.54%    349     9.99%      311     8.90%    1005         9.14%
                                                                                                                                            7.00%




                                                                                                                          % of Responses
14    Tier 3     $851-$900      171    8.54%    155     7.74%    212     6.07%      288     8.25%     826         7.51%
                                                                                                                                            6.00%
15    Tier 3     $901-$950      161    8.04%    169     8.44%    232     6.64%      301     8.62%    863          7.85%                     5.00%
         Sub Totals             823    41.09%   843     42.09%   1470   42.08%      1505    43.09%   4641     42.22%                        4.00%
16    Tier 4 $951-$1000         80     3.99%     72     3.59%    145     4.15%      137     3.92%     434         3.95%                     3.00%
17    Tier 4     $1001-$1100    71     3.54%     70     3.49%    119     3.41%      126     3.61%     386         3.51%                     2.00%
18    Tier 4     $1101-$1200    50     2.50%     61     3.05%    113     3.24%      125     3.58%     349         3.18%                     1.00%
19    Tier 4     $1201-$1300    41     2.05%     63     3.15%    119     3.41%      130     3.72%     353         3.21%                     0.00%
                                                                                                                                                    1    2    3   4    5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20
20    Tier 4     Over $1300     59     2.95%     55     2.75%     98     2.81%      112     3.21%    324          2.95%
                                                                                                                                                                                       Rate Ranges
         Sub Totals             301    15.03%   321     16.03%   594    17.01%      630     18.04%   1846     16.79%


            Totals              ####   100%     2,003   100%     ####    100%       3,493   100%     10,992       100%

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                                                          Law Office / Law Firm Size by Tier System (2023)


          11%                                   11%                                    12%                                        13%                                17%
          16%
                                                30%
                                                                                       36%
                                                                                                                                  42%
                                                                                                                                                                     42%

          49%
                                                45%
                                                                                       43%
                                                                                                                                  39%                                36%
          24%
                                                14%                                    9%                                          6%                                 5%
SOLO LAW OFFICE (1 ATTY)              LAW OFFICE (2-11 ATTYS)              SMALL LAW FIRM (12-49 ATTYS)              MID-SIZE LAW FIRM (50-99 ATTYS)      LARGE LAW FIRM (100+ ATTYS)

                           Tier 1 ($250 or Less-$450)           Tier 2 ($451-$700)              Tier 3 ($701-$950)             Tier 4 ($951-Over $1300)




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Calculation Error Rate
This survey required thousands of mathematical calculations. Some of these calculations were
performed by the Excel software and some by a calculator. While we double-checked our math, there
is a small percentage that mathematical errors were made. There is a slightly higher chance that
data entry errors were made. Whatever may be the cause of any error, please re-check our math
before you cite any data in this survey. If you do spot any error or any discrepancy with our survey
data please contact us.




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                                 Survey Tutorial
If you purchased this survey, that price includes a survey tutorial. There is a lot of data in this survey.
 We highly encourage you to schedule this survey tutorial so we can walk you through all the data.
   This tutorial never expires and can be scheduled at any time. This survey tutorial will guide you
   through the survey process and explain all the hourly rate data. We will also answer any and all
                                         questions you may have.




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Survey Comments / Suggestions
           We welcome your comments and/or suggestions.
                If you have any comments or suggestions
               about this hourly rate survey, please contact
      NALFA Executive Director Terry Jesse at terry@thenalfa.org
                or call us at (312) 907-7275. Thank You!




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